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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


KRISHAWN DURHAM, individually, and            Case No. 20-11040
on behalf of all others similarly situated,
                                              CLASS ACTION COMPLAINT
            Plaintiff,
                                              DEMAND FOR JURY TRIAL
      v.

FCA US LLC, FIAT CHRYSLER
AUTOMOBILES N.V., and Does 1 through
50, inclusive,

            Defendants.
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                         CLASS ACTION COMPLAINT

      Plaintiff Krishawn Durham, an individual, on behalf of herself and a class of

other similarly-situated individuals, complain of and allege the following causes of

action against Defendants FCA US LLC and Fiat Chrysler Automobiles N.V.

(collectively referred to herein as “Defendants” or “FCA”), and Does 1 through 50,

inclusive, as follows:

                             I      INTRODUCTION

      1.     Plaintiff brings this lawsuit on behalf of herself, and similarly situated

individuals who purchased or leased FCA vehicles fitted with a 2.4-liter Tigershark

MultiAir II Engine (“2.4L Tigershark Engine”).

      2.     In their efforts to drive corporate profits and simultaneously satisfy

government emission standards, FCA designed, manufactured, distributed,

marketed, sold, and leased vehicles equipped with their 2.4L Tigershark Engine

(“Class Vehicles”).

      3.     Plaintiff is informed and believe, and thereon alleges, that FCA made

the 2.4L Tigershark Engine available as an engine option in their following vehicle

makes and models:

             •      2013-2016 Dodge Dart
             •      2014-2020 Jeep Cherokee
             •      2015-2020 Jeep Renegade
             •      2015-2017 Chrysler 200
             •      2015-2020 Ram ProMaster City


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             •     2017-2020 Jeep Compass
             •     2017-2020 Dodge Journey

      4.     The Class Vehicles contain a significant design and/or manufacturing

defect in their engines, a defect that causes them to improperly burn off and/or

consume abnormally high amounts of oil (the “Oil Consumption Defect”).

The Oil Consumption Defect poses an unreasonable danger to the operator and

passengers of all Class Vehicles. As a result of the Oil Consumption Defect, the

Class Vehicles can shut down during the course of their normal operation—placing

the occupants and surrounding vehicles at an increased risk of serious injury and

death. The danger of automobile accidents posed by a vehicle engine shutting off

without warning is not only self-evident and logical, FCA has expressly

acknowledged in other unrelated safety recalls that “an engine stall could cause a

crash without prior warning.”

      5.     The resulting mechanical failure caused by the Oil Consumption

Defect is exacerbated by the malfunction and/or inability of FCA’s oil indicator

system to alert drivers of the Class Vehicles that their engine oil is running low

(“the Oil Indicator Defect”). Thus, the vast majority of drivers of the Class

Vehicles only become aware of dangerously low engine-oil levels after they cause

an engine stall or shut-down.

      6.     FCA has long known about the Oil Consumption Defect and the Oil

Indicator Defect but has done little or nothing to address them, though they

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uniformly affect the Class Vehicles. Hundreds, if not thousands, of Class Vehicle

owners and lessees have reported instances of their vehicles shutting down without

warning due to low oil volumes. Yet FCA has stood idle—refusing to address the

obvious safety defects plaguing their vehicles. Rather, than being forthcoming

about these problems, FCA continues to misrepresent the Oil Consumption Defect

and Oil Indicator Defect by calling them “normal.”

       7.     FCA’s motivation for concealing and mispresenting the Defects is

quite obvious: By characterizing the excessive oil consumption rate as “normal,”

FCA has avoided the economic fallout that would inevitably result from recalling

the millions of Class Vehicles. As a result, Class Vehicle owners must fend for

themselves, and either repair the defect on their own or otherwise drive unsafe

vehicles that could suffer from mechanical breakdown at any time, even while the

car is travelling at full acceleration.

       8.     The Oil Consumption and Oil Indicator Defects pose a material safety

risk to the operator and passengers of all Class Vehicles. The dangers of excessive

and/or abnormal oil consumption are manifest, including increased mechanical

breakdown, and a resulting increase in the risk of injury or death. As discussed

further herein, Plaintiff and numerous owners and lessees of the Class Vehicles

have experienced the Oil Consumption and Oil Indicator Defects already, and FCA

continues to put owners of the Class Vehicles at risk by refusing to replace them.


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      9.     For years, FCA concealed the Oil Consumption Defect and Oil

Indicator Defects from owners of the Class Vehicles, withholding that knowledge

because these defects, once known to those owners, would diminish the Class

Vehicles’ intrinsic and resale value and cause Class Vehicle owners to demand

immediate and costly repairs.

      10.    The alleged defects not only threaten every passenger in a Class

Vehicle, they materially undermine the Class Vehicles’ intrinsic value as well.

Plaintiff and other FCA owners would have been less likely to purchase the Class

Vehicles had they known about these defects prior to their purchases, or they

would have paid substantially less for them.

      11.    Because of FCA’s unfair, deceptive, and/or fraudulent business

practices, owners and/or lessees of the Class Vehicles, including Plaintiff and the

Class members, have suffered an ascertainable loss of money and/or property

and/or loss in value. FCA further conducted the unfair and deceptive trade

practices described herein in a manner giving rise to substantial aggravating

circumstances.

      12.    As a result of the alleged defects, Plaintiff and the members of the

Class have suffered injury in fact, incurred damages, and have otherwise been

harmed by FCA’s conduct.




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      13.    Accordingly, Plaintiff brings this action to redress FCA’s violations of

the consumer protection statutes, and also seek recovery for FCA’s breach of

express warranty, breach of implied warranty, breach of the duty of good faith and

fair dealing, common law fraudulent concealment and omissions.

                      II     JURISDICTION AND VENUE

      14.    This Court has subject matter jurisdiction of this action pursuant to 28

U.S.C. § 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100

or more Class members, (ii) there is an aggregate amount in controversy exceeding

$5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity

because at least one member of the class of plaintiffs and one defendant are

citizens of different States. This court has supplemental jurisdiction over the state

law claims pursuant to 28 U.S.C. § 1367.

      15.    This Court has specific personal jurisdiction over FCA because it is

incorporated in the State of Michigan, registered to conduct business in Michigan,

has purposefully availed itself of the benefits and protections of Michigan by

continuously and systematically conducting substantial business in this judicial

district, directing advertising and marketing materials to districts within Michigan,

and intentionally and purposefully placing Class Vehicles into the stream of

commerce within the districts of Michigan and throughout the United States with

the expectation and intent that consumers would purchase them. Thousands of


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Class Vehicles have been sold in Michigan and are operated within the State and

the Eastern District.

      16.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391

because FCA transacts business in this District, is subject to personal jurisdiction

in this District, and therefore is deemed to be a citizen of this District.

Additionally, there are one or more authorized FCA dealers within this District,

FCA has advertised in this District, and FCA has received substantial revenue and

profits from its sales and/or leasing of Class Vehicles in this District.

                                   III    PARTIES

      Plaintiff

      17.    Plaintiff Krishawn Durham (“Plaintiff”) is a resident of Cleveland,

Ohio. Plaintiff owns a 2017 Jeep Compass (for purposes of this section, “the

Vehicle”), which she purchased new from Fred Martin Superstore, an authorized

Chrysler dealership selling new and certified pre-owned Chrysler, Dodge, Jeep,

Ram, and Fiat vehicles, in Barberton, Ohio in July 2017.

      18.    Neither FCA, nor any of its agents, dealers, or other representatives

informed Plaintiff of the alleged defects’ existence prior to, or any time after, her

purchase.

      19.    Plaintiff relied on the existence and length of Defendants’ Basic

Limited Warranty prior to purchasing her vehicle. Plaintiff reasonably expected



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that her vehicle, including its engine oil consumption rate and oil indicator system

would not be defective and would continue to function normally in accordance

with FCA’s specifications and representations.

          20.   Moreover, Plaintiff relied on FCA’s representations regarding the oil

life cycle of her Vehicle, which representations are contained in the Owner’s

Manual distributed with the Class Vehicles upon purchase.

          21.   In or around August 2017, Plaintiff was driving the Vehicle when the

engine shut down without warning. Plaintiff made several attempts to restart the

Vehicle, but it was entirely inoperable. At the time that this occurred, Plaintiff had

owned the vehicle for approximately a month and was within the coverage period

of the New Vehicle Limited Warranty.

          22.   Soon thereafter, Plaintiff presented the Vehicle to Fred Martin

Superstore’s service department to diagnose the cause of the shutdown. According

to the maintenance technicians, the engine shut down because the Vehicle was low

on oil.

          23.   Plaintiff was shocked and surprised to learn this. The Vehicle’s oil

indicator system never alerted her to the fact that the Vehicle was running low on

oil. Not only had she only owned the Vehicle for approximately a month when the

shut-down occurred, she drives it no more than approximately 600 miles a month

on average. Plaintiff conveyed this information to the dealer, complaining that


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there was an obvious problem with the vehicle oil consumption and oil system

indicator. But according to the dealership technicians, the rapid rate of oil

consumption she experienced was “normal” for the type of vehicle she was

driving.

      24.    Since August 2017, Plaintiff has needed to replenish the Vehicle’s

engine oil with a quart once a month to prevent it from stalling and shutting down

without warning. But FCA refuses to acknowledge that this is a result of any

defect. As a result, Plaintiff has been left with a vehicle that she fears will again

shut down and, this time, cause injury or death to herself and/or others.

      25.    Plaintiff has suffered an ascertainable loss resulting from FCA’s

concealment, omissions, and refusal to correct the alleged defects, including, but

not limited to, out-of-pocket losses, diminished value to the Vehicle, and other

consequential damages.

      Defendants

      26.    Defendant FCA US LLC is a Delaware limited liability company.

Defendant Fiat Chrysler Automobiles N.V. (“Fiat Chrysler,” and combined,

“FCA”) is FCA US’s corporate parent.

      27.    Defendant FCA US LLC’s principal place of business and

headquarters is located at 1000 Chrysler Drive, Auburn Hills, Michigan 48326.




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      28.    Defendant Fiat Chrysler Automobiles N.V. is a Dutch corporation

headquartered in London, United Kingdom.

      29.    Fiat Chrysler owns numerous European automotive brands in addition

to FCA’s American brands, including Maserati, Alfa Romeo, Fiat Automobiles,

Fiat Professional, Lancia, and Abarth. As of 2017, Fiat Chrysler is the seventh

largest automaker in the world by unit production.

      30.    The true names and capacities of the Defendants sued herein as DOES

1 through 50, inclusive, are currently unknown to Plaintiff, who therefore sues

such Defendants by such fictitious names. Each Defendant designated herein as a

DOE is legally responsible in some manner for the unlawful acts referred to herein.

Plaintiff will seek leave of Court to amend this Complaint to reflect the true names

and capacities of any Defendants designated herein as DOES when such identities

become known.

      31.    Based upon information and belief, Plaintiff alleges that at all times

mentioned herein, each and every Defendant was acting as an agent and/or

employee of each of the other Defendants, and at all times mentioned was acting

within the course and scope of said agency and/or employment with the full

knowledge, permission, and consent of each of the other Defendants. In addition,

each of the acts and/or omissions of each Defendant alleged herein were made

known to, and ratified by, each of the other Defendant.


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                       IV     GENERAL ALLEGATIONS

      FCA Races to Meet Government Emissions Standards without
      Compromising Profits

      32.    In September 2011, the National Highway Traffic Safety

Administration (“NHSTA”) and the Environmental Protection Agency (“EPA”)

jointly published a final rule establishing the first-ever national greenhouse gas

vehicle standards and increasing Corporate Average Fuel Economy standards for

passenger cars and light-duty trucks in model years 2012-2016. These standards

required vehicles, on average, to emit 250 grams or less of CO2 per mile and

achieve 35.5 miles per gallon in the year 2016.

      33.    By 2012, FCA was under intense scrutiny to meet these mandated

emissions standards. Although the company intended to comply, consumers were

complaining that smaller engines were leaving their vehicles underpowered.

Engineering solutions satisfying the balance between government regulation and

the performance demands of the public would be both complicated and expensive.

      34.    In its 2014 SEC Form 20-F fiscal end-year report, FCA made the

following representations to investors:

             Laws . . . regarding increased fuel economy requirements
             and reduced greenhouse gas emissions, may have a
             significant effect on how we do business and may
             adversely affect our results of operations.

             If the vehicles we develop to comply with these
             requirements are not appealing to consumers or cannot be

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               sold at a competitive price, we may not be able to
               achieve the vehicle fleet mix, depending on the type and
               volume of our customers’ purchases, which would enable
               us to meet the stringent fuel economy/GHG
               requirements, even though our long-range projection
               plans out a compliant path.

         35.   Needless to say, FCA recognized that its ability to produce, design,

and manufacture low-emission vehicles at low cost would be necessary to comply

with the government’s new regulation scheme. FCA, however, had to engineer

vehicles that would be attractive to the buying public in a competitive marketplace.

         36.   In 2013, Chrysler unveiled the 2.4L Tigershark Engine. FCA hoped

that the larger 184-hp 2.4L Tigershark Engine would address its objective of

meeting government mandated emission standards while also satisfying

consumers’ desires for vehicles equipped with powerful engines. But the Defects

rendered the engines unreasonably dangerous. FCA refuses to acknowledge this

truth.

         37.   Seeking to protect the reputation of 2.4L Tigershark Engine—FCA’s

sole proffered solution to increasingly onerous emission regulations—at all costs,

FCA continues to disregard the dangerous defects contained in the Class Vehicles.




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      FCA’s 2.4L “Tigershark” MultiAir II Engine




      38.    The 2.4L Tigershark Engine employs an electro-hydraulic “MultiAir”

technology proprietary to FCA. MultiAir is supposed to offer more controllable

flow of air during the engine combustion cycle when compared to mechanical

variable valve timing systems. According to FCA, the MultiAir technology is

supposed to increase engine power and torque, reduce fuel consumption, and

reduce emissions.

      39.    Based on information and belief, FCA’s MultiAir hydraulic system

requires strict maintenance of oil volume to function properly. Instead of using

rigid connecting elements between the camshaft and engine valve, a defined oil

volume encapsulated in the high-pressure chamber transfers the cam (lobe) contour

to the engine valve. A pump driven by the camshaft via a finger follower builds

pressure in the high-pressure chamber. When the solenoid valve is closed, the oil

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pressure acts on the engine valve by way of a piston, and the valve opens. As soon

as oil flows through the open hydraulic valve out of the high-pressure chamber, the

force level acting on the engine valve against the valve spring assembly drops, and

the engine valve closes. When the solenoid valve opens at cam lift, the oil flows

out of the high-pressure chamber into a buffer known as the intermediate pressure

chamber. When the high-pressure chamber is subsequently filled in the base circle

phase, the oil returns. This is designed to minimize the amount of energy required

to establish oil pressure in the system.




      40.    The control system, in addition to the electro-hydraulic actuator

technology, represents a key module of the MultiAir system. The control

algorithms developed are provided to FCA as a software module, which is then

integrated as a control module in the engine control unit (see below).




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      41.    The electronics utilize sensor signals quantifying the position of the

camshaft and crankshaft as input factors. This information is augmented by data on

the oil temperature in the MultiAir module. The requirements defined by the

engine management system are then implemented, and the solenoid valves of the

MultiAir system are energized as needed. The on and off times of the solenoid

valves are used by the control system to monitor the cylinder activation of the

engine valves, and the system compensates for tolerance and age-specific changes

in system response as well as balances out the effects of fluctuating oil quality.




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      The Class Vehicles Suffer from Dangerous Defects

      1.     The Oil Consumption Defect

      42.    The Class Vehicles—which are equipped with 2.4L Tigershark

Engines—are subject to the Oil Consumption Defect and the Oil Indicator Defect,

as alleged herein.

      43.    Oil functions as an essential lubricant for the moving parts that

facilitate the internal combustion process in an engine. The oil creates a film

separating surfaces of adjacent moving parts to minimize direct contact, thereby

decreasing heat caused by friction and reducing wear. Moreover, engine oil has

important cleaning and sealing functions and serves as an important medium for

dissipating heat throughout the engine. As a result, vehicles need the proper

amount of engine oil if the engine and its related parts are to function safely. This

is especially true for the Class Vehicles because of the MultiAir hydraulic system.

      44.    The Oil Consumption Defect is an inherent and latent defect

substantially certain to result in malfunction during the Class Vehicles’ useful life.

      45.    The Oil Consumption Defect unreasonably threatens the health and

safety of drivers and passengers using the Class Vehicles. Because of the Oil

Consumption Defect, the Class Vehicles are prone to stalling and being rendered

inoperative—even as the automobile fully accelerates. Plaintiff and numerous




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Class members have reported that the Oil Consumption Defect has caused failures,

creating unsafe driving conditions when the automobile stalls without warning.

      46.    The Oil Consumption Defect also increases the cost of expected

ownership and maintenance of the Class Vehicles. In order to prevent their

vehicles from stalling, Plaintiff and the Class members alike have needed to

replenish the oil of their vehicles at excessive abnormal rates—approximately one

quart for every 500-1000 miles driven. Additionally, the Oil Consumption Defect

has the consequential effect of shortening the expected lifespan of other

mechanical components of the Class Vehicles, including but not limited to the

battery and engine fan. Because of this, Plaintiff and the Class members have and

will be forced to replace these components at a much higher rate than they

reasonably expected when purchasing the vehicles, thereby increasing their overall

cost of ownership.

      2.     The Oil Indicator Defect

      47.    The dangers of the Oil Consumption Defect are exacerbated by the

Class Vehicles’ inability and/or failure to alert drivers to dangerously low oil levels

and pressure (“the Oil Indicator Defect”).

      48.    FCA has equipped the Class Vehicles with an oil change indicator

system. Based on information and belief, FCA’s oil indicator system is not a

simple oil quality sensor, but a software based, algorithm-driven device that



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purportedly takes into account various operating conditions of the engine, the

engine size, and engine revolutions, to determine when the oil needs changing.

      49.      FCA provided Plaintiff and the Class members with an Owner’s

Manual for their Class Vehicle at the time of purchasing or leasing the vehicle.

According to FCA’s representations, when an oil change is required, the system is

supposed to notify the vehicle owner through notification on the instrument cluster

or odometer.

      50.      FCA also states in its Owner’s Manuals that:

               Your vehicle is equipped with an automatic oil change
               indicator system. The oil change indicator system will
               remind you that it is time to take your vehicle in for
               scheduled maintenance.

               Based on engine operation conditions, the oil change
               indicator message will illuminate. This means that
               service is required for your vehicle. Operating conditions
               such as frequent short-trips, trailer tow, extremely hot or
               cold ambient temperatures will influence when the
               “Change Oil” or “Oil Change Required” message is
               displayed. Severe Operating Conditions can cause the
               change oil message to illuminate as early as 3,500 miles
               (5,600 km) since last reset. Have your vehicle serviced as
               soon as possible, within the next 500 miles (805 km).

      51.      Notwithstanding FCA’s representations regarding this purportedly

sophisticated indicator system, remarkably, FCA’s oil indicator systems—either by

design or malfunction—do not alert drivers of the Class Vehicles to low oil levels

or oil loss, even when oil levels are critically, dangerously low. Indeed, Plaintiff



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and thousands of Class Vehicle owners and lessees have reported that their

instrument clusters or odometer indicated a healthy oil life at the time their

vehicles stalled.

      52.     FCA also represents that the Class Vehicles are equipped with a

separate Oil Pressure Warning Light designed to illuminate when “low engine oil

pressure” is detected. According to FCA, a “Red Telltale Light” will illuminate

and a chime will sound to alert the driver to “stop the vehicle and shut off the

engine as soon as possible.” FCA further instructs owners not to operate the

vehicle until the cause is corrected. This system also fails to alert drivers of the

Class Vehicles in advance of the vehicle spontaneously shutting off as a result of

low levels. This messaging appeared in the Owner’s Manual of Plaintiff’s vehicle

as follows:




      53.     The Oil Indicator Defect is an inherent and latent defect and is

substantially certain to result in malfunction during the Class Vehicles’ useful life.

      54.     Plaintiff and the Class members reasonably relied on FCA’s

representations in the Owner’s manuals regarding the oil indicator system and its



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ability to give notice of the need for an oil change. Those representations, which

were material to their purchases, are false and have unreasonably placed Plaintiff

and the Class members at an increased risk of injury or death.

      FCA’s Knowledge of the Dangerous Defects

      55.    FCA has been long aware of thousands of complaints and reports of

the 2.4L Tigershark Engine experiencing vehicle shutdown and excessive oil

consumption. Despite this, FCA has addressed the circumstances with only a series

of half-measures.

      56.    Upon information and belief, FCA has acquired such knowledge

through (1) its own records of customers’ complaints, (2) dealership repair records,

(3) records from the National Highway Traffic Safety Administration (“NHTSA”),

(4) warranty and post-warranty claims, and (5) pre-sale durability testing and part

sales. Through these sources, FCA have known about the Oil Consumption Defect

and the Oil Indicator System Defect, since in or before at least 2015.

      57.    FCA routinely monitors the internet for complaints similar in

substance to those quoted below. Its customer relations department routinely

monitors the internet for customer complaints, and it retains the services of third

parties to do the same. FCA’s customer relations division regularly receives and

responds to customer calls concerning, inter alia, product defects. FCA’s customer

relations department also collects and analyzes field data including, but not limited



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to, repair requests made at dealerships and service centers, technical reports

prepared by engineers that have reviewed vehicles for which warranty coverage is

requested, parts sales reports, and warranty claims data.

      58.    FCA knew about the Oil Consumption Defect because its customer

relations department, which interacts with FCA-authorized service technicians in

order to identify potentially widespread vehicle problems and assist in diagnosing

vehicle issues, has received numerous reports that the Oil Consumption Defect can

cause mechanical breakdown and stall a moving vehicle without any warnings

from the oil indicator system.

      1.     FCA Implicitly Acknowledged Reports of Abnormal Oil
             Consumption in 2015

      59.    Technical Service Bulletins (“TSBs”) document recommended

procedures for repairing vehicles, issued by a vehicle manufacturer when there are

several occurrences of a reported problem.

      60.    On July 31, 2015, two years before Plaintiff purchased her Class

Vehicle, FCA issued an “Engine Oil Consumption Guideline,” TSB No. 09-007-

15, to dealerships, providing guidance on what was an “acceptable rate of oil

consumption” for all 2013-2016 vehicles equipped with gasoline engines, stating in

relevant part:

             The accepted rate of oil consumption for engines used in
             the vehicles listed above is 1 quart (0.946 liter) in 2,000
             miles (3,200 km) for the 1st 50,000 miles (80,467 km).

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             For vehicles with more then [sic] 50,000 miles the
             acceptable oil consumption for engines is 1 quart (0.946
             liter) in 750 miles (1,207 km).

(FCA Technical Service Bulletin 09-007-15, July 31, 2015, Exhibit 1.)

      61.    Collectively, FCA’s Engine Oil Consumption Guideline and the

hundreds of NHSTA complaints citing excessive oil consumption and engine shut

off (discussed infra) provide a reasonable inference that FCA was aware of the Oil

Consumption Defect as early as 2015.

      2.     NHTSA Complaints of Excessive Oil Consumption in the Class
             Vehicles and Sudden Unanticipated Engine Failure

      62.    An important source of field data is the NHTSA’s Consumer

Complaint Database. This publicly available database contains all motor vehicle-

related consumer complaints submitted to NHTSA since January 2000.

Consumers submit what is called a “Vehicle Owner Questionnaire” in which they

asked to provide information that includes, the make, model, and model year of the

vehicle, the approximate incident date, the mileage at which the incident occurred,

whether the incident involved a crash or a fire, whether any persons were injured

or killed in the incident, the speed of the vehicle at the time of the incident, and a

description of the incident along with a description of the vehicle components they

believe were involved in the incident. The majority of consumers input this

information directly into the database through their computer. They can also

submit complaints by telephone through the Auto Safety Hotline, through


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submitting a paper Vehicle Owner Questionnaire form, and by mailing consumer

letters to NHTSA. This information is then entered into NHTSA’s ARTEMIS

database where it can be searched and reviewed by the general public and vehicle

manufacturers alike, by make, model, model year, and component. NHTSA

promotes this database as a valuable consumer information tool.

      63.    FCA’s knowledge can be inferred because several NHTSA complaints

reference that the manufacturer, FCA, has been notified of consumers’ concerns

regarding the excessive oil consumption and stalling in the Class Vehicles.

      64.    There have been a staggering number of complaints submitted to the

NHTSA—203 individual unique complaints to be precise—citing sudden engine

shutoff, deceleration, and sputtering as a result of excessive oil consumption in the

Class Vehicles. Moreover, a significant number of these complaints indicate that

the Oil Change Indicator System and low oil pressure warning lamp failed to alert

drivers of dangerously low oil levels in the Class Vehicles.

      65.    Of this number, 46 were related to Jeep Compass vehicles equipped

with the 2.4L Tigershark Engine, and 82 were related to Jeep Cherokee vehicles

equipped with the 2.4L Tigershark Engine.




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         66.   The following are the consumer complaints submitted to NHTSA

regarding the Oil Consumption Defect in the Class Vehicles: 1


November 10, 2016 NHTSA ID NUMBER: 10925430
Components: ENGINE
NHTSA ID Number: 10925430
Incident Date November 9, 2016
Consumer Location MILLER PLACE, NY
Vehicle Identification Number 1C4PJMCB3EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WHEN SLOWING FOR A STOP SIGN THE CAR STALLED ONCE 5 DAYS AGO BUT
RESTARTED AFTER SHUTTING DOWN AND IT WAS FINE. THEN YESTERDAY
MORNING IT STALLED 3X BEFORE LEAVING MY DEVELOPMENT. I DROVE TO
HAVE THE BATTERY CHECKED LOCALLY AND IT WAS OK. I DROVE TO THE
DEALERSHIP WHO TOLD ME THE PROBLEM WAS BECAUSE THE OIL WAS LOW,
THAT THESE CARS BURN A QUART OF SYNTHETIC OIL EVERY 2000 MILES AND
"WHEN THE OIL RUNS LOW THEY SHUT OFF TO PROTECT THE CAR." WHAT??
AND HOW DANGEROUS. I QUESTIONED A RECALL RECENTLY RECEIVED
ABOUT JEEPS STALLING WHILE DRIVING AND WAS TOLD IT WASN'T RELATED.

I'M REALLY JUST IN AWE AND DISBELIEF THAT THIS COULD BE A FEATURE
THAT THE MANUFACTURER PLANNED FOR!
1 Affected Product
Vehicle




1
 The following complaints are reproduced as they appear on the NHTSA website.
Any typographical errors are attributable to the original author of the complaint.
Emphasis added to original text is denoted by bold and underlining.

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MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




December 30, 2016 NHTSA ID NUMBER: 10938766
Components: ENGINE
NHTSA ID Number: 10938766
Incident Date December 16, 2016
Consumer Location O'FALLON, MO
Vehicle Identification Number N/A

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY 2014 JEEP CHEROKEE HAS RANDOMLY BEEN POPPING UP A MUST BE IN
PARK TO SHIFT MESSAGE FOLLOWED BY THE BATTERY SIGN AND THEN JUST
STALLING OUT. THE DEALERSHIP IS ATTRIBUTING THIS TO LOW OIL LEVEL. MY
CAR NEVER GIVES ANY KIND OF MESSAGE THAT STATES THE OIL LEVEL IS
LOW AND IS NOT SHOWING THAT THE VEHICLE YET NEEDS AN OIL CHANGE.
DEALERSHIP STATES ITS BECAUSE OF INTERMITTENT OIL PRESSURE. THE
CAR STALLS OUT TO PROTECT THE ENGINE FROM OVER HEATING. I THINK
THIS IS A VERY UNSAFE FEATURE FOR MY CALL TO STALL OUT WITH OUT ANY
WARNING IN THE MIDDLE OF A BUSY MAIN CITY STREET. THIS HAPPENED
FOUR TIMES IN FIVE DAYS BEFORE I FINALLY DEMANDED THE DEALERSHIP
PROVIDE ME A LOANER CAR BECAUSE THEIR NEXT AVAILABLE APPOINTMENT
WAS 3 WEEKS OUT.

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




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June 25, 2017 NHTSA ID NUMBER: 11001288
Components: SERVICE BRAKES, ENGINE, POWER TRAIN
NHTSA ID Number: 11001288
Incident Date June 14, 2017 Consumer Location EATON, OH


Vehicle Identification Number 1C4PJMCB4EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY 2014 JEEP CHEROKEE LATITUDE AT 41000 MILES HAD A BRAKE FAILURE.
NOW AT 51000 MILES THE ENGINE HAS BEEN STALLING WHILE IN MOTION AND
SHIFTING INTO NEUTRAL. THE DEALERSHIP TOLD ME AFTER THE 2ND TIME IN
FOR THIS PROBLEM THAT THE VEHICLE WAS 3.5 QUARTS LOW ON OIL AND
THE ENGINE HAD SHUT OFF TO "PROTECT ITSELF" . THE CAR HAS BEEN
PARKED FOR IN MY GARAGE FOR 3 DAYS, AFTER DRIVING IT FOR ABOUT 3
MILES THE CHECK ENGINE LIGHT CAME ON, UPON CHECKING IT IS AGAIN LOW
ON OIL. I HAVE HAD THE CAR SERVICED AS RECOMMENDED AND DON'T
UNDERSTAND THIS SUDDEN OIL USE, THERE ARE NO SIGNS OF LEAKAGE OR
SMOKING, AND THE WARNING SYSTEM IS NOT INDICATING LOW OIL
PRESSURE. IT IS GOING BACK TO THE DEALERSHIP MONDAY MORNING.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




June 16, 2017 NHTSA ID NUMBER: 10995627
Components: ENGINE
NHTSA ID Number: 10995627
Incident Date June 10, 2017


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Consumer Location BATAVIA, OH
Vehicle Identification Number 1C4PJLAB9EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

I PLACE 2 COMPLAINTS FOR THE SAME VEHICLE - ON LAST 3 YEARS,

LAST COMPLAINT IS FROM YESTERDAY 06-15-2017 ON ENGINE SECTION, THE
PREVIOUS COMPLAINT WAS FROM 2016 ELECTRIC SYSTEM SECTION.

DEFECTIVE ENGINE OIL HYPER-CONSUMPTION AND OIL SENSOR
MALFUNCTION CAUSE ELECTRIC SYSTEM COLLAPSE, CAR STOP ON
HIGHWAYS, CAUSE LIFE THREATENING SITUATIONS.

AFTER READ HUNDREDS OF THE SAME COMPLAINTS HERE,

I DECIDE CONTACT JEEP HEADQUARTERS AND REQUEST VALID
DOCUMENTATION ABOUT CAR OIL CONSUMPTION.

ON JEEP MANUAL IS 10 000 MILES, OR 16 000 KILOMETERS !

FOR ALL WHO ARE SURPRISE WITH DEALERSHIPS INFORMATION'S ABOUT
ENGINE OIL CONSUMPTION , WHEN THEY START OIL TEST -

HERE IS VALID INFORMATION, WHICH YOU CAN USE ON CONTACT WITH
DEALERSHIPS.

PLEASE FIND ONLINE JEEP DOCUMENT TSB 09-007-15 PDF FORM

HERE IS IMPORTANT PART OF DOCUMENT:

THE ACCEPTED RATE OF OIL CONSUMPTION FOR ENGINES USED IN THE
VEHICLES LISTED ABOVE IS 1 QUART (0.946 LITER) IN 2,000 MILES (3,200 KM)
FOR THE 1ST 50,000 MILES (80,467 KM). FOR VEHICLES WITH MORE THEN
50,000 MILES (80,467 KM) THE ACCEPTABLE OIL CONSUMPTION FOR ENGINES
IS 1 QUART (0.946 LITER) IN 750 MILES (1,207 KM).

ON CONTEXT WITH THIS INFORMATION LOOK ON US GOVERNMENT "
EMISSIONS STANDARDS FOR LIGHT DUTY
VEHICLES.HTTPS://WWW.EPA.GOV/EMISSION-STANDARDS-REFERENCE-
GUIDE/EPA-EMISSION-STANDARDS-LIGHT-DUTY-VEHICLES-AND-TRUCKS

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JEEP CHEROKEE 2014 ENGINE OIL CONSUMPTION MUST BE ON BALANCE

WITH US GOV. RECOMMENDED VEHICLE EMISSIONS.

ON CASE THEN OIL IS NOT LEAKING FROM ENGINE,

OIL IS OVERSPEND BY DEFECTIVE ENGINE CONSTRUCTION - HARDWARE, OR
SOFTWARE.

DEFECTIVE ENGINES WITH HIGH EMISSIONS MUST BE RECALL - SEE CASE
"VOLKSWAGEN".

AFTER WITNESS 8 TIMES SITUATION, WHICH IS DESCRIBE BY HUNDREDS OF
PEOPLE HERE, I KNOW, THEN WITHOUT VALID INFORMATION'S AND
DOCUMENTS, WE ARE NOT ABLE MAKE ADVOCACY FOR OUR RIGHTS.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




June 15, 2017 NHTSA ID NUMBER: 10995324
Components: ENGINE
NHTSA ID Number: 10995324
Incident Date June 10, 2017
Consumer Location BATAVIA, OH
Vehicle Identification Number 1C4PJLAB9EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0




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ENGINE OIL CONSUMPTION AND OIL SENSOR ON JEEP CHEROKEE 2014 -
SPORT ENGINE CAUSED ON LAST 3 YEARS SEVERAL LIFE THREATENING
SITUATIONS NOT JUST FOR ME,BUT ALSO FOR CARS DRIVING AROUND ME ON
HIGHWAYS. EACH TIME I CALL DEALERSHIP, DEALERSHIP MAKE TECHNICAL
CONTROL.

FOR 2 YEARS DEALERSHIP WAS NOT ABLE FIND SOLUTION FOR PROBLEM,
RECOMMENDED MAKE OIL EXCHANGE MORE FREQUENTLY THE 5000 MILES
FOR PREVENT PROBLEMS !

LAST YEAR 2016 WAS ON JEEP RECALL FINALLY CHANGE OIL SENSOR, BUT
THAT DOESN'T HELP.

MY LAST LIFE THREATENING SITUATION IS FROM SATURDAY LAST WEEK 06-
10-2017.

JEEP STOP ON HIGHWAY, COMPLETELY PARALYZED FOR 3-4 MINUTES, JUST
RED BATTERY BLINKING.

I WAS LUCKY, MANEUVER WITH CAR AND PREVENT SEVERAL COLLISIONS
WITH CARS DRIVING AROUND ME FORM HIGHWAY MIDDLE LINE BEHIND VERY
DANGER CURVE !

AFTER 3-4 MINUTES I WAS ABLE RESTART ENGINE AND DRIVE TO QUICK OIL,
BECAUSE FROM PREVIOUS YEARS EXPERIENCES I KNOW, THEN THIS
PROBLEM IS CONNECTING WITH OIL SENSOR.

ON CAR DISPLAY WAS OIL "GOOD"

ON QUICK OIL SERVICE, SERVICEMAN FIND THEN THERE IS ANY ANY OIL ON
ENGINE

HE SHOW ME SCALE ON WHICH WAS RESIDUAL OIL WHICH LOOK LIKE
ASPHALT.

BY QUICK OIL TICKET I NEED OIL EXCHANGE ON NEXT 1600 MILES - BY
RECOMMENDATION FOR DEALERSHIP I CHANGE OIL EACH 5000 MILES, SO
ACCIDENT IS HAPPENED AFTER DRIVING JUST 3400 MILES. ANY OIL LEAKAGE
FROM ENGINE WAS FIND, PROBLEM IS CAUSED BY DEFECTIVE ENGINE OIL
CONSUMPTION.

MANAGER FROM QUICK OIL IMMEDIATELY CALL JEEP DEALERSHIP, DESCRIBE
PROBLEM ON PHONE, SEND WITH ME WRITING DESCRIPTION OF PROBLEM
AND DATA TO MY JEEP DEALERSHIP.

THE SAME DAY FROM QUICK OIL SERVICE,


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WHERE THEY PUT TO JEEP ENGINE OIL FOR FREE - I DRIVING TO MY JEEP
NORTHGATE DEALERSHIP AND START ENGINE OIL CONSUMPTION TEST - I
HAVE RETURN EACH 1000 MILES TO DEALERSHIP FOR OIL CONSUMPTION
MONITORING.

SITUATION IS VERY DANGER, NEED FIND SOLUTION ASAP !
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2014




May 30, 2017 NHTSA ID NUMBER: 10992277
Components: ENGINE
NHTSA ID Number: 10992277
Incident Date April 14, 2017
Consumer Location AUBREY, TX
Vehicle Identification Number 1C4PJLAB8EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

EXCESSIVE OIL CONSUMPTION. USING 3 1/2 QUARTS OF OIL IN THE OIL
CHANGE MILEAGE OF 3000-3400 MILES. ONCE ENGINE OIL LEVEL REACHES 2
QUARTS OF ENIGINE OIL, ENGINE WILL AUTOMATICALLY STOP WITH NO LOW
ENGINE OIL LIGHT OR WARNING. IT WILL STOP ON HIGHWAY , STREET,
DRIVEWAY, NO MATTER WHERE YOU ARE. WHICH TO ME IS A SAFETY ISSUE.
SUPPOSEDLY IT IS DESIGNED TO DO THAT SO THE ENGINE WILL NOT BURN
UP. JEEP SAID THEY RECOGNIZE 1 QT OF OIL CONSUMPTION FOR EVERY 1000
MILES FOR A VEHICLE OVER 50,000 MILES WHICH TO ME IS EXCESSIVE
ESPECIALLY WITH TODAY'S INDUSTRY STANDARD.


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1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




May 6, 2017 NHTSA ID NUMBER: 10983793
Components: ENGINE
NHTSA ID Number: 10983793
Incident Date May 3, 2017
Consumer Location AVONDALE, AZ
Vehicle Identification Number 1C4PJMBB1EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

AS WITH MANY OTHER VEHICLES MY VEHICLE IS SITTING OF ON ITS OWN.
SAYING THAT CAR NEEDS TO BE IN PARK. DEALERSHIP SAYS IT IS A SAFETY
FEATURE TO SHUT ENGINE OFF IN THE MIDDLE OF THE FREEWAY. THE
FEATURE IS DESIGNED TO DO THIS WHEN IT IS LOW ON OIL. NO WASTING
LIGHT OF LOW OIL JUST IMMEDIATELY SHUTS OFF. VERY DANGEROUS WHEN
YOU ARE DRIVING DOWN I 10 IN DOWNTOWN PHOENIX. SOMETHING NEEDS TO
BE DONE MANY PEOPLE ARE HAVING THIS ISSUE AND NOTHING IS BEING
DONE ABOUT IT. THIS IS WHY WE PAY TAXES TO HAVE DEPARTMENTS
WATCHING OVER THIS KIND OF STUFF PROTECTING THE CONSUMER. THIS
ISSUE IS REPEATING IT HAS HAPPENED A COUPLE OF TIMES AND WILL
CONTINUE UNTIL ENGINE IS REPLACED.
1 Affected Product
Vehicle




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MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2014




April 26, 2017 NHTSA ID NUMBER: 10980871
Components: ENGINE
NHTSA ID Number: 10980871
Incident Date April 25, 2017
Consumer Location HUNTINGTON BEACH, CA
Vehicle Identification Number 1C4PJLABXEW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

VEHICLE SHUTS OFF WHILE IN MOTION. REPLACED WITH NEW MOTOR AND
REPROGRAMMED PCM AND TCM 3 MTHS EARLIER BECAUSE OF SAME
PROBLEM. CAR STALLING WHEN DRIVING. IN SERVICE AGAIN FOR A 2ND
MOTOR. OIL WAS 0% EMPTY WHEN BROUGHT FOR SERVICE. OIL INDICATOR
STATES GOOD AT 46% ON INSTRUMENT PANEL. 2ND TIME FOR ENGINE
REPLACEMENT. FIRST REPLACEMENT AT 27 K MILES. NOW IN FOR 2ND ENGINE
REPLACED CEMENT AT 31K MILES. TRAVELLING ON BUSY STREET AT 37 MPH
WHEN CAR SHUT OFF HAD GRANDCHILD IN VEHICLE AND TRIED PULLING OFF
TO SIDE STREET ALMOST TBONED BY ANOTHER VEHICLE. THIS VEHICLE HAS
SHUT DOWN 6 TIMES IN THE PAST WEEK WHILE DRIVING.
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2014




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March 12, 2017 NHTSA ID NUMBER: 10960174
Components: ENGINE
NHTSA ID Number: 10960174
Incident Date October 1, 2016
Consumer Location TILTON, NH
Vehicle Identification Number 1C4PJMDB8EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY JEEP STALLS WITHOUT WARNING WHILE IN MOTION. CHRYSLER WAS
NOTIFIED AS WELL AS MY DEALER. THEY BOTH INDICATE THAT I NEED TO ADD
OIL BETWEEN 750 TO 2000 MILES TO PREVENT A STALL. THE STALL IS A
"SAFETY" FEATURE THAT PREVENTS THE MOTOR FROM SEIZING ACCORDING
TO CHRYSLER. OIL CONSUMPTION TESTS WERE COMPLETED AT 500 MILES
WITH NO NEGATIVE DATA. THERE IS NO WARNING WHEN THE VEHICLE STALLS
TO INCLUDE AN OIL PRESSURE WARNING. EVERY 750 MILES SEEMS
EXCESSIVE AND I WOULD LIKE TO THINK THAT IF THE VEHICLE IS OPERATING
AT LOW OIL PRESSURE, THAT A WARNING LIGHT WOULD INDICATE THAT YOU
ARE ABOUT TO STALL. CHRYSLER HAS CLOSED MY COMPLAINT WITH NO
FURTHER ACTION AND INDICATED IT WAS THE OWNER'S RESPONSIBILITY TO
MONITOR EVERY 750 MILES. EACH STALL WAS WHILE IN MOTION AND ON A
BUSY ROAD. THE DATE PROVIDED IS APPROXIMATE. STALLS HAVE HAPPENED
MULTIPLE TIMES AND WE REPLENISH SYNTHETIC OIL WITH SIGNIFICANT
REGULARITY.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




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March 5, 2017 NHTSA ID NUMBER: 10958649
Components: ENGINE
NHTSA ID Number: 10958649
Incident Date January 6, 2017
Consumer Location GLENDALE HEIGHTS, IL
Vehicle Identification Number 1C4PJMCB7EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WHILE DRIVING ON A CITY STREET AT ABOUT 40 MPH, THE VEHICLE SHUT
DOWN AND I COULD NOT ACCELERATE OR STEER. I RECEIVED THE MESSAGE
ON THE MESSAGE CENTER THAT SAID "CAR MUST BE IN PARK IN ORDER TO
SHIFT." THE VEHICLE STARTED AGAIN AFTER ABOUT 30 MINUTES AND
NUMEROUS ATTEMPTS. THE FOLLOWING DAY, I TOOK THE CAR TO THE
DEALER. I ENDED UP BEING TOLD THAT THEY FOUND NO OIL IN THE MOTOR,
THEY DID AN OIL CHANGE AND I SHOULD BEGIN AN OIL CONSUMPTION TEST. I
SHOULD NOTE, I HAD GONE ALMOST 6,000 MILES SINCE MY LAST OIL CHANGE
WHEN THIS OCCURRED AND RECEIVED THE "OIL CHANGE REQUIRED"
MESSAGE ON THE MESSAGE CENTER FOR THE FIRST TIME THAT VERY
MORNING. THE DEALER TOLD ME THIS IS A KNOWN PROBLEM WITH THIS
MODEL YEAR AND ENGINE. I ASKED WHY I DIDN'T GET SOME TYPE OF
WARNING LIGHT. WAS TOLD THAT THIS MODEL DOES NOT HAVE A LOW OIL
INDICATOR LIGHT. I SAID OK, BUT IT DOES HAVE AN OIL PRESSURE LIGHT AND
A CHECK ENGINE LIGHT, WHY WOULDN'T ONE OF THOSE COME ON? THEY HAD
NO ANSWER. I STARTED MONITORING THE OIL MYSELF EVERY 250 MILES.
AFTER I DROVE 1000 MILES, THE OIL WAS AT THE SAME FULL LEVEL AS IT WAS
WHEN THE OIL CHANGE OCCURRED. I WENT BACK TO THE DEALER AND THEY
CAME TO THE SAME CONCLUSION. I WAS TOLD TO COME BACK AGAIN IN 1000
MILES. I WAS MONITORING THE SITUATION FOR THE NEXT 1000 MILES AND, AS
OF THE THE DAY BEFORE I TOOK THE CAR IN, THE OIL LEVEL DROPPED
ABOUT HALF WAY DOWN THE "FULL ZONE". THE DEALER TOLD ME THE OIL
WAS EXACTLY THE SAME AS BEFORE AND THERE IS NOTHING WRONG WITH
THE CAR! I AM FORTUNATE THE CAR STALLED WHILE I WAS DRIVING AT A
RELATIVELY LOW RATE OF SPEED. AFTER RESEARCHING, THIS IS A COMMON
PROBLEM IN THIS YEAR'S MODEL THAT JEEP IS AWARE OF AND IT SOUNDS
LIKE THE ONLY SOLUTION TO THE PROBLEM IS TO REPLACE THE ENGINE. I
WAS TOLD THE SAME BY THE DEALER INITIALLY, BUT NOW I AM BEING TOLD
THERE IS NOTHING WRONG WITH THE CAR.


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1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




February 19, 2017 NHTSA ID NUMBER: 10955466
Components: ENGINE, POWER TRAIN
NHTSA ID Number: 10955466
Incident Date February 18, 2017
Consumer Location GLEN BURNIE, MD
Vehicle Identification Number 1C4PJMAB7EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

JUST BOUGHT WITH 40K MILES ONE MONTH AGO (1/21/2017). 1 WEEK AFTER
BUYING, WHILE DRIVING THROUGH THE MIDDLE A BUSY CITY INTERSECTION,
THE ENGINE SHUTTERED AND SHUT ITSELF OFF. I WAS RIGHT IN MIDDLE OF
INTERSECTION. THE DISPLAY INDICATED THAT I HAD TO PUT THE CAR IN
NEUTRAL TO RESTART. I DID, BUT IT RESTARTED AND PRESSING GAS DIDN'T
EVEN REV THE ENGINE. I WAITED ABOUT 30 SECONDS AND RESTARTED. IT
WORKED AND I DROVE AWAY. FOUND OUT ABOUT SAFETY RECALL THAT DAY
AND HAD JEEP DEALER DO THE RECALL THE NEXT DAY..THEN, 2 WEEKS
LATER, I WAS IN PARK AT THE VET WITH THE ENGINE ON, THE ENGINE
STUTTERED AND DID THE EXACT SAME THING. I RESTARTED IT AND AGAIN,
PRESSING THE GAS...EVEN FLOORING IT...DID NOT EVEN REV THE ENGINE AT
ALL. I WAITED ABOUT 30 SECONDS, RESTARTED, AND DROVE OFF FINE. I GOT
AN OIL CHANGE WITH FULL SYNTH (0W 20) OIL THE NEXT DAY, BECAUSE OF
SOME REPORTS THAT THE OIL COULD BE PART OF THE PROBLEM. THEN ONLY
A WEEK LATER (YESTERDAY, 2/18/17), I WAS ON A TRIP TO WEST VIRGINIA
WITH MY WIFE (140 MILES FROM HOME), AND WAS DRIVING AWAY FROM A
STOP LIGHT (TURNING RIGHT) AND IT DID THE EXACT SAME THING. THE


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ENGINE JUST SHUTTERED AND SHUT ITSELF OFF WHILE DRIVING. I WAS
LUCKY TO DRIFT CLOSE TO THE SIDE OF THE ROAD, BUT I DIDN'T EVEN GET
FULLY OFF THE ROAD, RESTARTED, AND NO AMOUNT OF PRESSING THE GAS
WOULD EVEN REV THE ENGINE. I TURNED IT OFF, WAITED 30 SECONDS, AND
RESTARTED. IT WORKS, THOUGH IT DOESN'T SEEM SMOOTH ANY MORE, BUT
NOW THE CHECK ENGINE LIGHT IS ON. I'VE HAD MANY VEHICLES, BUT HAVE
NEVER HAD A PROBLEM LIKE THIS. I WILL BE GOING BACK TO JEEP TO HAVE
THEM LOOK AT IT, BUT I DON'T WANT TO KEEP PAYING FOR VISITS WHERE
THEY CAN'T FIND ANYTHING (LIKE A LOT OF FOLKS WITH THIS PARTICULAR
MODEL ON THE BOARDS). I LOVE THIS VEHICLE, BUT I'M ACTUALLY AFRAID TO
DRIVE IT. ...UPDATED 05/11/17 *BF
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




February 4, 2017 NHTSA ID NUMBER: 10949601
Components: ENGINE
NHTSA ID Number: 10949601
Incident Date February 1, 2017
Consumer Location MILWAUKEE, WI
Vehicle Identification Number N/A

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WHILE DRIVING AND TURNING AROUND THE CORNER, VEHICLE LOST POWER
BUT I WAS ABLE TO DRIVE TO THE SIDE OF THE ROAD. IT ALSO DID THIS THE
FOLLOWING DAY.

AFTER A INTERNET SEARCH, I FOUND OUT THAT THE VEHICLE WILL LOSE


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POWER SUCH AS THIS IF THE OIL IS LOW. AFTER CHECKING THE OIL DIP
STICK, IT WAS LOW BY 2 QUARTS. NO OIL INDICATOR DISPLAYED IN THE
VEHICLE. AFTER ADDING THE OIL, THE STALLS WENT AWAY.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




December 30, 2016 NHTSA ID NUMBER: 10938766
Components: ENGINE
NHTSA ID Number: 10938766
Incident Date December 16, 2016
Consumer Location O'FALLON, MO
Vehicle Identification Number N/A

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY 2014 JEEP CHEROKEE HAS RANDOMLY BEEN POPPING UP A MUST BE IN
PARK TO SHIFT MESSAGE FOLLOWED BY THE BATTERY SIGN AND THEN JUST
STALLING OUT. THE DEALERSHIP IS ATTRIBUTING THIS TO LOW OIL LEVEL. MY
CAR NEVER GIVES ANY KIND OF MESSAGE THAT STATES THE OIL LEVEL IS
LOW AND IS NOT SHOWING THAT THE VEHICLE YET NEEDS AN OIL CHANGE.
DEALERSHIP STATES ITS BECAUSE OF INTERMITTENT OIL PRESSURE. THE
CAR STALLS OUT TO PROTECT THE ENGINE FROM OVER HEATING. I THINK
THIS IS A VERY UNSAFE FEATURE FOR MY CALL TO STALL OUT WITH OUT ANY
WARNING IN THE MIDDLE OF A BUSY MAIN CITY STREET. THIS HAPPENED
FOUR TIMES IN FIVE DAYS BEFORE I FINALLY DEMANDED THE DEALERSHIP
PROVIDE ME A LOANER CAR BECAUSE THEIR NEXT AVAILABLE APPOINTMENT
WAS 3 WEEKS OUT.
1 Affected Product


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Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2014




December 9, 2016 NHTSA ID NUMBER: 10934287
Components: ELECTRICAL SYSTEM, POWER TRAIN, ENGINE
NHTSA ID Number: 10934287
Incident Date December 9, 2016
Consumer Location PORT CHARLOTTE, FL
Vehicle Identification Number 1C4PJLCB4EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WHEN DRIVING, THE VEHICLE SHUTS DOWN AND MESSAGE ON DASH SAYS
"CAR MUST BE IN PARK IN ORDER TO SHIFT." VEHICLE WILL NOT RESTART.
THIS PROBLEM HAS HAPPENED MULTIPLE TIMES WHILE VEHICLE IS IN
MOTION. WE HAVE HAD IT TAKEN INTO THE DEALERSHIP WITH NO RESOLVE.
AFTER RESEARCHING, THIS IS A COMMON PROBLEM IN THIS YEAR'S MODEL
THAT JEEP IS AWARE OF. HOWEVER, THE COMMON RESOLUTION IS
DEALERSHIP STILL CLAIMING AN OIL CHANGE IS NEEDED. MOST RECENTLY
OUR JEEP WAS 500 MILES UNDER THE DEALERSHIP'S RECOMMENDED OIL
CHANGE. I FEAR FOR MY FAMILY'S LIFE IF THIS STALL HAPPENS WHEN
CROSSING BUSY HIGHWAYS IN TOWN. *TR
1 Affected Product
Vehicle




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MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2014




November 10, 2016 NHTSA ID NUMBER: 10925430
Components: ENGINE
NHTSA ID Number: 10925430
Incident Date November 9, 2016
Consumer Location MILLER PLACE, NY
Vehicle Identification Number 1C4PJMCB3EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WHEN SLOWING FOR A STOP SIGN THE CAR STALLED ONCE 5 DAYS AGO BUT
RESTARTED AFTER SHUTTING DOWN AND IT WAS FINE. THEN YESTERDAY
MORNING IT STALLED 3X BEFORE LEAVING MY DEVELOPMENT. I DROVE TO
HAVE THE BATTERY CHECKED LOCALLY AND IT WAS OK. I DROVE TO THE
DEALERSHIP WHO TOLD ME THE PROBLEM WAS BECAUSE THE OIL WAS LOW,
THAT THESE CARS BURN A QUART OF SYNTHETIC OIL EVERY 2000 MILES AND
"WHEN THE OIL RUNS LOW THEY SHUT OFF TO PROTECT THE CAR." WHAT??
AND HOW DANGEROUS. I QUESTIONED A RECALL RECENTLY RECEIVED
ABOUT JEEPS STALLING WHILE DRIVING AND WAS TOLD IT WASN'T RELATED.

I'M REALLY JUST IN AWE AND DISBELIEF THAT THIS COULD BE A FEATURE
THAT THE MANUFACTURER PLANNED FOR!
1 Affected Product
Vehicle




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MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2014




September 7, 2016 NHTSA ID NUMBER: 10904504
Components: ENGINE
NHTSA ID Number: 10904504
Incident Date July 4, 2016
Consumer Location SANTA BARBARA, CA
Vehicle Identification Number IC4PJMCB8EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY CAR STALLS RANDOMLY (APPROXIMATELY EVERY 1000 MILES) WHILE I'M
DRIVING (IN MOTION). THERE IS NO WARNING. THIS LAST TIME THE CAR
STOPPED WHEN I WAS TRAVELING 70 MILES PER HOUR ON HWY 5 - JUST DIED
RIGHT IN THE LANE!! IT HAS ALSO STALLED AT BUSY INTERSECTIONS, ON
ONRAMPS, HUGE HILLS ETC. I FINALLY - AFTER 10 VISITS TO THE JEEP REPAIR
SHOP - UNDERSTAND FROM THE DEALERSHIP THAT THE CAR NEEDS A NEW
ENGINE TO FIX THE PROBLEM. BUT THEY SAY THIS IS ACCEPTABLE UNDER
JEEP GUIDELINES AND WON'T PAY FOR THE NEW ENGINE... I'VE PUT OVER 20
QUARTS OF EXPENSIVE SYNTHETIC OIL IN MY CAR OVER THE PAST YEAR AND
NEVER KNOW IF THE CAR WILL BE SAFE TO DRIVE. THIS IS THE WORST CAR
I'VE EVER HAD AND I'M DISGUSTED WITH JEEP.

BY THE WAY - I JUST FOUND OUT IT NEEDS A FIFTH RECALL - PART STILL IN
DEVELOPMENT (AS ALWAYS). WHEN I ASKED THE WOMAN WHO TOLD ME OF
THIS NEW DEVELOPMENT, SHE COULDN'T EXPLAIN WHAT THE RISK IS WHILE


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WE WAIT FOR THE NEW PART. IN 2 1/2 YEARS OF OWNING THIS PIECE OF
CRAP CAR, I'VE HAD FIVE RECALLS AND OVER A DOZEN STALLS... I'M SO
ANGRY AND BUMMED.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




August 22, 2016 NHTSA ID NUMBER: 10897516
Components: ENGINE
NHTSA ID Number: 10897516
Incident Date August 20, 2016
Consumer Location BINGHAMTON, NY
Vehicle Identification Number 1C4PJMCB6EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WHILE DRIVING ABOUT 50 MPH ON WINDING HILLY COUNTRY ROAD, THE
VEHICLE SUDDENLY JERKED AND ALL THE DASHBOARD LIGHTS LIT UP. THE
CAR COMPLETELY SHUT DOWN. THIS SHUTDOWN LASTED FOR ONLY 2-3
SECONDS AND THEN RESTARTED AS IF NOTHING EVER HAPPENED. IT WAS
NOT NECESSARY FOR THE DRIVER TO DO ANYTHING.

THERE WAS NO NEED TO RESTART THE VEHICLE IT RESTARTED ON ITS OWN
AS THE KEY REMAINED IN THE IGNITION AND WE DID NOT TOUCH IT.
1 Affected Product
Vehicle




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MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2014




July 1, 2016 NHTSA ID NUMBER: 10881967
Components: ENGINE
NHTSA ID Number: 10881967
Incident Date June 27, 2016
Consumer Location DEPTFORD, NJ
Vehicle Identification Number 1C4PJLCB4EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0
VEHICLE HAS STALLED TWICE AT A 30 MPH RATE OF SPEED DUE TO OIL LOW
NOT EMPTY. IF VEHICLE SHOULD FALL BELOW 2 QUARTS OF OIL, VEHICLE MAY
STALL AND STOP WORKING PROPERLY WHILE IN MOTION. MY VEHICLE HOLD
4-5 QUARTS OF OIL AND WAS NOT DUE FOR AN OILCHANGE AND STALLED
TWICE WHILE ON RESIDENTIAL ROAD. DEALER STATED MY VEHICLE SHOULD
REMIAN A FULL LEVEL OF OIL IN ORDER FOR IT TO NOT STALL!!! NO OIL LEAKS
OR MECHANICAL ISSUES WERE FOUND DURING SERVICE.
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2014




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January 18, 2016 NHTSA ID NUMBER: 10820799
Components: ELECTRICAL SYSTEM, FUEL/PROPULSION
SYSTEM, ENGINE
NHTSA ID Number: 10820799
Incident Date January 18, 2016
Consumer Location WATERFORD, CT
Vehicle Identification Number 1C4PJLA9EW1****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY VEHICLE HAS HAD CONTINUOUS ISSUES OF JERKING/MISSING GEARS
WHEN IT SHIFTS, WHEN I TOOK TO BE CHECKED I WAS TOLD IT WAS A KNOWN
PROBLEM WITH THIS VEHICLE AND THERE WAS NOTHING THAT COULD BE
DONE UNTIL THE ENGINE BLOWS UP. I WAS NOT NOTIFIED OF ANY SORT OF
ISSUES WHEN I BOUGHT THE VEHICLE NEW. I HAVE ALSO NOW HAD
CONTINUOUS PROBLEMS WITH MY VEHICLE NOT STARTING FROM BEING
STATIONARY, MULTIPLE TIMES IT HAS NOT STARTED AFTER BEING OFF FOR A
PERIOD OF TIME, IE 24 HOURS, BUT ALSO NUMEROUS TIMES MY VEHICLE HAS
SHUT OFF WHILE IN MOTION, I WAS DRIVING DOWN THE ROAD AND MY
VEHICLE JUST SHUT OFF COMPLETELY, NO LIGHTS, NO GAS, NO RADIO ETC. I
WAS LUCKILY ON THE SIDE OF A NON-BUSY ROAD AT THAT TIME ABOUT TO
TURN ONTO A MAIN ROAD. I HAD BOTH MY CHILDREN IN THE VEHICLE WITH
ME. I WAS UNABLE TO START MY VEHICLE FROM THIS NOW STATIONARY
POSITION FOR APPROX. 15 MINUTES I SAT IDLE IN THE ROAD WITH MY
CHILDREN IN THE CAR. ANOTHER TIME MY VEHICLE SHUT OFF WHILE I WAS
DRIVING IN A BUSY INTERSECTION MY CAR SHUT OFF AS I WAS TURNING AND
I WAS ALMOST T-BONED MY VEHICLE STARTED UP AFTER TRYING A FEW
TIMES AND I WAS ABLE TO GET OUT OF THE ROAD WAY. ONCE I WAS PARKED
IN A PARKING LOT TO COLLECT MYSELF, MY VEHICLE WOULD NOT START
AGAIN. IT TOOK APPROX. 4 TIMES TRYING TO START IT AGAIN. I HAVE
CONTACTED THE DEALERSHIP AGAIN AND WILL BE TAKING IT BACK, TO BE
CHECKED. WHEN I TOOK IT TO THEM THE FIRST TIME FOR IT TO BE CHECKED
AS TO WHY IT SHUT OFF AND THEY COULD ONLY COME UP WITH THAT IT WAS
LOW ON OIL, THEY DID AN OIL CHANGE AND SAID NOTHING WAS WRONG WITH
MY VEHICLE, WHICH CLEARLY THE OIL WASN'T THE PROBLEM BECAUSE IT
HAS ONLY BEEN ABOUT 400 MILES SINCE THE OIL CHANGE.
1 Affected Product
Vehicle


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MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




November 17, 2015 NHTSA ID NUMBER: 10793237
Components: ELECTRICAL SYSTEM, POWER TRAIN, ENGINE
NHTSA ID Number: 10793237
Incident Date February 12, 2015
Consumer Location MIAMI, FL
Vehicle Identification Number 1C4PJLDB8EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

2 TIMES ALREADY I HAVE HAD TO TAKE MY CAR INTO THE DEALERSHIP
BECAUSE IT WOULD SHUT OFF RANDOMLY WHILE DRIVING. THIS HAS
HAPPENED WHILE ON THE HIGHWAY AND ALSO WHILE ON BUSY STREETS. SO
FAR I HAVE BEEN ABLE TO DRIFT TO THE SIDE OF THE ROAD, PUT THE CAR IN
PARK AND THEN TURN THE CAR OFF AND BACK ON. THE CAR SPUTTERS
WHEN RESTARTING AND ON MULTIPLE OCCASIONS WILL STALL AGAIN. BOTH
TIMES THEY TRIED TO BLAME IT ON THE OIL CHANGE BEING OVERDUE. THE
2ND TIME I HAD TO HAVE THE CAR TOWED TO THE DEALERSHIP AND THEY
STATED THERE WAS NO OIL IN THE CAR. HOW A CAR LOSES OIL IF THERE
ISN'T A LEAK, I'M NOT SURE. THIS IS NOW THE THIRD TIME IT IS HAPPENING
AND BASED ON THE CAR'S COMPUTER I STILL HAVE 30% TO GO BEFORE
NEEDING AN OIL CHANGE AND THE CAR IS SHUTTING OFF ON ME AGAIN
RANDOMLY. I WAS AT THE DEALERSHIP FOR THE 2ND TIME LESS THAN 3
MONTHS AGO. I DRIVE IN MIAMI AND HAVE BEEN LUCKY THAT MY SON WAS
NOT IN THE CAR WITH ME.
1 Affected Product
Vehicle




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MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




June 15, 2015 NHTSA ID NUMBER: 10725408
Components: ENGINE
NHTSA ID Number: 10725408
Incident Date December 19, 2014
Consumer Location SPENCER, MA
Vehicle Identification Number 1C4PJMDB4EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

ON 12/19/14 WHILE DRIVING, MY VEH STALLED WITHOUT WARNING. THERE
WAS NO WARNING LIGHTS ILLUMINATED BEFORE, DURING/AFTER ITS
FAILURE. I HAD TO HAVE THE CAR TOWED. AFTER INSPECTION, I WAS TOLD
THAT THE ENGINE OF MY NEW JEEP WAS BURNING OIL. THE JEEP RECENTLY
HAD BEEN IN FOR AN OIL CHANGE & RTD WITH THE MULTI POINT INSPECTION
PAPERWORK INDICATING EVERYTHING WAS OK. HERB CHAMBERS,
ALTHOUGH DIAGNOSISING THE JEEP TO BE "BURNING OIL" INSISTED, AT THE
DIRECTION OF CHRYSLER PROTOCOL, THAT I DRIVE IT 5,000 MILES AND
RETURN IT FOR FURTHER INSPECT. ONLY AFTER MY HUSBAND GOT INVOLVED
DID THEY KEEP THE CAR, DRIVE IT, AND EVENTUALLY INSTALL A NEW ENGINE.
ON 5/6/2015 THE JEEP LOST POWER DESCENDING A HILL. THE CHECK
TRANSMISSION LIGHT ILLUMINATED. THE VEHICLE WAS RETURNED HOME &
DRIVEN TO HERB CHAMBER. AFTER INSPT THE JEEP NOW NEEDED A NEW
TRANSMISSION. ACCORDING TO JEEP, THE TRANSMISSION HAS AN INTERNAL
LEAK. AGAIN, 3 WKS EARLIER, THE CAR WAS AT THE DEALERSHIP FOR TIRE


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ROTATION AND OIL CHANGE. THE MULIT POINT INSPECTION, INDICATED ALL
FLUIDS, INCD THE TRANS FLUID WAS OK. WHILE THE JEEP WAS BEING FIXED, I
ALSO EXPRESSED CONCERN OVER RUBBING NOISE WHEN TURNING. NEW
BUSHINGS WERE PLACED INTO THE JEEP. WE HAVE SENT EMAILS & MADE
PHONE CALLS TO CHRYSLER AND HAVE NOT HEARD BACK. WE ARE DRIVING A
NEW VEH THAT HAS PROVEN UNSAFE AND UNRELIABLE W/O ANY REMEDY
FROM THE MFGR. I WOULD LIKE OTHER JEEP OWNERS TO BE AWARE OF THE
REOCCURRING PROBS WITH THIS JEEP. I BELIEVE THE RELEASE OF THE JEEP
WAS DELAYED DUE TO TRANSMISSION PROBLEMS & THAT POSSIBLY IS/WAS A
RECALL (OF WHICH WE WERE NEVER NOTIFIED). I ALSO BELIEVE THE
AXEL/BUSHINGS IS A RECALL (AGAIN ONE WE WERE NEVER NOTIFIED OF) NOR
WOULD IT HAVE BEEN REPAIRED IF WE DID NOT REQUEST IT BE CHECKED.
CHRYSLER HAS NOT MADE ANY EFFORT TO REMEDY THIS SITUATION. ON ALL
OCCASSIONS, WE THE CONSUMER, HAD TO REACH OUT TO THEM.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




May 11, 2015 NHTSA ID NUMBER: 10715700
Components: ENGINE
NHTSA ID Number: 10715700
Incident Date February 14, 2015
Consumer Location SCOTTSDALE, AZ
Vehicle Identification Number 1C4PJLDB8EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

I WAS DRIVING AND ALL OF A SUDDEN THE VEHICLE ENGINE TURNED OFF.
THANK GOODNESS THERE WAS NO TRAFFIC AS I WAS ONLY BLOCKS FROM


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THE JEEP DEALER. I WAITED APPROXIMATELY 30 SECONDS AND PUSHED THE
START BUTTON AND LUCKILY THE VEHICLE STARTED BUT WOULD ONLY PUTT
PUTT TO THE DEALER. THE DEALER HAD DIFFICULTY GETTING THE VEHICLE
TO THE WORK STATION. WHEN THEY CALLED ME TO TELL ME THEY FIXED IT
THEY TOLD ME THE REASON IT STOP WAS BECAUSE IT WAS 2 QUARTS LOW
OF OIL AND THAT WAS THE CAUSE. THIS WAS VERY STRANGE AS I REMINDED
THEM TO LOOK AT MY SERVICE RECORD AT WHICH I HAD THE OIL SERVICE
RECENTLY DONE AT THEIR FACILITY. THEY DID NOT KNOW HOW TO RESPOND.

SUBSEQUENT I CONTACTED JEEP HEADQUARTERS (RESOLUTION DEPT.) AND
EXPLAINED WHAT HAPPENED AND THEY ASKED ME TO TAKE THE VEHICLE TO
ANOTHER JEEP DEALER FOR EVALUATION, WHICH I HAVE DONE. THE OTHER
PROBLEM I HAVE HAD IS SHIFTING (THE VEHICLE JUMPS WHEN SHIFTING),
THEY HAVE SEMI CORRECTED THAT BY PUTTING PARTS INTO THE
TRANSMISSION, EXCEPT THE 2ND GEAR STILL JUMPS A BIT. ANOTHER
PROBLEM I HAD, WAS MY WIFE AND I WERE EXITING THE VEHICLE WITH THE
ENGINE TURNED "OFF" AND THE VEHICLE STARTED ON ITS OWN. I WAS TOLD
BY THE 2ND DEALER THERE IS NO INDICATION WHILE SEARCHING WITH THE
DIAGONISTICS AS TO WHY THE ENGINE SHUT OFF WHILE DRIVING.

I CAN LIVE WITH THE SHIFTING BUT NOT GETTING EXPLANATIONS AS TO WHY
THE ENGINE DIED (AS THEY CALLED IT ON THE SERVICE SLIP, "DIED IN
FLIGHT") MY WIFE IS AFRAID TO DRIVE THE VEHICLE FOR FEAR IT WILL SHUT
DOWN ON THE FREEWAY OR ANY STREET FOR THAT MATTER COULD BE
EXTREMELY SERIOUS. OBVIOUSLY THEY HAVE TRIED TO EVALUATE WHY OR
WHAT THE PROBLEM IS OR WAS, BUT BEING GIVEN AN EXPLANATION
BECAUSE IT WAS LOW ON OIL IS NOT COMFORTING OR NOT FINDING ANY
CODES TO INDICATE A PROBLEM, WHEN IN FACT THEY HAD DONE AN OIL
CHANGE TO THE VEHICLE IS A CONCERN?
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




February 4, 2015 NHTSA ID NUMBER: 10662826
Components: POWER TRAIN, ENGINE
NHTSA ID Number: 10662826



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Incident Date October 7, 2014
Consumer Location MONROEVILLE, PA
Vehicle Identification Number 1C4PJMCB1EW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

2014 JEEP CHEROKEE. CONSUMER WRITES IN REGARDS TO TRANSMISSION
PROBLEMS. *SMD

THE CONSUMER STATED ON OCTOBER 7, 2014 AS SHE PULLED OUT ONTO THE
HIGHWAY, THE VEHICLE STALLED. SHE MANAGED TO DRIFT TO THE SIDE OF
THE ROAD. SHE LET THE VEHICLE SIT FOR A MINUTE AND THEN RE-STARTED
IT. SHE BEAN TO DRIVE AND THE VEHICLE BEGAN TO BUCK AND LOST POWER.
SHE PULLED OVER FOR A SECOND TIME AND LET IT SIT FOR A MINUTE,
ATTEMPTED TO RE-START IT WHICH WAS SUCCESSFUL, BUT SHE COULDN'T
GO OVER 25 MPH. SHE DROVE TO THE DEALER. THE DEALER KEPT THE
VEHICLE FOR A WEEK. A DIAGNOSTIC TEST REVEALED A PROBLEM WITH THE
TRANSMISSION. ONE MONTH LATER, AS SHE WAS PULLING OUT ONTO THE
MAIN ROAD, THE VEHICLE LOST POWER AGAIN. SHE MANAGED TO GET THE
VEHICLE TO THE DEALER. A DIAGNOSTICS TEST REVEALED THE VEHICLE
SHUT OFF, DUE TO LOW OIL. THE CONSUMER CLAIMED THE VEHICLE WASN'T
SCHEDULED FOR AN OIL CHANGED FOR ANOTHER 1,000 MILES. THE DEALER
ADVISED THE CONSUMER TO BRING THE VEHICLE BACK WITHIN 3,000 TO SEE
IF THE VEHICLE WAS BURNING OIL. *JB
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




October 4, 2014 NHTSA ID NUMBER: 10641463



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Components: FUEL/PROPULSION SYSTEM, ENGINE, POWER
TRAIN
NHTSA ID Number: 10641463
Incident Date August 28, 2014
Consumer Location WESTFIELD, NJ
Vehicle Identification Number 1C4PJMCB5EW****

Summary of Complaint
CRASHNo

FIREYes

INJURIES0

DEATHS0

CAR STALLED 6X WITH MY 4 AND 5 YEAR OLDS IN THE VEHICLE. SMOKE
BILLOWS OUT OF BACK OF CAR. IGNITION COIL, SPARK PLUGS, FILTER AND
OIL REPLACED. 9/2/14 CAR SHIFTING INCORRECTLY. COMPUTER SYSTEM
RESET DUE TO TRANSMISSION ISSUES. CUSTOMER TOLD TO BRING BACK
AFTER DRIVES 500 MILES FOR OIL CONSUMPTION TEST. 9/29/14 OIL
CONSUMPTION TEST FAILED. PVC INTAKE VALVE REPLACED. DEALER TO
DRIVE CAR 250 MILES AND TEST OIL CONSUMPTION AGAIN. AS OF 10/3, NO
RESOLUTION.

CUSTOMER HAS REQUESTED REPLACEMENT FROM MANUFACTURER. NOT
APPROVED AS OF YET. *TR
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2014




March 8, 2014 NHTSA ID NUMBER: 10567955
Components: ENGINE, VISIBILITY/WIPER, ELECTRONIC
STABILITY CONTROL, POWER TRAIN
NHTSA ID Number: 10567955



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Incident Date March 5, 2014
Consumer Location EL CERRITO, CA
Vehicle Identification Number N/A

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

A JEEP AUTHORIZED DEALERSHIP CHANGED THE ENGINE OIL AND OIL FILTER
FOR MY VEHICLE. ABOUT 15 MINUTES AFTER I TOOK MY VEHICLE FROM THE
DEALERSHIP, THE INCIDENT HAPPENED ON A HIGHWAY. "SERVICE
TRANSMISSION" WARNING SHOWED UP FIRST, THE ENGINE LIGHT WAS ON,
AND SOME ELECTRONIC FUNCTIONS WERE DISABLED, WHICH INCLUDE, BUT
ARE NOT LIMITED TO, THE FORWARD COLLISION WARNING, THE PARKSENSE,
THE LANE SENSE, AND THE ADAPTIVE CRUISE CONTROL. THE ESC
ACTIVATION / MALFUNCTION INDICATOR LIGHT WAS ON. THERE WAS LOUD
RATTLING NOISE FROM THE ENGINE, AND THE VEHICLE WAS SHAKING WHILE
MOVING ON THE HIGHWAY. I HAD A DIFFICULT TIME MOVING THE VEHICLE OFF
THE HIGHWAY.

AFTER I PARKED ON A SURFACE ROAD, I FOUND NO ENGINE OIL WAS
REGISTERED ON THE DIPSTICK. THE LEAKED OIL WAS SPLASHED OVER THE
VEHICLE'S EXTERIOR. IN PARTICULAR, IT COVERED THE PARKING SENSORS
AND THE REAR WINDOW, WHICH DISABLED THE ELECTRONIC SAFETY
FEATURES AND GREATLY REDUCED MY VISIBILITY WHILE DRIVING. THE
VEHICLES BEHIND ME ON THE HIGHWAY WERE ALSO SPLASHED BY THE
LEAKED OIL AND WERE BEEPING AND/OR CUTTING IN MY LANE TO COMPLAIN.

THE DEALERSHIP DETERMINED THAT THE RUBBER RING THAT SEALS THE
CARTRIDGE HOUSING OF THE OIL FILTER WAS BROKEN, CAUSING THE ENGINE
OIL LEAK. THIS O-SHAPED RUBBER RING COMES WITH THE OEM OIL FILTER
THAT WAS INSTALLED WHEN THE OIL FILTER WAS CHANGED. THE ENGINE
WAS DAMAGED. THE DEALERSHIP STATED THAT NO TEST DRIVE IS REQUIRED
TO CHECK IF THERE IS A LEAK FOR OIL CHANGE SERVICE. THREE OTHER
JEEP DEALERSHIPS CONFIRMED THIS CLAIM. I BELIEVE THERE IS A DESIGN
DEFECT IN THE OIL FILTER SEALING THAT CAN CAUSE LIFE THREATENING
ACCIDENTS. I BELIEVE JEEP DOES NOT INSTRUCT THEIR AUTHORIZED
DEALERSHIP TO IMPLEMENT AN OIL FILTER CHANGE PROCEDURE THAT
ENSURES A PART DEFECT LIKE THIS WOULD BE DISCOVERED BEFORE THE
VEHICLE LEAVES THE DEALERSHIP. *TR
1 Affected Product


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Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2014




November 7, 2019 NHTSA ID NUMBER: 11278667
Components: ENGINE
NHTSA ID Number: 11278667
Incident Date November 4, 2019
Consumer Location LOUISVILLE, KY
Vehicle Identification Number 1C4PJMCB2FW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY 2015 JEEP CHEROKEE LATITUDE HAS STALL OUT 3 TIMES ON ME WHILE
DRIVING ON BUSY HIGHWAYS. I TOOK THE VEHICLE IN FOR REPAIR AND WAS
TOLD THIS PARTICULAR ENGINE CONSUMES OIL AT A FAST RATE AND
WITHOUT ANY WARNING, WHEN LOW, WILL STALL UNEXPECTEDLY. NO
WARNING, NO OIL PRESSURE GAUGE ALERTS, CAR SIMPLE STALLS. I AM
AFRAID THE VEHICLE WILL STALL AND ME AND ANY OCCUPANT WILL BE
KILLED OR SERIOUSLY INJURED. I HAVE NOTICE THE SAME COMPLAINT
NUMEROUS TIMES ON LINE.
1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2015




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June 19, 2019 NHTSA ID NUMBER: 11221247
Components: ENGINE
NHTSA ID Number: 11221247
Incident Date April 13, 2019
Consumer Location TRAVERSE CITY, MI
Vehicle Identification Number 1C4PJMCB3FW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

CAR STALLING AT LOW SPEED AND ALSO AT STOP. TAKES SEVERAL
ATTEMPTS TO GET MOVING AGAIN. WENT IN FOR SERVICE AND CAR
VIRTUALLY OUT OF OIL. WAS NOT EVEN CLOSE TO NEEDING AN OIL CHANGE.
LESS THAN EVERY 1000 MILES THERE IS AN OIL LOSS OF ATLEAST A QUART
NEEDING TO BE ADDED AT OIL CONSUMPTION TEST. EXTREMELY
DANGEROUS TO DRIVE AND ANY TYPE OF RESOLUTION FEELS WORLDS AWAY
WHEN OUR SAFETY IS JEOPARDIZED.
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2015




May 7, 2019 NHTSA ID NUMBER: 11205958
Components: ENGINE
NHTSA ID Number: 11205958
Incident Date May 1, 2019



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Consumer Location TEMPLE HILLS, MD
Vehicle Identification Number 1C4PJMCB9FW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

THE ENGINE LOSES LARGE AMOUNT OF OIL CAUSING THE CAR AIR FLOW
SYSTEM TO MALFUNCTION. THE CAR COMPLETELY SHUTDOWN WHILE
DRIVING BECAUSE THE CAR NEEDS OIL AND ECS WARNING BLINKS.
HOWEVER, THE CAR OIL INDICATOR DOESN'T RECOGNIZE THE CAR NEEDS
OIL. THIS SAME IDENTICAL SITUATION HAS HAPPEN MULTIPLE TIME, STARTING
ABOUT 1 YEAR AFTER I PURCHASED THE SUV IN SEPTEMBER 2015. EVERY
TIME I HAVE TAKEN THE CAR TO THE DEALERSHIP, IT HAS BEEN NOTED IN THE
RECORD. HOWEVER, THIS TIME, THE AUTOMOBILE TECH INFORM ME OF THE
PROBLEM WITH CAR AND NOTED THAT JEEP IS AWARE OF THIS ISSUE WITH
THE 2.4L 4 CYLINDER ENGINES. THOSE PARTICULAR ENGINES ARE ALSO IN
THE CHRYSLER 200.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2015




March 29, 2019 NHTSA ID NUMBER: 11192370
Components: ENGINE, POWER TRAIN
NHTSA ID Number: 11192370
Incident Date March 14, 2019
Consumer Location CLINTON, CT
Vehicle Identification Number 1C4PJLCB4FW****

Summary of Complaint


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CRASHNo

FIRENo

INJURIES0

DEATHS0

DRIVING ALONG WITH VEHICLE IN MOTION, THE ENGINE STALLS OUT AND
CONTINUES TO ROLL, BUT DOES NOT OPERATE. CAR MUST COME TO A
COMPLETE STOP, REST AND THEN TRY TO RESTART - VERY DANGEROUS ON
THE HIGHWAY. A MESSAGE COMES ON STATING "VEHICLE MUST BE IN GEAR
TO SHIFT" OR SOMETHING CLOSE TO THAT - BUT THERE HAS BEEN NO
SHIFTING ON MY PART AT ALL. THIS STALLING HAS PUT ME IN VERY
DANGEROUS CONDITIONS BECAUSE CARS COMING FROM BEHIND AND
AROUND ME HAVE NO WARNING OF THE STALLED OUT ENGINE EITHER. IT
TAKES ABOUT 3 OR 4 MINUTES TO RESTART THE ENGINE. DEALERSHIP SAYS
THIS IS AN OIL CONSUMPTION ISSUE AND ITS SOMETHING TO DO WITH THE
PISTONS. ANOTHER JEEP SERVICE MANAGER SAID THE ENGINE NEEDS TO BE
REPLACED. ITS STILL UNDER WARRANTY. I FEAR THAT WE'RE GOING TO GET
HIT (MY DAUGHTER AND I) AND MEANWHILE, WE DO NOT HAVE OTHER
TRANSPORTATION AND I'M GOING TO BE PAYING ON THIS FOR 4 MORE YEARS.
THERE IS A LOT OF INFORMATION ON OTHER PEOPLE HAVING THE SAME
COMPLAINTS ON THE INTERNET.

FOR NOW, THE DEALERSHIP IS DOING AN OIL CONSUMPTION TEST WHICH IS
RELATED TO THE ENGINE PROBLEMS KNOWN ON OTHER VEHICLES. WITH
THIS MANY PEOPLE HAVING THE SAME PROBLEM, THIS SHOULD BE A
RECALLED ENGINE.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2015




February 19, 2019 NHTSA ID NUMBER: 11181050
Components: ENGINE
NHTSA ID Number: 11181050
Incident Date February 19, 2019
Consumer Location GORDONSVILLE, VA


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Vehicle Identification Number 1C4PJMCB0FW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

BURN OF OIL AT ROUGHLY A QT PER 1000 MILES, LESS THAN RECOMMENDED
OIL CHANGE MILEAGE. EFFECTS ENGINE. SHUTS ENGINE OFF WHILE DRIVING
AND TAKES 3-5 MINUTES BEFORE CAR CAN START AGAIN. VERY DANGEROUS
AS IT HAPPENS AT ANY SPEEDS AND CAR COMPLETELY LOCKS UP.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2015




February 23, 2018 NHTSA ID NUMBER: 11074574
Components: ENGINE
NHTSA ID Number: 11074574
Incident Date August 28, 2017
Consumer Location LONDON, KY
Vehicle Identification Number N/A

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

CAR IS BURNING OIL AND SHUTTING OFF ON THE ROAD, WHICH I OR MY
CHILDREN, CAN EASILY GET HURT OR KILLED. HAVE TRIED TO HAVE
RESOLVED NUMEROUS TIMES WITH UNSATISFACTORY RESULTS FROM THE


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CAR LOT. AS ADVISED FROM THE SERVICE MANAGER THIS IS NORMAL UNDER
CHRYSLER STANDARDS.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2015




January 22, 2018 NHTSA ID NUMBER: 10851584
Components: ENGINE
NHTSA ID Number: 10851584
Incident Date January 1, 2015
Consumer Location JOHNSTOWN, NY
Vehicle Identification Number N/A

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

2015 JEEP CHEROKEE. CONSUMER WRITES IN REGARDS TO VEHICLE
EXCESSIVE OIL CONSUMPTION ISSUES. *SMD

THE CONSUMER STATED THE VEHICLE HAD IT'S FIRST OIL CHANGE IN
JANUARY OF 2015. AFTER 146 MILES, THE OIL WAS ONE QUART LOW.

THE CONSUMER ADDS 1-2 QUARTS BETWEEN REGULAR OIL CHANGES.

THE CONSUMER REQUESTED TO HAVE TO VEHICLE EXCHANGED FOR V-6. *JS
1 Affected Product
Vehicle




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MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2015




February 28, 2017 NHTSA ID NUMBER: 10957545
Components: ENGINE
NHTSA ID Number: 10957545
Incident Date April 28, 2016
Consumer Location FOREST HILL, MD
Vehicle Identification Number 1C4PJMCB3FW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

TL* THE CONTACT OWNS A 2015 JEEP CHEROKEE. THE CONTACT STATED
THAT THE VEHICLE USED UP A QUART OF OIL EVERY THREE THOUSAND MILES
WITHOUT WARNING. THE DEALER DIAGNOSED AND PERFORMED AN OIL
CHANGE. THE TECHNICIAN NOTED ON THE INVOICE THAT THE OIL FILTER WAS
LOOSE. THE FAILURE RECURRED. THE MANUFACTURER WAS NOT MADE
AWARE OF THE FAILURE. THE FAILURE WAS NOT REMEDIED. THE FAILURE
MILEAGE WAS APPROXIMATELY 41,633.
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2015




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November 15, 2017 NHTSA ID NUMBER: 11046423
Components: ENGINE
NHTSA ID Number: 11046423
Incident Date November 12, 2017
Consumer Location HAVERHILL, MA
Vehicle Identification Number 1C4PJMABXFW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WHILE DRIVING ON SUNDAY MY JEEP SUDDENLY WITHOUT NOTICE OR
WARNING SHUT OFF AND WOULD NOT RESTART, I WAS STRANDED IN MIDDLE
OF THE ROAD SINCE THERE WAS NO WARNING I HAD NO TIME TO PULL TO
SIDE. AAA TOWED TO CLARK CHRYSLER/JEEP WHERE IT WAS BOUGHT AND
UNDER EXTENDED WARRANTY. ALL PM'S HAVE BEEN DONE THERE AND DONE
TIMELY. WHAT THEY FOUND WAS JEEP WAS DOWN 3 QTS OF OIL, I ASKED
HOW THAT COULD BE AND WHY WOULD ENGINE SHUT OFF SO ABRUPTLY
THEY CLAIM THE 2.4 ENGINES USE 1QT PER 1,000 MILES, THAT NO INDICATOR
OR WARNING COMES ON AND ENGINE WILL SHUT OFF TO PROTECT IT. NO
WHERE IS IT LISTED IN OWNERS MANUAL, I HAVE BEEN IN AUTOMOTIVE FOR
OVER 30 YEARS AND IF AN ENGINE BURNS A QT PER 1,000 YOU REBUILD OR
BUY A NEW ENGINE, I AM NOW TOLD I MUST CHECK AND ADD OIL EVERY 1,000
MILES ON A 2015 WITH ONLY 42,000 MILES! SAFETY CONCERN IS IF ANYONE IS
ON HIGHWAY IT COULD CAUSE DEATH WITH A SUDDEN STOPPAGE OF
VEHICLE, I WAS LEFT IN THE MIDDLE OF OF A COUNTRY ROAD AND AAA HAD
POLICE COME TO HELP BLOCK ME FROM TRAFFIC PASSING AROUND ME, I
NEVER HEARD OF ANYTHING LIKE THIS SO I CALLED JEEP AND MELISA ON
THEIR CONSUMER LINE CONFIRMED WITH SERVICE TECH IAN HOGAN AND
TOLD ME THAT SHE IS TOLD IT HAPPENS AND THERE IS NO WARNING , HOW
CAN JEEP THINK THIS IS SAFE WITHOUT AT LEAST NOTIFYING OWNERS TO BE
AWARE?
1 Affected Product
Vehicle




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MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2015




October 16, 2017 NHTSA ID NUMBER: 11033896
Components: ENGINE
NHTSA ID Number: 11033896
Incident Date October 15, 2017
Consumer Location MCHENRY, IL
Vehicle Identification Number 1C4PJMCB1FW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY CAR HAS BEEN STALLING ON THE FIRST DRIVE OF THE MORNING FOR 4
DAYS. STARTS UP AND IT'S FINE AFTER THAT. YESTERDAY WHILE VIDEOING IT
TO SHOW A DEALER, I HEARD A DING. SAW NOTHING ON THE PANEL.
REVIEWED THE VIDEO, AND I CAN ONLY SPECULATE IT SAID OIL PRESSURE
LOW. IT LASTED LESS THAN HALF A SECOND AND DISAPPEARED. I CHECKED
MY OIL AND FOUND IT TO BE BARELY REGISTERING ON THE STICK. IT TOOK 2
1/2 QUARTS TO FILL IT. MY OIL CHANGE STICKER STATES I'M 1200 MILES AWAY
FROM THE 4000 MARK THE DEALER PUTS ON IT. I WAS TOLD TODAY BY A JEEP
DEALER, THAT THE 2.4 ENGINE IN THE CHEROKEE WILL USE A QUART OF OIL
EVERY 750-1000 MILES IF OVER 50,000 MILES. I HAVE 56,580 MILES. THE
PROBLEM IS WHEN OIL IS LOW, THE CAR WILL STALL TO PREVENT DAMAGE AS
A SAFETY FEATURE. UNFORTUNATELY THIS HAS CAUSED ME TO HAVE TO
COAST ACROSS A BUSY TWO LANE ROAD WHILE MAKING A TURN, SO I COULD
HAVE BEEN HIT. IT THEN TAKES 2-3 TIME TO CRANK IT OVER TO RESTART IT.
THIS WAS NOT DISCLOSED TO ME WHEN I PURCHASED THE CAR WITH 40,009
MILES ON IT. THE DEALERS SAY THIS IS PERFECTLY NORMAL FOR THIS
ENGINE TO BURN OIL. I DON'T BELIEVE ANY MANURACTURER SHOULD SELL
VEHICLES THAT "BURN" OIL AT A QUART PER 1000 MILES. I BOUGHT A NEWER
CAR FOR LESS MAINTENANCE. NOW I HAVE TO ADD OIL ONCE A MONTH TO MY
CAR. NOT TO MENTION THAT IF A DUMMY LIGHT OR MESSAGE COMES ON


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REGARDING SOMETHING SUBSTANTIAL TO SHUT YOUR CAR OFF, WHY DOES
THE MESSAGE ONLY FLASH SO YOU CAN'T EVEN READ IT? I HAD TO WATCH
THE VIDEO TO SEE POSSIBLY WHAT IT SAID. I AM UNABLE TO SEND THE VIDEO
FROM MY PHONE BECAUSE IT IS TOO LARGE. I'M TRYING TO GET IT TO SYNC
SO I CAN SEND IT. THIS IS THE FLASH OF THE WARNING MESSAGE, NOT AN
ACTUAL STALL.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2015




January 5, 2017 NHTSA ID NUMBER: 10939926
Components: ENGINE
NHTSA ID Number: 10939926
Incident Date December 20, 2016
Consumer Location PORTSMOUTH, NH
Vehicle Identification Number 1C4PJMAB6FW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

CAR JUST RANDOMLY SHUT OFF IN MIDDLE OF A 50 MPH HIGHWAY, ALMOST
CAUSED ACCIDENT. IT DID IT A COUPLE MORE TIMES BEFORE I GOT IT
LOOKED AT. DEALER SAID IT WAS SO LOW ON OIL IT SHUT OFF. BUT DEALER
ALSO CONFIRMED OIL WAS NOT LOW ENOUGH TO TRIGGER THE WARNING
LIGHT AND ALSO EXPLAINED IT HAS BEEN HAPPENING FREQUENTLY WITH MY
MODEL.
1 Affected Product
Vehicle



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MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2015




July 16, 2015 NHTSA ID NUMBER: 10734584
Components: ENGINE
NHTSA ID Number: 10734584
Incident Date March 1, 2015
Consumer Location RALEIGH, NC
Vehicle Identification Number 1C4PJLAB3FW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

TL* THE CONTACT OWNS A 2015 JEEP CHEROKEE. WHILE DRIVING AT VARIOUS
SPEEDS, THE LOW OIL PRESSURE AND BATTERY WARNING LIGHTS
ILLUMINATED. THE VEHICLE WAS ABLE TO RESTART. THE FAILURE RECURRED
SEVERAL TIMES. THE VEHICLE WAS TAKEN TO A DEALER WHO WAS UNABLE
TO DIAGNOSE THE CAUSE OF THE FAILURE. THE CONTACT MENTIONED THAT
THE VEHICLE WAS LOSING EXCESSIVE OIL AND CONSTANTLY NEEDED OIL TO
BE ADDED. THE VEHICLE WAS THE TAKEN TO A DEALER WHERE IT WAS
DIAGNOSED THAT THE ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS
REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE
FAILURE MILEAGE WAS 4,800.
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2015




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January 13, 2015 NHTSA ID NUMBER: 10672201
Components: FUEL SYSTEM, GASOLINE, ENGINE, STRUCTURE
NHTSA ID Number: 10672201
Incident Date January 4, 2015
Consumer Location LA JOLLA, CA
Vehicle Identification Number 1C4PJLAB1FW****

Summary of Complaint
CRASHNo

FIREYes

INJURIES0

DEATHS0

NEW JEEP CHEROKEE 2015 VEHICLE WAS PURCHASED EVENING JAN 2, 2015
FROM. PERRY CHRYSLER/JEEP, NATIONAL CITY, CA.

DRIVEN TOTAL LESS THAN 100 MILES.

ON JAN 4 DRIVER NOTICED OILY SMELL WHEN DRIVING.

IMMEDIATELY AFTER BEING PARKED AT HOME WHITE SMOKE CAME OUT OF
HOOD.

WITHIN SECONDS THE ENTIRE CAR WAS ENGULFED IN FIRE, FLAMES 20 FEET
HIGH.

BURNING OIL OR FUEL RAN DOWN THE STREET OVER 50 YARDS.

TWO LOCAL SAN DIEGO TV STATIONS HAVE VIDEOS OF FIRE, INCLUDING OUR
OWN VIDEO ON FACEBOOK.

AVAILABLE UPON REQUEST. *TR
1 Affected Product
Vehicle




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MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2015




March 29, 2020 NHTSA ID NUMBER: 11319663
Components: ENGINE
NHTSA ID Number: 11319663
Incident Date March 3, 2020
Consumer Location WAXHAW, NC
Vehicle Identification Number 1C4PJLCB6GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

CAR SHUTS OFF RANDOMLY WHILE DRIVING! LOOSE POWER STEERING AND
POWER BREAKS. AFTER LOOKING ONLINE, THIS SEEMS TO BE A COMMON
OCCURRENCE. CAR STOPPED IN THE MIDDLE OF AN INTERSECTION!
DEALERSHIP EXPLANATION IS THAT THE OIL IS LOW AND CAR IS DESIGNED TO
SHUT OFF WHILE DRIVING IF THE OIL IS LOW. I JUST HAD AN OIL CHANGE AND
NO OIL LIGHT EVER CAME ON. MANY PEOPLE REPORTING THE SAME AND
THAT THIS ENGINE BURNS A WHOLE QUART OF OIL PER 750 MILES!!!
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




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March 9, 2020 NHTSA ID NUMBER: 11317167
Components: ENGINE
NHTSA ID Number: 11317167
Incident Date January 1, 2020
Consumer Location SEMMES, AL
Vehicle Identification Number 1C4PJLCB6GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

ENORMOUS AMOUNTS OF OIL BURNING UP AND SCOLDING THE CYLINDER
WALLS.

OIL CHANGE AND GUARANTEED 3000 MILES. LESS THAN 1000 MILES LATER
ALL OIL GONE AND CYLINDER WALLS SCORCHED. NO LEAKS AT ALL THE
CAUSE THE MISSING OIL. EVERY 1000 MILES DEALER HAVING TO TOP OFF OIL
UNTIL NEXT OIL CHANGE.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016



January 17, 2020 NHTSA ID NUMBER: 11300163
Components: ENGINE
NHTSA ID Number: 11300163
Incident Date January 2, 2020
Consumer Location GILBERT, AZ
Vehicle Identification Number 1C4PJLAB6GW****

Summary of Complaint


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CRASHNo

FIRENo

INJURIES0

DEATHS0

FOLLOWING DAY VEHICLE COMPLETELY SHUT DOWN WHILE DRIVING ON THE
INTERSTATE AT 55 MPH . DEALERSHIP CONTACTED AND VEHICLE BROUGHT IN
FOR INSPECTION. DEALER CONCLUDED THAT ENGINE HAD NO OIL, ALTHOUGH
INTERNAL INDICATORS FAILED TO ADVISE AND SHOWED VEHICLE HAD 60%
OIL LIFE REMAINING AND 3000 MILES UNTIL SCHEDULED OIL CHANGE. DEALER
ADVISED THAT VEHICLE IS KNOWN TO BURN OIL, THIS HAS HAPPENED TO ME
3X ALREADY. THE JEEP CHEREOKEE MANUAL STATES OIL CHANGES SHOULD
BE DONE EVERY 8,000 MILES. I HAVE BEEN GETTING MY OIL CHANGES WAY
BEFORE THE STATED REQUIREMENT OF 8000. THERE IS CLEARLY SOMETHING
WRONG WITH MY ENGINE. I HAVE A 10 MONTH BABY AND I AM TERRIFIED OF
DRIVING THIS VEHICLE. IT RANDOMLY SHUTS DOWN AND STALLS. IAM SO
SCARED FOR MY LIFE EVERYTIME I DRIVE THIS VEHICLE AND IT IS ALL I HAVE .
I BOUGHT THIS CAR BRAND NEW!! MY ENGINE IS CLEARLY DEFECTIVE AND
SHOULD BE REPLACED.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




January 7, 2020 NHTSA ID NUMBER: 11297676
Components: ENGINE
NHTSA ID Number: 11297676
Incident Date November 15, 2019
Consumer Location BYFIELD, MA
Vehicle Identification Number 1C4PJMCB6GW****

Summary of Complaint
CRASHNo

FIRENo




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INJURIES0

DEATHS0

I WAS DRIVING DOWN THE STREET THEN WENT TO TAKE A LEFT AND MY CAR
SHUT OFF. I GOT IT TO THE SIDE OF THE ROAD AND TRIED TO START
IT,WOULD NOT START. I THEN WAITED A FEW MINUTES AND TRIED AGAIN AND
IT STARTED LUCKILY I WAS CLOSE TO HOME AND CALLED TOW TRUCK AND
THEY BROUGHT IT TO DEALERSHIP FOUND OUT IS BURNING OIL ONLY HAD
35;698 MILES AND WHEN THE CAR GETS DOWN TWO QUARTS OF OIL THESE
CARS WILL SHUT DOWN WITH NO NOTICE. SOMEONE IS GOING TO GET
KILLED. NO DASH LIGHT COMES ON.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




January 2, 2020 NHTSA ID NUMBER: 11292590
Components: ENGINE
NHTSA ID Number: 11292590
Incident Date January 2, 2020
Consumer Location SACRAMENTO, CA
Vehicle Identification Number 1C4PJLAB9GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

VEHICLE SHUTS OFF WHILE DRIVING. HAPPENS MOSTLY IN THE MORNING AND
AFTER MAKING A TURN. THE VEHICLE HAS SHUT OFF AT RANDOM TIMES
THROUGHOUT THE DAY AND EVENING. COULD BE A CRANKING ISSUE AS IT
HAPPENS MOSTLY WITHIN A HALF HOUR OF STARTING.

EVERY INCIDENT WHERE THE VEHICLE HAS SHUT OFF WHILE DRIVING HAS


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BEEN ON A STREET AND WHILE ACCELERATING IN MOTION. BEFORE
SHUTTING OFF, THE ENGINE LIGHT WILL COME ON AND IMMEDIATELY AFTER,
WILL SHUT OFF.
1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2016




December 16, 2019 NHTSA ID NUMBER: 11289244
Components: ENGINE
NHTSA ID Number: 11289244
Incident Date November 14, 2019
Consumer Location CONWAY, SC
Vehicle Identification Number 1C4PJLCB0GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

I HAVE THE 2.4L IN MY CHEROKEE. THE SAME AS OTHER JEEP MODELS AND I
HAVE HAD THE SAME OIL CONSUMPTION ISSUE THAT THIS ENGINE LINE HAS.
JEEP JUST SHUT OFF AND HAD TO RESTART. NO WARNING OR LIGHTS ON
DASH TO INDICATE LOW OIL. I HAD JUST A DROP OF OIL ON THE DIPSTICK.
ONLY DROVE JUST OVER 5000 MILES. DEALER SAID ITS NORMAL TO BURN OIL
AND FCA KNOWS ABOUT THE ISSUE BUT WILL NOT REPAIR. THEY SAY ABOUT
70% OF THE 2.4 ARE AFFECTED ACROSS ALL MODELS. WITH ALL THE ISSUES I
SEE ON FORUMS AND SOCIAL MEDIA IT SEEMS SOMETHING SHOULD BE DONE
BEFORE WE GET TO THE THRESHOLD OF UNACCEPTABLE ACCIDENTS AND
DEATH. ALL MAINTENANCE HAS BEEN DONE AT A FCA DEALER. HARD TO
BELIEVE IT JUST STARTED TO BURN OIL.
1 Affected Product
Vehicle

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MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2016




November 21, 2019 NHTSA ID NUMBER: 11281527
Components: ENGINE
NHTSA ID Number: 11281527
Incident Date November 2, 2019
Consumer Location HOUSTON, TX
Vehicle Identification Number 1C4PJLCB3GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

2016 JEEP CHEROKEE APPROX. 58,000 MILES BEGAN SHUTTING DOWN WHILE
EXITING THE PARKING GARAGE, STALLED OUT SEVERAL TIMES AND
STEERING AND ALL CONTROL OF THE VEHICLE WAS LOST. TOOK IT TO THE
SHOP AND AFTER RUNNING DIAGNOSTIC WAS TOLD THAT NOTHING COULD BE
FOUND TO BE WRONG WITH THE VEHICLE. DID NOT DRIVE THE VEHICLE FOR A
WEEK AND WHEN IT WAS DRIVEN AGAIN BEGAN DISPLAYING THE SAME
PROBLEMS WITH COMPLETE SHUT DOWN. AFTER SOME INVESTIGATION ON
THIS WEB SITE AND OTHERS, I FOUND THAT THIS IS A COMMON PROBLEM
WITH THE 2016 JEEP CHEROKEE DUE TO THE BUILT IN KILL SWITCH TO
PROTECT THE ENGINE WHEN THE OIL IS LOW. I CHECKED THE OIL AND IT WAS
INDEED LOW. PRIOR TO THIS FAILURE, THE VEHICLE HAS BEEN WELL
MAINTAINED WITH ALL RECOMMENDED OIL CHANGES AND PREVENTATIVE
MAINTENANCE. JEEP/CHRYSLERS SOLUTION TO THE PROBLEM-CHECK YOUR
OIL MORE OFTEN! THIS VEHICLE IS DANGEROUS-NOT ONLY TO THE DRIVER
AND PASSENGERS BUT TO OTHER VEHICLES ON THE ROADS AS THE VEHICLE
STOPS WITH NO WARNING AND COULD CAUSE MAJOR ACCIDENTS AND
DEATHS. THEY NEED TO BE TAKEN OFF OF THE ROADWAYS
1 Affected Product
Vehicle


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MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




November 4, 2019 NHTSA ID NUMBER: 11278049
Components: ENGINE
NHTSA ID Number: 11278049
Incident Date January 1, 2019
Consumer Location Unknown
Vehicle Identification Number 1C4PJMAB4GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

TL* THE CONTACT OWNS A 2016 JEEP CHEROKEE. WHILE DRIVING VARIOUS
SPEEDS, THE VEHICLE STALLED. THE CONTACT CHANGED THE BATTERY AND
NOTICED THAT THE OIL WAS LOW. THERE WERE NO WARNING INDICATORS
ILLUMINATED. THE CONTACT CALLED VATLAND CHRYSLER DODGE JEEP RAM
(855 SOUTH, US-1, VERO BEACH, FL 32962, (772) 567-6633) AND AN OIL
CONSUMPTION TEST WAS COMPLETED. THE DEALER DIAGNOSED THAT THE
ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS REPAIRED, BUT THE
FAILURE RECURRED. THE MANUFACTURER WAS NOT CONTACTED. THE
FAILURE MILEAGE WAS 36,000.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




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October 24, 2019 NHTSA ID NUMBER: 11270685
Components: ENGINE
NHTSA ID Number: 11270685
Incident Date October 24, 2019
Consumer Location DELAWARE, OH
Vehicle Identification Number 1C4PJLAB6GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MAKING A LEFT TURN, ENGINE SHUT OFF NO POWER, STATED I MUST BE IN
PARK TO SHIFT WARNING LIGHTS FLASHING (ALL KINDS). WOULD NOT
RESTART FOR ABOUT 15 MINUTES. RAN FINE PRIOR TO THIS. FINALLY
RESTARTED AND DROVE DIRECTLY TO DEALERSHIP (ITS ONLY ABOUT A MILE
AWAY). EXPLAINED WHAT HAPPENED THEY HAD NO CLUE WHY THIS WOULD
HAPPEN BUT THEY CHECKED OIL WHICH WAS VERY LOW (WHICH LEADS ME
TO BELIEVE THEY HAVE SEEN THIS ISSUE BEFORE). CHANGED OIL AND SO
FAR SO GOOD. COMPLAINT - WHY WOULD ENGINE SHUT OFF BECAUSE OF
THAT? WHY WOULD A BRAND NEW CAR WITH UNDER 30,000 MILES BURN THAT
MUCH OIL? WHY DIDN'T THE INDICATOR TELL ME THERE WAS LOW OIL OR
LOW OIL PRESSURE? IF THIS THING BURNS THAT MUCH OIL WITHIN THE
ALLOTTED OIL CHANGE TIME - MAY NEED TO LOOK FOR ANOTHER VEHICLE -
THIS IS DANGEROUS IF THE CAR SHUTS OFF ON A FREEWAY OR IN BUSY
TRAFFIC.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




August 7, 2019 NHTSA ID NUMBER: 11242327


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Components: ENGINE
NHTSA ID Number: 11242327
Incident Date August 6, 2019
Consumer Location CEDAR PARK, TX
Vehicle Identification Number 1C4PJLCB2GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY WIFE'S JEEP CHEROKEE 2016 WHILE DRIVING 3 TIMES IN THE LAST MONTH
HAS STALLED WHILE MAKING A SLIGHT RIGHT TURN. THE DISPLAY SIGNALS
ENGINE, AND BATTERY FLASH AND THEN THE CAR DIES WITH NO POWER
INSTANTLY. MY PREGNANT WIFE WAS COMMUTING DURING RUSH HOUR THE
LAST TIME THIS HAPPENED AND THIS NEARLY CAUSED HER TO BE REAR
ENDED. LUCKILY THE DRIVER BEHIND HER WAS PAYING ATTENTION AND
AVOIDED THE COLLISION. NOW MY WIFE WAS STUCK IN TRAFFIC WITH NO
POWER FOR 5 MINUTES UNTIL THE CAR TURNED BACK ON. AFTER A LOT OF
ONLINE RESEARCH, I FOUND 90 PLUS COMPLAINTS ABOUT THIS EXACT ISSUE.
APPARENTLY THE 2.4 L MOTOR IN THE 2016 JEEP CHEROKEE HAS A SAFETY
FEATURE THAT CAUSES THIS STALLING BASED ON LOW OIL LEVELS. SO THIS
POORLY ENGINEERED ENGINE BURNS 1 QT OF OIL PER 1000 MILES, THIS
CAUSES YOUR OIL TO RUN SIGNIFICANTLY LOW BEFORE THE
MANUFACTURERS RECOMMENDED OIL SERVICE PERIODS. MY MECHANIC
INSPECTED THE VEHICLE AND HAS COME TO THE SAME CONCLUSION, WE
WILL HAVE TO ADD 1 QT OF OIL EVERY THOUSAND MILES. THIS CAR HAS LESS
THAN 36K MILES AND WILL NOW REQUIRE EXTRA OIL FOR ITS LIFE, WHICH IS
RIDICULOUSLY TEDIOUS FOR A 30K$ CAR. HOWEVER THE STALLING WITH NO
WARNING AND CAUSING LOSS OF POWER IN TRAFFIC WILL EVENTUALLY LEAD
TO ACCIDENTS AND SHOULD BE A SIGNIFICANT SAFETY CONCERN.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




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July 5, 2019 NHTSA ID NUMBER: 11229659
Components: ENGINE
NHTSA ID Number: 11229659
Incident Date May 6, 2019
Consumer Location NEWBURGH, IN
Vehicle Identification Number 1C4PJLDB8GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

VEHICLE STALLS AND CUTS OFF WHILE DRIVING AND STEERING WHEEL
LOCKED UP WITHOUT WARNING. NO CHECK ENGINE LIGHTS ON AND NO
EXPLANATION. AFTER SEVERAL TIMES IT WAS FOUND THAT THE ENGINE WAS
COMPLETELY OUT OF OIL. OIL CONSUMPTION TEST RESULTED IN AN ENGINE
REPLACMENT FROM SCRATCHING ON INSIDE CYLINDER WALLS. NEW ENGINE
11-2017. NEW ENGINE IS STARTING TO DO THE SAME THING AND IS BURNING
OIL. CAR WILL SHUT OFF.
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2016




May 30, 2017 NHTSA ID NUMBER: 10992363
Components: ENGINE
NHTSA ID Number: 10992363
Incident Date May 27, 2017


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Consumer Location SEVERNA PARK, MD
Vehicle Identification Number 1C4PJMDB0GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

ON MARCH 3/9/2017 I PURCHASED A 2016, JEEP CHEROKEE LIMITED 4X4, 2.4L
WITH 20,111. AT THE TIME OF THE PURCHASE, I RECEIVED A 109-POINT
VEHICLE INSPECTION REPORT, AND I PERSONALLY CHECKED THE FLUID
LEVELS. ON MAY 27, 2017, THE OIL LIGHT FLASHED WHEN TURNING INTO THE
HOME DEPOT. I IMMEDIATELY, PARKED AND TURNED OFF THE CAR. AFTER
INSPECTION, I CHECKED THE OIL, AND THERE WAS NO EVIDENCE OF OIL ON
THE DIP STICK. THE JEEP’S MILEAGE WAS 24,211 MILES, WHICH IS ONLY 4,100
MILES SINCE PURCHASING THE VEHICLE. HAVING LEARNED THAT NO OIL WAS
REGISTERING ON THE DIP STICK, I OPENED UP THE HOOD AND LOOKED FOR
SIGNS OF AN OIL LEAK? NO OIL LEAK WAS VISIBLE FROM THE ENGINE
COMPARTMENT AND NO OIL LEAKAGE WAS FOUND UNDER THE JEEP. I THEN
DROVE TO THE NEAREST RETAILER AND PURCHASED 5 QT CONTAINER OF
0W-20, FULL SYNTHETIC MOTOR OIL. AFTER RETURNING TO THE JEEP, I
STARTED ADDING OIL, ONE QUART AT A TIME, AND CHECKING THE LEVEL OF
THE OIL BETWEEN ADDING INTERVALS. AFTER ADDING ONE QUART, I COULD
JUST SEE EVIDENCE OF OIL ON THE DIP STICK. IT TOOK 3.5 QUARTS BEFORE
THE DIP STICK REGISTERED FULL. AT THAT POINT I TURNED ON THE VEHICLE.
ALL OF THE NORMAL DASH BOARD DIAGNOSTIC LIGHTS FLASHED ON/OFF AND
THE CAR EXHIBITED NO SUSTAINED WARNING LIGHTS. NO SUSTAINED ENGINE
LIGHT OR OIL LIGHT WERE VISIBLE AND THE JEEP APPEARED TO BE RUNNING
NORMALLY. NO BLUE OR BLACK EXHAUST WAS VISIBLE FROM THE JEEP’S TAIL
PIPE. AFTER ARRIVING HOME, I PROMPTLY CHANGED THE OIL AND OIL FILTER
WITH THE 0W-20, FULL SYNTHETIC CASTROL MOTOR OIL AND A FRAM TOUGH
GUARD FILTER. THE DISCARDED OIL WAS BLACK. FROM UNDER THE JEEP,
THERE WAS NO SIGN OF AN OIL LEAK AROUND THE OIL FILTER, THE OIL PAN
OR ANYWHERE INSIDE OF THE SKID SHIELD UNDER THE JEEP?
1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2016




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April 12, 2017 NHTSA ID NUMBER: 10972132
Components: STRUCTURE, ENGINE, UNKNOWN OR OTHER
NHTSA ID Number: 10972132
Incident Date April 4, 2017
Consumer Location FORT WORTH, TX
Vehicle Identification Number 1C4PJLAB7GW****

Summary of Complaint
CRASHNo

FIREYes

INJURIES0

DEATHS0

RETURNING HOME FROM 1ST OIL CHANGE SINCE PURCHASE OF VEHICLE
(2016 JEEP CHEROKEE SPORT) 3 MONTHS PRIOR, OWNER NOTICED SMOKE
COMING FROM HOOD IMMEDIATELY UPON PARKING VEHICLE AT RESIDENCE.
AS SOON AS OWNER EXITED VEHICLE, OWNER NOTICED FLAMES COMING
FROM BOTTOM OF ENGINE. OWNER CALLED 911. THREE MINUTES LATER
WHEN EMERGENCY VEHICLES ARRIVED, CAR WAS ENGULFED IN FLAMES AND
WAS DEEMED A TOTAL LOSS BY FIRE INVESTIGATOR AND INSURANCE
COMPANY.
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2016




January 17, 2017 NHTSA ID NUMBER: 10945731
Components: ENGINE
NHTSA ID Number: 10945731
Incident Date May 5, 2016


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Consumer Location EDGEWOOD, WA
Vehicle Identification Number 1C4PJLAB6GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

TL* THE CONTACT OWNS A 2016 JEEP CHEROKEE. THE CONTACT WAS
EXPERIENCING AN EXCESSIVE OIL CONSUMPTION ISSUE WITH THE VEHICLE.
THE CONTACT HAD TO ADD OIL TO THE VEHICLE EVERY 1,200 MILES. THE
CONTACT RESEARCHED THE ISSUE ONLINE AND DISCOVERED THAT THIS WAS
AN ONGOING ISSUE WITH THE MANUFACTURER. THE VEHICLE WAS NOT
DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS MADE AWARE OF THE
ISSUE. THE FAILURE MILEAGE WAS APPROXIMATELY 1,200.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




January 5, 2017 NHTSA ID NUMBER: 10939823
Components: ENGINE
NHTSA ID Number: 10939823
Incident Date December 5, 2016
Consumer Location WAYNESBORO, TN
Vehicle Identification Number 1C4PJLDB4GW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0




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DEATHS0

TL* THE CONTACT OWNS A 2016 JEEP CHEROKEE. WHILE DRIVING
APPROXIMATELY 10 MPH, THE VEHICLE STALLED WITHOUT WARNING. THE
CONTACT CAME TO A COMPLETE STOP. THE VEHICLE RESTARTED NORMALLY.
THE DEALER DIAGNOSED THAT THE OIL LEVEL WAS TOO LOW AND THE
ENGINE STALLED. THE CONTACT ALSO STATED THAT THE ENGINE WAS
REPLACED BECAUSE THE FAILURE RECURRED SIX OTHER TIMES. THE
VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS 29,000.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




August 27, 2016 NHTSA ID NUMBER: 10901992
Components: ENGINE
NHTSA ID Number: 10901992
Incident Date August 5, 2016
Consumer Location ROCKFORD, IL
Vehicle Identification Number N/A

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WE BOUGHT A BRAND NEW JEEP AND BY 5168 MILES IT USED 3 QUARTS OF
SYNTHETIC OIL. WE HAD THE OIL CHANGED AT 3000 MILES AT THE DEALER(AS
THEY SUGGESTED). WE INFORMED THE DEALER THAT THE JEEP WAS
BURNING OIL NOT LEAKING OIL. WE WERE TOLD THAT CHRYSLER WOULD NOT
DO ANYTHING ABOUT IT UNTIL 7500 MILES AND THEN THEY WOULD DO A OIL
CONSUMPTION TEST ON THE JEEP AND AFTER THAT WE WOULD HAVE TO
BRING IT BACK EVERY 500 MILES TO TOP THE OIL OFF IF NECESSARY.


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SYNTHETIC OIL IS ABOUT $8.00 A QUART. THIS JEEP IS UNDER WARRANTY BUT
THEY WOULDN'T FIX IT. AND WE WOULD OF HAD TO PAY FOR THE OIL TO TOP
IT OFF WITH TOO. THE DEALER WAS AWARE OF THIS PROBLEM WITH THESE
JEEPS. OUR DAUGHTER BOUGHT A JEEP WITH THE SAME ENGINE BUT SHE
HASN'T HAD A PROBLEM WITH HERS. WHEN WE TOLD THE DEALER THIS THEY
SAID THIS PROBLEM EXISTS ONLY WITH SOME OF THE ENGINES. WHY ISN'T
THERE A RECALL ON THESE! WHY ARE THEY EVEN SELLING THESE WHEN
THEY KNOW THERE'S A PROBLEM. SINCE THE MANUFACTURE WOULDN'T FIX
THE PROBLEM WE GOT RID OF THE JEEP.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2016




February 26, 2020 NHTSA ID NUMBER: 11311670
Components: ENGINE
NHTSA ID Number: 11311670
Incident Date February 26, 2020
Consumer Location CARLISLE, OH
Vehicle Identification Number 1C4PJLAB5HW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

TL* THE CONTACT OWNS A 2017 JEEP CHEROKEE SPORT. THE CONTACT
STATED THAT WHILE DRIVING 35 MPH, THE VEHICLE STALLED WITHOUT
WARNING. THE CONTACT STATED THAT THE FAILURE RECURRED 6 TIMES
WITHIN TEN DAYS. THE VEHICLE WAS TAKEN TO LEBANON CHRYSLER DODGE
JEEP RAM (518 W MAIN ST, LEBANON, OH 45038) WHERE THE CONTACT WAS
INFORMED TO DRIVE THE VEHICLE FOR 2000 MILES AND TO THEN HAVE THE
VEHICLE TESTED FOR OIL CONSUMPTION. THE CONTACT WAS INFORMED


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THAT DEPENDING ON THE RESULT, THE MANUFACTURER MAY CHOOSE TO
REPLACE THE ENGINE FREE OF CHARGE. THE OIL WAS TOPPED OF
HOWEVER, NO ADDITIONAL MECHANICAL REPAIRS WERE PERFORMED. THE
MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE APPROXIMATE FAILURE
MILEAGE WAS 40,732.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017




January 30, 2020 NHTSA ID NUMBER: 11306190
Components: ENGINE
NHTSA ID Number: 11306190
Incident Date January 2, 2020
Consumer Location SHAKOPEE, MN
Vehicle Identification Number 1C49JMCB1HW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

COMPLETELY SHUTS DOWN WHEN DRIVING WITH 30% OIL LIFE REMAINING
WITH NO WARNING. YOU LOOSE ALL POWER STEERING AND CONTROL.
1 Affected Product
Vehicle




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MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017




January 24, 2020 NHTSA ID NUMBER: 11301739
Components: ENGINE
NHTSA ID Number: 11301739
Incident Date January 13, 2020
Consumer Location SHOREWOOD, IL
Vehicle Identification Number 1C4PJMCB0HW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

I BOUGHT THIS VEHICLE BRAND NEW. SINCE ABOUT 30K I HAVE BEEN
COMPLAINING THAT IT IS RANDOMLY SHUTTING OFF WITHOUT WARNING,
REGARDLESS OF SPEED. NO ENGINE POWER, AND NO POWER STEERING. I
HAVE BEEN TOLD THIS IS A FAIL SAFE DUE TO LOW OIL. I HAVE FOLLOWED
THE FCA GUIDELINES AND DEALERS FOR OIL CHANGES AND CANT REALLY
MAKE BETWEEN CHANGES. I HAVE DONE MULTIPLE OIL CONSUMPTION TESTS
BETWEEN TWO DEALERS BC I AM TOLD IT DOESNT BURN ENOUGH FOR FCA
STANDARDS TO REPLACE THE ENGINE. I HAVE CALLED AFTER IT DIED OUT TO
ASK FOR A TOW IN AND HAVE BEEN DENIED AND TOLD IT JUST MEANS ITS
TIME FOR AN OIL CHANGE. I HAVE TO HAVE AN IGNITION COIL REPLACED ON
TWO SEPARATE INCIDENTS, REPROGRAMMING OF THE SHIFTER PCM, AND
REPLACED THE PCM. IT WASNT TILL MY LATEST INCIDENT THAT I RECORDED
IT AND POSTED THE VIDEO TO TWITTER THAT AN FCA REP REACHED OUT TO
ME TO “HELP”. I WAS TOLD I STILL NEED TO DO OIL TESTING BC I HAVE TO FAIL
3 IN A ROW FOR FURTHER TESTING REGARDLESS OF A HISTORY OF THE
PROBLEM CONTINUING AND NOT GETTING BETTER. 1ST TEST IT WAS ONLY
HALF A QUART. DIDNT EVEN MAKE IT TO THE 2ND BEFORE THE CAR SHOOK
VIOLENTLY, LOST POWER, WOULDN’T ACCELERATE AND I HAD TO BE TOWED
IN. 1ST WAS TOLD THE MULTIAIR ACTUATOR WENT OUT AND FCA AGREED TO
PAY FOR IT, AS IM AT 73K. THEN I HEAR NOTHING FROM ANYONE FOR 8 DAYS


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TILL I CALL THE DEALER AND IM TOLD THEY ARE WAITING ON SPARK PLUGS.
20MINS LATER THE FCA REP CALLS AND SAYS THE ENGINE NEEDS TO BE
REPLACED. THEY FOUND, METAL SHAVINGS INSIDE, SCORCHING, A PIECE OF
THE EXHAUST VALVE MISSING AND LOST INSIDE THE ENGINE. HOWEVER FCA
WILL ONLY PAY FOR 1500 LEAVING THE REST OF THE BILL TO ME FOR
SOMETHING THATS NOT MY FAULT AND AN ISSUE THEY CONTINUE TO
IGNORE. HAD THEY INVESTIGATED THE PROBLEM EARLIER REGARDLESS OF
THEIR OIL BURNING RULES THEY WOULD HAVE FOUND THE VALVE WAS
CRACKED. FCA SAYS THEY ARE NOT SAYING ITS MY FAULT BUT ARE HIDING
BEHIND THE WARRANTY.*DT*JB
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017



January 22, 2020 NHTSA ID NUMBER: 11301066
Components: ENGINE
NHTSA ID Number: 11301066
Incident Date June 1, 2019
Consumer Location MORTON GROVE, IL
Vehicle Identification Number 1C4PJLCB4HW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

VEHICLE CAN STOP ABRUPTLY DUE TO LOW OIL AS THIS ENGINE IMPROPERLY
BLOWS OIL OUT THE EXHAUST AT A VERY HIGH RATE.

OUR VEHICLE BLOWS OUT 1 QUART OF OIL EVERY 1,000 MILES.

THE DEALER HAS BEEN MONITERING THIS PROBLEM SINCE OCTOBER 2019
WHEN I FOUND THE OIL LEVEL WAS DOWN 2 QUARTS.

THE DEALER WILL NOT CORRECT THE PROBLEM OR ELEVATE THE PROBLEM


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TO THE MANUFACTURER. WE ARE LEFT WITH A LEMON. WE PURCHASED THIS
VEHICLE NEW FROM THE DEALER IT HAD 11 MILES AT PURCHASE.THIS
VEHICLE REQUIRES A VALVE REPAIR OR A NEW ENGINE.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017




January 19, 2020 NHTSA ID NUMBER: 11300273
Components: ENGINE, POWER TRAIN
NHTSA ID Number: 11300273
Incident Date January 18, 2020
Consumer Location WEST BOYLSTON, MA
Vehicle Identification Number 1C4PJMCBXHW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

ON JANUARY 18 2020 I WAS DRIVING AND AFTER ONLY A MILE FROM HOME,
COMING TO AN INTERSECTION YIELDING TO GO LEFT, MY CAR COMPLETELY
WITHOUT WARNING STALLED IN THE MIDDLE OF AN INTERSECTION. I TRIED TO
RE-START AND TOOK ABOUT 10 MINUETS GET IT TO RESTART. I WAS DRIVING
THE MILE HOME WHEN THEN I GOT A “OIL PRESSURE LOW LIGHT”. I DID AN OIL
CHANGE THAT AFTERNOON TO FIND MY CAR ONLY HAD 2 QUARTS OF OIL
REMAINING.

MY CAR IS BURNING OIL. I DO REGULAR OIL CHANGES. THERE ARE NO LEAKS.
I HAD NO WARNING FROM MY CAR THAT MY OIL WAS LOW. ALTHOUGH THE
FEATURE TO TURN OFF MY CAR WORKED PROPERLY IN THE EVENT OIL IS
LOW, MY CAR IS BURNING A LARGE AMOUNT OF OIL AND NOT GIVING ME A
LOW OIL WARNING BEFORE TURNING OFF MY CAR. THIS COULD HAVE BEEN


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MUCH WORSE AND HAPPENED ON THE HIGHWAY WHICH I GENERALLY
TRAVEL.

THESE MODEL CARS NEED TO BE FIXED FROM BURNING OIL AND DRIVERS
ALERTED TO WHEN THEIR OIL STARTS TO BECOME LOW, NOT JUST SHUT OFF
IN THE MIDDLE OF THE ROAD.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017




December 24, 2019 NHTSA ID NUMBER: 11291083
Components: ENGINE
NHTSA ID Number: 11291083
Incident Date January 12, 2019
Consumer Location HAMPSTEAD, MD
Vehicle Identification Number 1C4PJLCB4HW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY ENGINE CONSUMES OIL. I CANNOT EVEN REACH 2000 MILES BETWEEN OIL
CHANGES. MY CAR WILL JUST CUT OFF WHILE I AM DRIVING (AT ANY SPEED
INCLUDING HIGHWAY SPEEDS AND TURNS). WHEN THIS FIRST HAPPENED I
CHECKED THE OIL AND THE ENGINE WAS COMPLETELY EMPTY OF OIL. IT
DIDNT EVEN REGISTER ON THE DIPSTICK. I HAVE HAD OVER 6 OIL CHANGES
SINCE I BOUGHT MY CAR IN 01/2019 (LESS THAN A YEAR). I HAVE HAD OIL
CONSUMPTION TESTING COMPLETED AND EVERYTHING "COMES BACK IN
RANGE". THE ENGINE HAS BEEN INSPECTED AND NOTHING IS LEAKING OR
FAULTY. MY CAR TAKES FULL SYNTHETIC OIL WHICH SHOULD LAST WAY
LONGER THAN THAT. I AM AWARE THIS IS AN OVERALL ISSUE WITH 2017


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JEEPS OF ALL MODELS. THE SERVICE MANAGER AT THE DEALERSHIP DIDNT
SEEM LIKE HE KNOW MUCH OF ANYTHING AND TRIED TO TELL ME THAT THIS
WAS NORMAL. I HAVE NEVER HAD A VEHICLE THAT COMPLETELY DEPLETES
ITS OIL SUPPLY WITHIN 2000 MILES. HE THEN REFERRED ME TO MOPARS
CORPORATE LINE WHO THEN REFERRED ME TO NHTSA TO FILE A REPORT.
1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2017




December 21, 2019 NHTSA ID NUMBER: 11290486
Components: ENGINE
NHTSA ID Number: 11290486
Incident Date December 8, 2019
Consumer Location SELLERSBURG, IN
Vehicle Identification Number 1C4PJLAB5HW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

WHILE MAKING A RIGHT HAND TURN THE VEHICLE DIED. ATTEMPTS TO
RESTART WERE NOT SUCCESSFUL. VEHICLE WAS JUMPED AND STARTED. AT
THAT TIME THE DASH DISPLAYED "SHIFTER SERVICE NEEDED". SHIFTER WAS
REPLACED. THE DAY AFTER SHIFTER WAS REPLACED THE VEHICLE BEGAN
MAKING A DING NOISE (SIMILAR TO SEAT BELT DING) WHILE MAKING A TURN.
VEHICLE WAS TAKEN TO DEALERSHIP AND THEY SAID NOTHING WAS THE
MATTER WITH IT. TWO DAYS AFTER THAT WHILE MAKING A RIGHT HAND TURN
THE VEHICLE MADE A DING NOISE AND STALLED (VEHICLE WAS RUNNING BUT
WOULD NOT MOVE). VEHICLE WAS SHUT OFF AND WOULD NOT IMMEDIATELY
RESTART. VEHICLE RESTATED EVENTUALLY AND WAS TAKEN TO THE
DEALERSHIP AGAIN. AFTER THREE DAYS I WAS TOLD THIS IS DUE TO LOW OIL.


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THEY WERE NOT ABLE TO TELL ME HOW LOW MY OIL WAS BUT STATED IT
WOULD ONLY NEED TO BE A QUART LOW FOR THIS TO HAPPEN AND THAT
JEEP IS NOTORIOUS FOR THIS.
1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2017




December 11, 2019 NHTSA ID NUMBER: 11288450
Components: ENGINE
NHTSA ID Number: 11288450
Incident Date December 10, 2019
Consumer Location STOCKTON, CA
Vehicle Identification Number 1C4PJMABXHW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

I HAD JUST PULLED OUT OF MY DRIVEWAY IN THE MORNING AND HEADING
DOWN THE NEIGHBOORHOOD ROAD. ABOUT A HALF A MILE INTO MY DRIVE,
THE CAR FAILED TO ACCELERATE. THE CAR BEGAN TO COAST, I HAD LOST
ENGINE POWER. I TRIED TO TURN THE WHEEL AND IT WAS UNRESPONSIVE. I
LOOKED DOWN AT THE DASH AND IT WAS OUT. I WAS BARELY ABLE TO LIMP
THE CAR TO THE CURB. AFTER APPROXIMATELY TEN MINUTES I WAS FINALLY
ABLE TO TURN IT OVER AND START THE ENGINE.

MY ENGINE IS CONSUMING AN EXCESSIVE AMOUNT OF OIL BETWEEN OIL
CHANGES.
1 Affected Product
Vehicle


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MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017




December 10, 2019 NHTSA ID NUMBER: 11288141
Components: ENGINE
NHTSA ID Number: 11288141
Incident Date December 1, 2019
Consumer Location OTTAWA, IL
Vehicle Identification Number N/A

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

TL* THE CONTACT OWNS A 2017 JEEP CHEROKEE. WHILE DRIVING VARIOUS
SPEEDS, THE VEHICLE SUDDENLY STALLED. AFTER RESTARTING THE ENGINE,
THE CHECK ENGINE INDICATOR REMAINED ILLUMINATED. THE VEHICLE WAS
TAKEN TO AN UNKNOWN DEALER WHERE IT WAS DETERMINED THAT THE
ENGINE OIL WAS LOW AND THE ENGINE OPERATED NORMALLY. THE
MANUFACTURER WAS NOT NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE
WAS 52,000. THE VIN WAS UNKNOWN.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017




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November 27, 2019 NHTSA ID NUMBER: 11282625
Components: ENGINE
NHTSA ID Number: 11282625
Incident Date November 25, 2019
Consumer Location BROOKLYN, CT
Vehicle Identification Number 1C4PJMBBXHW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

ON TWO OCCASIONS THIS WEEK THE JEEP CHEROKEE UNEXPECTEDLY SHUT
OFF WHILE DRIVING. IT WAS STARTLING AND LOSS OF POWER STEERING AND
BRAKING LEFT IT DIFFICULT TO PULL OVER. UPON INQUIRY FROM A LOCAL
JEEP DEALER, THEY INDICATED IT IS NOT UNCOMMON FOR THIS TO HAPPEN
IF THE OIL IS LOW. THE OIL WAS IN FACT 3/4 QUART LOW AND WAS REMEDIED
HOWEVER THERE SHOULD BE A LIGHT THAT COMES ON NOT A SUDDEN AND
UNEXPECTED SHUT DOWN. THERE WAS NO INDICATION ON THE DASH
REGARDING LOW OIL. THIS IS DANGEROUS AND COULD POTENTIALLY BE
DEADLY.
1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2017




November 22, 2019 NHTSA ID NUMBER: 11281783
Components: ENGINE
NHTSA ID Number: 11281783
Incident Date November 21, 2019
Consumer Location MYRTLE BEACH, SC


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Vehicle Identification Number 1C4PJLAB1HW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

I WAS ACCELERATING FROM A STOPPED POSITION AT A STOP SIGN AND THE
CAR SHUT OF. I MANEUVERED OVER AS MUCH AS I COULD. WOULD NOT
RESTART. IT WAS TOWED TO THE DEALERSHIP WHERE IT WAS DISCOVERED
IT HAD NO OIL. IT HAD AN OIL CHANGE WITH IN THE LAST MONTH. IN THE TWO
YEARS I HAVE OWNED IT, IT HAS HAD TO BE TOWED FOR THIS 1-2 OTHER
TIMES AS IT RUNS OUT OF OIL AND SHUTS DOWN BEFORE THE
RECOMMENDED OIL CHANGE DATE OR MILEAGE. I WAS NEVER INFORMED TO
MONITOR THE OIL UNTIL RECENTLY. AFTER THE FIRST TIME THIS HAPPENED I
WAS TOLD TO GET THE OIL CHANGED AT 4000 MILES INSTEAD OF 5000 AND I
HAVE BEEN DOING THAT IT OR ADDING OIL IF I CANNOT GET IT RIGHT IN. IT
ALSO HAS NO WARNING THAT IT IS LOW ON OIL.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017




October 31, 2019 NHTSA ID NUMBER: 11277367
Components: ENGINE
NHTSA ID Number: 11277367
Incident Date February 28, 2018
Consumer Location LOUISVILLE, KY
Vehicle Identification Number 1C4PJLCB6HW****

Summary of Complaint


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CRASHNo

FIRENo

INJURIES0

DEATHS0

TL* THE CONTACT OWNS A 2017 JEEP CHEROKEE. THE CONTACT STATED
THAT THE SERVICE SHIFTER INDICATOR FLASHED INTERMITTENTLY ON THE
INSTRUMENT PANEL. THE CONTACT CALLED OXMOOR CHRYSLER DODGE
JEEP RAM (4520 SHELBYVILLE RD, LOUISVILLE, KY 40207, (502) 895-4520) AND
WAS INFORMED THAT THE VEHICLE WOULD LOSE POWER WHEN IT NEEDED
AN OIL CHANGE WHILE MAKING TURNS. THE DEALER STATED THAT WHEN THE
OIL WAS CHANGED, THE VEHICLE WOULD OPERATE NORMALLY. THE FAILURE
RECURRED AND THE DEALER STATED THAT THE OIL CHANGES NEEDED TO BE
MORE FREQUENT, SUCH AS EVERY 2,000 TO 2,500 MILES. THE
MANUFACTURER ADVISED THE CONTACT TO CALL NHTSA TO INQUIRE ABOUT
POTENTIAL RECALLS. THE FAILURE MILEAGE WAS 7,000.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2017



October 18, 2019 NHTSA ID NUMBER: 11269382
Components: ENGINE
NHTSA ID Number: 11269382
Incident Date October 10, 2019
Consumer Location MORTON GROVE, IL
Vehicle Identification Number 1C4PJLCB4HW****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY CAR HAS THE 2.4 L ENGINE. IT HAS BEEN BURNING OFF A LOT OF OIL. THE
DEALER CHANGED THE OIL AT 12,200 MILES ON APRIL 2, 2019. WE CHECKED
THE OIL LEVEL LAST WEEK AND IT WAS LOW BY 2 QUARTS. WE TOOK IT BACK

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TO DEALER AND THE CHANGED OIL AND STARTED A OIL CONSUMPTION TEST.
WE ARE BOTH RETIRED AND DRIVE ONLY ABOUT 6,000 MILES PER YEAR.

WE PURCHASED THE JEEP NEW IN MARCH 2017 WITH 11 MILES

AT 5500 MILES IN NOVEMBER 2017 WE ALSO HAD A "OIL LEAK" SYMPTOMS.

GOOGLE THIS PROBLEM ON THE INTERNET REVEALS MANY CUSTOMERS OF
THIS 2.4L JEEP AND CHRYSLER ENGINE HAVE PROBLEMS OF OIL " BLOWING
OUT" .

THE DEALER SAID NO "LOW OIL " LIGHT WILL WARN YOU OF LOW OIL
PROBLEM.

THEY SAID THE CAR WILL STOP RUNNING WHILE DRIVING.

I FIND THIS RESULT TO BE UNSAFE AND UNACCEPTABLE.

WHAT IS THE NHTSA DOING ABOUT THIS COMMON PROBLEM?
1 Affected Product
Vehicle

MAKE                   MODEL                              YEAR




JEEP                   CHEROKEE                           2017




April 7, 2020 NHTSA ID NUMBER: 11320401
Components: ENGINE
NHTSA ID Number: 11320401
Incident Date July 1, 2019
Consumer Location BOSTON, MA
Vehicle Identification Number 1C4PJMLB1JD****

Summary of Complaint
CRASHNo

FIRENo




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INJURIES0

DEATHS0

TL* THE CONTACT LEASED A 2018 JEEP CHEROKEE LATITUDE. THE CONTACT
STATED THAT WHILE DRIVING AT VARIOUS SPEEDS, THE VEHICLE STALLED
WITH AN UNKNOWN WARNING LIGHT ILLUMINATED. THE VEHICLE OPERATED
AS INTENDED AFTER THE VEHICLE WAS RESTARTED. THE VEHICLE WAS
TAKEN TO QUIRK CHRYSLER DODGE JEEP RAM OF DORCHESTER (40 HALLET
ST, BOSTON, MA 02124) WHERE THE GEAR SHIFTER BEZEL WAS REPLACED
HOWEVER, THE FAILURE RECURRED SOON AFTER THE REPAIR. THE VEHICLE
WAS TAKEN BACK TO THE SAME DEALER WHERE A 40 POINT INSPECTION WAS
PERFORMED. THE CONTACT WAS INFORMED THAT THE FAILURE WAS LINKED
TO A LOW OIL PRESSURE. THE DEALER INFORMED THE CONTACT TO
MONITOR THE OIL AND TO RETURN ONCE THE VEHICLE HAD ACCUMULATED
AN ADDITIONAL 1,000 MILES. THE CONTACT BROUGHT THE VEHICLE BACK ON
TWO SEPARATE OCCASIONS AFTER DRIVING 1,000 MILES HOWEVER, THE
FAILURE PERSISTED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE
AND A CASE WAS FILED. THE VEHICLE WAS NOT REPAIRED. THE FAILURE
MILEAGE WAS 17,844.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2018




March 12, 2020 NHTSA ID NUMBER: 11317753
Components: ENGINE
NHTSA ID Number: 11317753
Incident Date February 1, 2019
Consumer Location PHOENIX, AZ
Vehicle Identification Number 1C4PJLLB7JD****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0



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DEATHS0

MY CAR COMPLETELY RUNS OUT OF OIL BETWEEN OIL CHANGES. WHAT THIS
THEN DOES, IS CAUSE THE LIMP MODE TO COME ON AND STALL MY VEHICLE.
THIS HAPPENED IN INTERSECTIONS, AND ON THE HIGHWAY, BEFORE I
MYSELF FIGURED OUT MY CAR HAD NO OIL. MY ENGINE WAS MISFIRING. I HAD
LESS THAN A QUART. I HAD ENGINE CODES BEING THROWN NONE HAD
ANYTHING TO DO WITH OIL. NO OIL LIGHT ON. NOTHING. I DEDUCED MYSELF
ONLINE THAT I NEEDED TO CHECK MY OIL LEVEL, THOUGH I WAS STILL ONE
WEEK OUT FROM NEEDING AN OIL CHANGE PER THE VEHICLE SPECS (THE OIL
CHANGE NOTIFICATION FROM THE VEHICLE ALSO HAD NOT COME ON YET).
SURE ENOUGH, DIPSTICK WAS BONE DRY. I HAD IT RECTIFIED. I HAD IT
VERIFIED THAT I HAVE NO OIL LEAK. AND EVERY TIME I AM ALMOST DUE FOR
AN OIL CHANGE MY VEHICLE STALLS. ANY AND EVERY WHERE. AND THEN I GO
GET AN OIL CHANGE WITH MORE OIL. ALL OVER MESSAGE BOARDS, THIS
HAPPENS TO PEOPLE. 2017'S HAD A RECALL FOR THIS. 2019'S HAD A RECALL
FOR THIS. WHY IN GOD'S NAME HAS 2018 NOT BEEN RECALLED OVER THIS.
IT'S UNACCEPTABLE. IT'S DANGEROUS. I WAS ALMOST HIT HEAD ON. THIS HAS
HAPPENED EVERY 3K MILES FOR THE PAST TWO YEARS. IT'S UNACCEPTABLE
AND UNSAFE.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2018




February 24, 2020 NHTSA ID NUMBER: 11311135
Components: ENGINE
NHTSA ID Number: 11311135
Incident Date February 4, 2020
Consumer Location MANCHESTER, MA
Vehicle Identification Number 1C4PJMLB4JD****

Summary of Complaint
CRASHNo

FIRENo




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INJURIES0

DEATHS0

THE ENGINE BURNS THROUGH ALL OF THE OIL IN ABOUT 1500 MILES OF
DRIVING. OIL HAS TO BE FILLED IN BETWEEN OIL CHANGES OR ENGINE WILL
STOP WITH NO WARNING OR OIL LIGHT... ENGINE STOPS WHILE MOVING
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2018




February 17, 2020 NHTSA ID NUMBER: 11309608
Components: ENGINE
NHTSA ID Number: 11309608
Incident Date December 9, 2019
Consumer Location DALLAS, GA
Vehicle Identification Number 1C4PJLLB4JD****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY 2018 JEEP CHEROKEE LATITUDE PLUS SHUT OFF WHILE DRIVING. THE
FIRST TIME (12/8/2019 @ 1200 HRS) I WAS PULLING UP TO A STOP SIGN AND IT
JUST SHUT OFF. NO DASH INDICATOR WARNING LIGHTS AND IT HAD PLENTY
OF FUEL. THE SECOND TIME (12/9/2019 @ APPRX 1600 HRS)I WAS TURNING
LEFT ONTO A VERY BUSY CITY STREET AND IT SHUT OFF. I WAS ABLE TO
COAST TO THE SIDE OF THE ROAD SO I WOULDN'T GET HIT. AGAIN NO
WARNINGS AT ALL. AFTER APPRX 10 MINUTES CAR WAS ABLE TO RESTART.
DROVE STRAIGHT TO DALLAS DODGE(APPRX 23 MILES.) THEY SAID IT WAS
LOW ON OIL. SHOULD ADD OIL OR GET OIL CHANGE. BUT SINCE THEY WERE
CLOSING THEY DID NOT HAVE ANYONE WHO COULD HELP. ALSO SAID AN OIL
CONSUMPTION TEST NEEDED TO BE DONE, BUT THEY COULD NOT PERFORM


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IT. OIL CHANGE PLACES WERE CLOSED. I DROVE TO AUTO ZONE AND
PURCHASED A 5 QT BOTTLE OF SYNTHETIC OIL. ADDED 3 QTS. TO FILL. 16-DEC
TOOK CAR TO APPOINTMENT @ ED VOYLES. THEY HAD TO ADD 1.5 QTS OF
OIL. SAID TO BRING IT BACK IN 1000 MILES OR IF OIL GOT LOW BEFORE THAT,
BRING IT IN SO THEY CAN MEASURE IT AND DOCUMENT AMOUNT OF TIME AND
MILEAGE.

4-JAN 2ND OIL CONSUMPTION TEST AT ED VOYLES. THEY HAD TO ADD 1 QT.
SAID TO COME BACK IN 1000 MILES

1/15/2020 3RD OIL CONSUMPTION TEST. REQUIRED 2 QUARTS TO BE ADDED.
SERVICE DEPT SAID ENGINE NEEDS TO BE REPLACED. THEY WILL CALL
CHRYSLER/JEEP WARRANTY TO ORDER NEW ENGINE. HOWEVER, THEY SAID
THEY WILL NOT PROVIDE A COURTESY VEHICLE I WILL HAVE TO RENT ONE.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2018




January 6, 2020 NHTSA ID NUMBER: 11297300
Components: ENGINE
NHTSA ID Number: 11297300
Incident Date November 1, 2019
Consumer Location ORISKANY, NY
Vehicle Identification Number 1C4PJMCB7JD****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

TL* THE CONTACT OWNS A 2018 JEEP CHEROKEE. WHILE DRIVING
APPROXIMATELY 10 MPH, THE VEHICLE SUDDENLY STALLED WITHOUT


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WARNING. AFTER A FEW ATTEMPTS, THE CONTACT WAS ABLE TO RESTART
THE VEHICLE; HOWEVER, IT STALLED INTERMITTENTLY WHILE DRIVING TO A
SAFER LOCATION. THE CONTACT STATED THAT THE FAILURE OCCURRED A
TOTAL OF THREE TIMES. THE CONTACT CALLED FUCCILLO DODGE CHRYSLER
JEEP (LOCATED AT 10329 US RT 11, ADAMS, NY 13605, 844-353-7100) AND WAS
INFORMED THAT THE VEHICLE TENDED TO BURN MORE OIL THAN
NECESSARY, WHICH CAUSED IT TO SHUT OFF. THE DEALER ALSO INFORMED
THE CONTACT THAT THERE WAS NOTHING TO INFORM THEM OF LOW OIL
BEFORE THE FAILURE OCCURRED. THE VEHICLE WAS NOT REPAIRED. THE
MANUFACTURER WAS MADE AWARE OF THE FAILURES AND REFERRED THE
CONTACT BACK TO THE DEALER. THE APPROXIMATE FAILURE MILEAGE WAS
26,000.
1 Affected Product
Vehicle

MAKE                  MODEL                               YEAR




JEEP                  CHEROKEE                            2018




December 20, 2019 NHTSA ID NUMBER: 11290266
Components: ENGINE
NHTSA ID Number: 11290266
Incident Date October 4, 2019
Consumer Location LIVINGSTON, TN
Vehicle Identification Number 1C4PJMCB6JD****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MAKING A RIGHT TURN, ENGINE SHUT OFF NO POWER, LIGHTS STATED I MUST
BE IN PARK TO SHIFT WARNING LIGHTS. THE JEEP WOULD NOT START. I HAD
EXPERIENCED NO PRIOR ISSUES BEFORE THIS HAPPENED. I CALLED MY
HUSBAND WHO ARRIVED AND DROVE IT HOME. I CALLED THE DEALERSHIP


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AND THEY BASICALLY TOLD ME THIS WAS A KNOWN ISSUE WITH THIS MOTOR
AND TO CHECK THE OIL. UPON CHECKING THE OIL THERE WAS VERY LITTLE
ON THE DIPSTICK. ONCE AGAIN I CONTACTED THE DEALERSHIP AND WAS
TOLD I BASICALLY NEED TO KEEP A CHECK ON THE OIL. THIS IS A SAFETY
HAZARD!
1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2018




December 9, 2019 NHTSA ID NUMBER: 11287916
Components: ENGINE
NHTSA ID Number: 11287916
Incident Date December 9, 2019
Consumer Location ATASCOCITA, TX
Vehicle Identification Number 1C4PJLLB8JD****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

THE 2018 JEEP CHEROKEE LATITUDE CONSUMES OIL AND HAS A MECHANISM
WHERE IF THE CAR IS LOW ON OIL IT WILL JUST SHUT OFF WHEN DRIVING.
THIS IS A SERIOUS SAFETY HAZARD AS THE CAR GIVES NO WARNING IT IS
LOW ON OIL. SOMEONE IS GOING TO GET KILLED ONE DAY WHEN THESE CARS
JUST SHUT OFF IN THE MIDDLE OF DRIVING.*DT

CONSUMER STATED THE FIRST OF ROUGHLY 15 OCCURRENCES OCCURRED
AT 31K MILES. THE MOST RECENT HAPPENED AT 41,100 MILES. USUALLY
WHILE TRAVELING 25-35 MPH AND USUALLY HAPPENS 2K-3K MILES FROM
LAST OIL CHANGED. THERE IS NO WARNING LIGHTS ON DASH OR ALARMS
CAR JUST LITERALLY DIES. .*JB


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1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2018




November 18, 2019 NHTSA ID NUMBER: 11280871
Components: ENGINE
NHTSA ID Number: 11280871
Incident Date November 15, 2019
Consumer Location ROUND LAKE, IL
Vehicle Identification Number 1C4PJMLB0JD****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

MY 2018 JEEP CHEROKEE LATITUDE HAS BEEN STALLING DUE TO HIGH OIL
CONSUMPTION (PER THE DEALER). THE STALLS HAPPEN WHILE DRIVING
WHEN BRAKING OR MAKING TURNS. THERE IS NO WARNING, THE ENGINE
JUST SHUTS OFF, WITH LOSS OF POWER STEERING. WHEN THIS OCCURS,
NEED TO COME TO A COMPLETE STOP, PUT THE VEHICLE IN PARK AND WAIT A
COUPLE MINUTES. AS YOU CAN IMAGINE, THIS IS EXTREMELY DANGEROUS AS
IT HAS HAPPENED ON THE HIGHWAY AND IN CITY DRIVING. IN TWO
SCENARIOS, I WAS ALMOST REAR ENDED AND IN ANOTHER, I STALLED IN THE
MIDDLE OF A BUSY INTERSECTION.

I'VE TAKEN THE JEEP TO MY DEALERSHIP WHO TELLS ME THAT THIS IS A
KNOWN ISSUE AND THEY CAN'T DO ANYTHING ABOUT IT. THEY SUGGESTED I
DO AN "OIL CONSUMPTION TEST" TO SEE IF THE ENGINE IS PERFORMING AS
DESIGNED, WHICH ENTAILS ME BRINGING THE VEHICLE TO THE DEALERSHIP
EVERY 1,000 MILES TO CHECK OIL LEVELS (EXTREMELY INCONVENIENT). I'VE
ALSO OPENED A CASE WITH CHRYSLER/FIAT WHO SAYS I NEED TO COMPLETE
THE CONSUMPTION TEST BEFORE THEY CAN MAKE ANY DETERMINATION.


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I'VE RESEARCHED THIS ISSUE AND THERE ARE HUNDREDS OF JEEP OWNERS
COMPLAINING OF THE SAME ISSUE. CHRYSLER/FIAT NEEDS TO DO
SOMETHING ABOUT THIS ISSUE AS IT IS EXTREMELY DANGEROUS.

PLEASE LET ME KNOW IF THERE IS ANY ADDITIONAL INFORMATION NEEDED.
1 Affected Product
Vehicle

MAKE                 MODEL                                YEAR




JEEP                 CHEROKEE                             2018




November 25, 2019 NHTSA ID NUMBER: 11282329
Components: ENGINE
NHTSA ID Number: 11282329
Incident Date November 16, 2018
Consumer Location VILLA RICA, GA
Vehicle Identification Number 1C4PJLCB0JD****

Summary of Complaint
CRASHNo

FIRENo

INJURIES0

DEATHS0

EVER SINCE I PURCHASED THE VEHICLE I CAN NOT GO MORE THAN 3,000
MILES AFTER AN OIL CHANGE WITHOUT THE VEHICLE SHUTTING OFF ON MY
AND BEING BONE DRY ON OIL ON THE DIP STICK. I KEEP BEING TOLD THIS
PARTICULAR MODEL JUST BURNS A LITTLE EXTRA OIL BUT THERE IS
SOMETHING WRONG. IT IS SHUTTING OFF ON ME IN THE MIDDLE OF
HIGHWAYS WHILE I’M DRIVING AND IS VERY UNSAFE. I HAVE TWO SMALL
CHILDREN AND DO NOT TRUST TO PUT THEM IN THIS CAR.
1 Affected Product
Vehicle


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 MAKE                   MODEL                              YEAR




 JEEP                   CHEROKEE                           2018




 April 2, 2020 NHTSA ID NUMBER: 11320034
 Components: ENGINE, UNKNOWN OR OTHER
 NHTSA ID Number: 11320034
 Incident Date April 1, 2020
 Consumer Location LA MIRADA, CA
 Vehicle Identification Number 1C4PJLCB2KD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 EVERY TIME I DON'T GET AN OIL CHANGE RIGHT AWAY, MY CAR WILL STALL IN
 THE MIDDLE OF THE ROAD AT RANDOM TIMES WITH NO WARNING. I HAVE
 BEEN WITH MY TWO YOUNG CHILDREN IN THE CAR WHEN THIS HAS
 HAPPENED SEVERAL TIMES, IT'S EXTREMELY UNSAFE AND I AM SO TIRED OF
 THIS ISSUE. I'VE SPOKE WITH THE DEALERSHIP AND THEY SAID ALL JEEP
 CHEROKEE'S ARE LIKE THIS, AS IF IT IS NORMAL. WE ARE LUCKY WE HAVEN'T
 GOTTEN INTO A CRASH DUE TO THIS. THIS IS JUST RIDICULOUS AND I'M
 LOOKING INTO DOING A BUY BACK FOR THIS CAR. CAN'T TRUST JEEP NOW.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                              YEAR




 JEEP                   CHEROKEE                           2019




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 February 17, 2020 NHTSA ID NUMBER: 11309750
 Components: ENGINE
 NHTSA ID Number: 11309750
 Incident Date February 15, 2020
 Consumer Location PINEWOOD, SC
 Vehicle Identification Number 1C4PJLCB6KD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THERE WERE SEVERAL INCIDENTS OF THE FOLLOWING HAPPEN: CAR STARTS
 FINE, I DRIVE FOR A FEW MINUTES AND THE CAR JUST SHUTS OFF AND JUST
 STOPS ALL OF A SUDDEN. SO I WAIT AND TRY TURNING IT BACK ON. THANK
 GOODNESS IT WASN'T ON A HIGHWAY. SOMETIME IT RE-STARTS THE 1ST TIME
 BUT SOMETIMES IT TAKES A FEW TRIES. FIRST TIME THIS STARTED
 HAPPENING (NOV. 2019), THE DEALER SAID IT NEEDED OIL CHANGE BUT IT
 WAS ONLY AT AROUND 40% OIL LIFE. THEY TOLD ME IT WAS "BONE DRY." IT
 WAS FINE AFTER OIL CHANGE. NOW (FEB 2020) DASHBOARD STILL HAS THE
 OIL LIFE AS 48% AND IT'S ONLY BEEN 4000 MILES OR SO SINCE LAST OIL
 CHANGE. DEALER WILL PROBABLY TELL ME AGAIN THAT IT NEEDS AN OIL
 CHANGE BUT IT'S VERY STRANGE A NEW CAR (2019 JEEP CHEROKEE MODEL)
 WILL BURN THROUGH ITS OIL IN JUST 4000 MILES. IT'S VERY CONCERNING
 THE CAR JUST SHUTS OFF/TURNS OFF ALL OF A SUDDEN WITHOUT ANY
 WARNING. AND IF IT DOES BURN THROUGH ITS SYNTHETIC ENGINE OIL IN
 JUST 4000 MILES IT SEEMS THERE IS SOMETHING REALLY WRONG. ALSO, I
 DON'T KNOW IF THIS CORRELATES WITH THE PROBLEM BUT WHEN I MAKE A
 TURN I HEAR A "BING" SOUND WHICH MAKES ME LOOK AT THE DASHBOARD
 TO SEE IF A LIGHT CAME ON BUT THERE IS NOTHING THERE. THIS HAPPENED
 WHEN THE PROBLEM STARTED HAPPENING AND I'M HEARING IT AGAIN THIS
 TIME AROUND. I HAD THIS PROBLEM HAPPEN TO ME 6-7 TIMES (SOMETIMES 2
 TIMES IN 1 DAY) IN THE LAST 4 DAYS. THIS HAS ME SCARED TO DRIVE MY CAR
 AROUND. I WAS RESEARCHING ONLINE AND I SAW OTHERS ARE HAVING
 SIMILAR PROBLEM SO I THOUGH I WOULD REPORT THIS TOO.
 HTTPS://WWW.CARGURUS.COM/CARS/DISCUSSION-T77885_DS986042
 1 Affected Product
 Vehicle




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 MAKE                  MODEL                               YEAR




 JEEP                  CHEROKEE                            2019




 February 3, 2020 NHTSA ID NUMBER: 11306656
 Components: ENGINE
 NHTSA ID Number: 11306656
 Incident Date November 19, 2018
 Consumer Location STOW, OH
 Vehicle Identification Number 1C4PJMLB3KD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 2019 JEEP STALLS WHEN DRIVING WHEN OIL IS APPROX 2 QUARTS LOW,
 THERE ARE NO WARNING LIGHTS OR ANY INDICATION THAT OIL IS LOW.
 DEALERSHIP SAYS THIS IS COMMON ON THIS TYPE OF ENGINE AS IT BURNS
 OIL QUICKLY.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  CHEROKEE                            2019




 January 27, 2020 NHTSA ID NUMBER: 11302169
 Components: ENGINE

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 NHTSA ID Number: 11302169
 Incident Date January 23, 2020
 Consumer Location MONROE, NJ
 Vehicle Identification Number 1C4PJMLB4KD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 JEEP ONLY HAS 30000 MILES. BOUGHT BRAND NEW. CAR RECENTLY STARTED
 STALLING WHEN SLOWING DOWN. APPARENTLY JEEP DESIGNED THE ENGINE
 TO STALL WITH LOW OIL. TOOK CAR TO DEALERSHIP AND THEY SAID THIS IS A
 KNOWN ISSUE AND THAT THE 4 CYLINDER JEEP CONSUMES MORE OIL AND AN
 OIL CHANGE WILL NEED TO BE EVERY 3000 MILES ON A BRAND NEW CAR.
 THERE IS A LARGE AMOUNT OF SIMILAR COMPLAINTS FROM OTHER PEOPLE
 ONLINE AND EVENTUALLY LEADS TO AN ENGINE REPLACEMENT. NOT ONLY IS
 THE OIL CONSUMPTION OUTRAGEOUS FOR A NEW CAR BUT THE STALLING IS
 COMPLETELY UNSAFE AS WE HAVE AN 11 MONTH OLD.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  CHEROKEE                            2019




 January 6, 2020 NHTSA ID NUMBER: 11297282
 Components: ENGINE
 NHTSA ID Number: 11297282
 Incident Date December 19, 2019
 Consumer Location TUCSON, AZ
 Vehicle Identification Number 1C4PJLLB4KD****




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 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ON DEC 19TH OF 2019 I WAS LEAVING WORK WHEN I MADE A RIGHT TURN
 DURING BUSY TRAFFIC WHEN MY 2019 JEEP CHEROKEE SUDDENLY STALLED
 ON ME. I HAD TO PULL OVER AND RESTART THE CAR. THE CAR DID TURN
 BACK ON. AFTER SPEAKING WITH MY LOCAL DEALER, THEY TOLD ME THAT
 THE CAR WAS ALMOST OUT OF OIL HOWEVER NO LIGHT WAS ON THEN OR AT
 THE TIME OF THE STALL. I WAS INFORMED THIS IS A “SAFETY” FEATURE TO
 PREVENT THE ENGINE FROM HURTING ITSELF IF THE OIL GETS TOO LOW. AN
 OIL CONSUMPTION TEST WAS STARTED. THE CAR ONLY HAD 12590 MILES AT
 THE TIME OF THE INCIDENT. THIS IS ALSO THE SECOND OIL TEST THAT HAS
 BEEN DONE THE FIRST ONE WAS DONE BACK IN MAY OF 2019 WHEN THE CAR
 WAS AT AROUND 6000 MILES.
 1 Affected Product
 Vehicle

 MAKE                 MODEL                                YEAR




 JEEP                 CHEROKEE                             2019




 November 25, 2019 NHTSA ID NUMBER: 11282251
 Components: ENGINE
 NHTSA ID Number: 11282251
 Incident Date November 24, 2019
 Consumer Location WADSWORTH, OH
 Vehicle Identification Number 1C4PJMLB4KD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0




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 DEATHS0

 TL* THE CONTACT OWNS A 2019 JEEP CHEROKEE. WHILE DRIVING
 APPROXIMATELY 15 MPH, THE VEHICLE STALLED, LOST BRAKING AND
 STEERING ABILITY, AND THE BATTERY WARNING INDICATOR ILLUMINATED.
 THE CONTACT WAIT A FEW SECONDS AND THE VEHICLE RESTARTED
 NORMALLY. THE CONTACT STATED THAT THE FAILURES OCCURRED FIVE
 OTHER TIMES. THE VEHICLE WAS TAKEN TO MEDINA CHRYSLER JEEP (3205
 MEDINA RD, MEDINA, OH 44256) WHERE IT WAS DETERMINED THAT IT WAS
 NORMAL FOR THE VEHICLE TO CONSUME AN EXCESSIVE AMOUNT OF OIL. THE
 DEALER FURTHER STATED THAT IF THE OWNER DID NOT KEEP TRACK OF THE
 OIL CONSUMPTION, "IT WAS NORMAL FOR THE ENGINE TO SEIZE". THE
 VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
 FAILURE. THE CONTACT WAS ADVISED TO READ THE OWNER'S MANUAL ON
 HOW TO MAINTAIN OIL CONSUMPTION FOR THAT TYPE OF ENGINE. THE
 APPROXIMATE FAILURE MILEAGE WAS 29,995.
 1 Affected Product
 Vehicle

 MAKE                 MODEL                                YEAR




 JEEP                 CHEROKEE                             2019




 November 19, 2019 NHTSA ID NUMBER: 11281066
 Components: ENGINE
 NHTSA ID Number: 11281066
 Incident Date November 19, 2019
 Consumer Location JAMAICA, NY
 Vehicle Identification Number 1C4PJMLB4KD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 I GOT THE VEHICLE AT 5 MILES. THE DEALER TOLD ME THE OIL CHANGE IS
 EVER 5K MILES. I DECIDED TO MAKE A SMALL TRIP TO CANADA, SO BEFORE
 HEADING THERE I CHECK THE FLUIDS. ( JUST IN CASE) AND NOTICE THE
 DIPSTICK ON THE OIL IS 75% AND I CHECK THE OIL LIFE DASHBOARD AND IT
 STATES IS AT 85% OIL LIFE. I ASSUME IT WILL BE FINE AND MAKE THE TRIP
 AROUND 1500 MILES ROUND TRIP TOTAL. I DIDNT CHECK THE FLUIDS COMING
 BACK TO THE CITY TILL LIKE 2 MONTHS AFTER SINCE I USE THE CAR ONLY
 FOR COMMUTING AND GROCERY SHOPPING. I WAS NEARING 5K MILES AND
 THE I CHECK THE ENGINE AGAIN (BEEN OFF FOR ACTUALLY COUPLE OF DAYS)
 AND THE OIL LEVEL ON THE DIPSTICK IS ROCK BOTTOM. SO I ADD 1 QUART OF
 THE MANUFACTURER'S STATED OIL AND CONTINUE DRIVING IT TILL IT HITS 5K.
 I TAKE IT TO THE DEALER THEY DO A QUICK OIL CHANGE AND THEYR
 SUPPOSED USUAL INSPECTION AND SAY EVERYTHING IS FINE. OIL CHANGE IS
 FINISHED AND THEY PUT A NEW STICKER AT 10005K MILES EXACTLY 5K MILES
 MANUFACTURER RECOMMENDS OIL CHANGE. I CONTINUE DRIVING IT AND
 SLOWLY RACK UP 2K MILES AND CHECK THE OIL LEVEL WHICH HAS GONE
 CONSIDERABLY FROM FULL TO HALF DIPSTICK. KEEP IN MIND IT WAS A COLD
 OIL INSPECTION AND THE VEHICLE HAS BEEN OFF FOR MORE THAN 5 HOURS.
 I DRIVE IT AGAIN 1K MILES MORE AND THE DARN OIL LEVEL DROPS TO 25% OF
 DIPSTICK. EVEN MADE A FACEBOOK POST IN A JEEP PAGE AND THE
 MECHANIC ADMITTED THAT THESE 2.4L ARE OIL BURNERS AND THAT NO NEW
 VEHICLE SHOULD BE CONSUMING OIL LIKE THAT. I TAKE IT TO DEALER ASAP
 AND THEY TELL ME EVERY OIL CHANGE IS 3K MILES NOT THE 5K MILES AND
 WRITE ON MY VISIT PAPER I TOOK THE VEHICLE LATE FOR OIL CHANGE. I'M
 WRITING THIS AT ALMOST 8500 MILES AND JUST TOOK A PICTURE AND VIDEO
 OF INSPECTION.THE DIPSTICK HAS GONE DOWN AT LEAST 10% DOWN .. ALSO
 HAD A VEHICLE SHUT DOWN BEFORE OIL CHANGE THAT'S WHY I ADDED THE
 QUART OF OIL BEFORE THE 5K MILES.


 October 29, 2019 NHTSA ID NUMBER: 11276989
 Components: ENGINE
 NHTSA ID Number: 11276989
 Incident Date December 9, 2018
 Consumer Location DUMONT, NJ
 Vehicle Identification Number 1C4PJMLB6KD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 2019 JEEP CHEEROKEE ENGINE KEEPS LOSING OIL I ONLY HAVE 6723 MILES
 ON JEEP IT TOTALLY TURNED OFF ON ME WHILE DRIVING THERE WAS NO
 INDICATION AT ALL THAT THE JEEP NEEDED OIL IT WAS 5 MONTHS OLD AND
 HAD TO ADD 3 QUARTS OF OIL TO IT SINCE THEN I HAVE HAD TO ADD AT
 LEAST A QUART OF OIL EVERY OTHER MONTH THIS SHOULD NOT HAPPEN ON
 A NEW VEHICLE RIGHT NOW I DO NOT FEEL SAFE DRIVING THE CHEEROKEE
 BECAUSE YOU DON'T KNOW IF IT WILL TURN OFF SPOKE TO THE DEALER
 THEY SAID IT SEEMS TO BE AN ISSUE WITH THAT ENGINE BUT THERE IS NO
 RECALL ON IT OR NOTHING THEY CAN DO SO I SHOULD KEEP OIL IN THE JEEP
 TO HAVE IF IT HAPPENS AGAIN. THIS IS NOT A ACCEPTABLE ANSWER
 ESPECIALLY SINCE IT CAN TURN OFF AT ANYTIME WITH OUT WARNING THIS
 NEEDS TO BE FIXED.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  CHEROKEE                            2019




 September 24, 2019 NHTSA ID NUMBER: 11257881
 Components: ENGINE
 NHTSA ID Number: 11257881
 Incident Date September 11, 2019
 Consumer Location SOUTH HOLLAND, IL
 Vehicle Identification Number 1C4PJLLB9KD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 WHEN DRIVING MY CAR, THE CAR HESITATES AS I TURN CORNERS, THE CAR
 SHAKES WHEN YOU START IT UP AND MOST IMPORTANTLY THE CAR CUT OFF
 WHILE I WAS DRIVING ALONG A BUSY STREET. I WAS IN RUSH HOUR TRAFFIC
 AND WAS ALMOST REAR ENDED BECAUSE OF IT. THIS SAME ISSUE HAPPENED


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 IN EITHER OCTOBER OR NOVEMBER. I MADE AN APPOINTMENT, I SPOKE TO
 THE PERSON AT THE DEALERSHIP AND THEY TOLD ME I PROBABLY NEEDED
 AN OIL CHANGE. I GOOGLED THE VEHICLE AND FOUND THERE WAS A RECALL
 THAT WOULD CAUSE THE SAME PROBLEMS I WAS HAVING. I PRESENTED TO
 THE DEALER THEY SAID THEY DIDN’T KNOW ABOUT IT BUT IT WAS
 SUPPOSEDLY RESOLVED. ALMOST ONE YEAR LATER I’M HAVING THE SAME
 ISSUE. IT’S DANGEROUS. I SPOKE WITH THE DEALERSHIP AND THEY SAID THE
 ENGINE WAS DESIGNED TO CUT OFF TO PROTECT THE ENGINE IF THE OIL IS
 LOW. THE ENGINE IN THESE CARS ARE A 2.4 TIGER SHARK ENGINE. THE
 DEALER REPLACED IT WITH A 2.4 MULTI-AIR ENGINE, POWER THE DEALER
 THIS SHOULD SOLVE THE PROBLEM OF THE ENGINE BURNING AN AN
 EXCESSIVE AMOUNT OF OIL. BOTH 2.4 ENGINES ARE DESIGNED TO SHUT OFF
 IF THERE IS A LOW AMOUNT OF OIL. THAT IS A SAFETY ISSUE THAT A CAR
 WOULD SHUT OFF IN THE MIDDLE OF DRIVING TO PROTECT ITSELF BUT THAT
 DOESN'T PROTECT THE DRIVER/PASSENGERS IT ACTUALLY PUTS THEM IN
 HARMS WAY.*DT *AS
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  CHEROKEE                            2019




 August 29, 2019 NHTSA ID NUMBER: 11252239
 Components: ENGINE
 NHTSA ID Number: 11252239
 Incident Date August 1, 2019
 Consumer Location VENTURA, CA
 Vehicle Identification Number ZACCJADT3FP****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 EXCESSIVE OIL CONSUMPTION . 30000 MILES IN THE ENGINE AND IT GOES
 THROUGH OIL MORE OFTEN THAN THE RECOMMENDED OIL CHANGES. MAJOR
 ACCIDENT ISSUE, CAUSED BY ENGINE STALLINGS DUE TO UNEXPECTEDLY
 LOW OIL. ENGINE STALLED WHILE DRIVING 65MPH ON THE FREEWAY
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  RENEGADE                            2015




 October 1, 2018 NHTSA ID NUMBER: 11132750
 Components: ENGINE
 NHTSA ID Number: 11132750
 Incident Date October 1, 2018
 Consumer Location PALMERTON, PA
 Vehicle Identification Number ZACCJBCT7FP****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 JEEP IS BURNING OIL AND COOLANT BETWEEN OIL CHANGES. NEED TO ADD
 OIL AT LEAST EVERY 2 TO 3 WEEK AND COOLANT MONTHLY. NO WARNING
 LIGHTS HAVE EVER COME ON INDICATION THE VEHICLE IS LOW, IT HAS NOT
 OVER HEATED. HAVE FOUND JEEP TO BE UPTO 3 QUARTS LOW ON OIL AND
 NO COOLANT IN RESERVOIR. NO SIGNS OF LEAKING OF ANY KIND. HAVE
 NOTICED A DISTINCT SMELL OF BURNT OIL AFTER LONG DRIVES. WHEN
 ADDING OIL AND COOLANT TODAY I FOUND A PINK FROTHY RESIDUE ON ALL
 THE HOUSE JOINTS FOR THE COOLANT. WHY AM I NOT GETTING ANY
 WARNING LIGHTS AND WHERE ARE THESE FLUIDS GOING TO. THERE IS
 DISTINCT METAL SOUND WHEN THE ENGINE IS RUNNING NOW. I ADDRESSED
 THE OIL ISSUE WITH THE DEAL THE LAST TIME IT WAS IN AND I WAS TOLD I




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 JUST NEED TO ADD OIL PERIODICALLY THAT "ALL VEHICLES" PERIODICALLY
 NEED OIL. I HAVE NEVER HAD THIS ISSUE WITH ANY OTHER VEHICLE I OWNED.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  RENEGADE                            2015




 September 30, 2016 NHTSA ID NUMBER: 10910872
 Components: ENGINE
 NHTSA ID Number: 10910872
 Incident Date August 29, 2016
 Consumer Location HOUSTON, TX
 Vehicle Identification Number ZACCJABT7FP****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 PURCHASED VEHICLE IN JULY 2015, WITH 12 MILES ON THE ODOMETER.
 VEHICLE DIED WHILE IN MOTION AT APPROXIMATELY 12 MPH ON MAY 2016.
 HAD FULL ELECTRICAL POWER, BUT ENGINE WOULD NOT TURN OVER AND
 IGNITION DID NOT EVEN MAKE "CLICK" NOISE. TOWED BY FCA 24H SERVICE TO
 THE CLOSEST DEALERSHIP (AND NOT THE ONE I BOUGHT IT FROM AND
 REQUESTED IT GO TO). AFTER 3 DAYS WAS TOLD THAT IT NEEDED OIL, OIL
 CHANGED WAS PERFORMED, AND THAT IT WAS FINE. OIL STARTED
 "DISAPPEARING" - NO LEAK, WASN'T BURNING. OIL PRESSURE LIGHT WOULD
 COME ON CONTINUOUSLY. CALLED FCA TO ALERT TO PROBLEM AND ASK
 WARRANTY QUESTIONS. WAS TOLD TO PUT OIL IN AND THAT THERE WERE NO
 PROBLEMS WITH 2015 RENEGADES; WARNED REP THAT CONTINUED DRIVING
 WITH NO OIL WOULD SEIZE ENGINE. CALLED ORIGINAL DEALERSHIP AND WAS
 TOLD TO REPLICATE THE PROBLEM. WAS ABLE TO REPLICATE PROBLEM -
 ENGINE SEIZED, WITH ONLY 9288 MILES ON IT, ON AUG 29 2016 WHILE


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 ENTERING NEIGHBORHOOD AT APPX.15 MPH - FIRST STARTED SHAKING AND
 RUMBLING LOUDLY, SPUTTERING AND DYING WHILE IN MOTION, ENGINE
 LIGHT CAME ON AND WOULD NOT START AFTER THAT. HAD TOWED TO
 ORIGINAL PURCHASE DEALERSHIP. WAS FIRST TOLD WAS A CYLINDER HEAD
 AND THAT WAS OIL IN THE SPARK PLUG SOCKETS AND ELSEWHERE (LUCKY IT
 DID NOT CATCH ON FIRE WHILE I WAS DRIVING). WEEK LATER WAS TOLD THAT
 A WHOLE NEW ENGINE WOULD HAVE TO GO IN, AS IT WAS SEIZED. ENGINE
 HAS FINALLY BEEN REPLACED AFTER 30 DAYS, AS DEALER HAD TO WAIT FOR
 FCA APPROVAL. NOW OUT OF POCKET ALMOST $400 FOR VEHICLE RENTALS
 AND TOWING, DESPITE FCA PROMISES TO PROVIDE. FILED FOR BUY BACK
 PROCESS AND GIVEN RUN AROUND. HAVE NOT HAD MY VEHICLE FOR A TOTAL
 OF 37 DAYS THIS YEAR - 35 WHICH ARE CONSECUTIVE. STILL WAITING FOR
 FCA RESPONSE; HAVE CALLED SEVERAL TIMES AND REP WILL NOT RETURN
 MY CALLS.

 STAY FAR AWAY FROM ANY FCA PRODUCED VEHICLE THAT HAS THE 9 SPEED
 AUTOMATIC TRANSMISSION.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  RENEGADE                            2015




 October 21, 2015 NHTSA ID NUMBER: 10784943
 Components: ENGINE
 NHTSA ID Number: 10784943
 Incident Date October 2, 2015
 Consumer Location ALEXANDRIA, VA
 Vehicle Identification Number ZACCJBCT0FP****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0



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 ON OCTOBER 2, 2015 I WAS DRIVING DOWN A CITY STREET NEAR MY HOME.
 AS I CAME TO A STOPLIGHT THE ENGINE CUT OFF WITHOUT WARNING. THERE
 WERE NO WARNING LIGHTS OR MESSAGES ON THE DASHBOARD, THE ENGINE
 SIMPLY CUT OFF. I TRIED TO RESTART THE VEHICLE, AND RECEIVED THE
 MESSAGE “SHIFT TO PARK, THEN TO DRIVE.” AT THIS POINT I WAS A HAZARD
 IN THE ROAD THAT OTHER VEHICLES HAD TO SWERVE TO AVOID. I WAS ABLE
 TO GET THE ENGINE RESTARTED AND TRAVELED APPROXIMATELY ¼ MILE TO
 A SPOT WHERE I COULD TURN AROUND. AS I TURNED ONTO A SIDE STREET
 THE ENGINE AGAIN CUT OFF WITHOUT WARNING. I WAS ABLE TO COAST TO
 THE SIDE STREET TO A SAFE PARKING SPOT. AFTER ABOUT 15 MINS I WAS
 ABLE TO START THE VEHICLE AGAIN AND DRIVE IT ½ MILE TO MY HOME
 WHERE I HAD THE VEHICLE TOWED TO THE JEEP DEALERSHIP SERVICE
 CENTER. THE DEALERSHIP KEPT MY VEHICLE FOR NEARLY A WEEK, BUT WAS
 UNABLE TO FIND ANYTHING WRONG. THEY STATED TO ME THAT THEY
 ATTACHED THE CHRYSLER COMPUTER DIAGNOSTIC AND FOUND NO ERRORS
 REGISTERED AND THAT THEY INSPECTED THE VEHICLE AND FOUND NOTHING
 WRONG. THEY ALSO STATED THAT THEY DROVE IT FOR 10 MILES AND COULD
 NOT GET THE ISSUE TO REPEAT, SO THEY TOLD ME TO PICK UP THE VEHICLE
 AND CONTINUE DRIVING IT. ON OCT 9 THE VEHICLE LOST POWER WHILE
 TURNING, BUT THE ENGINE DID NOT SHUT OFF AND AGAIN DISPLAYED NO
 WARNING LIGHTS. ON OCT 15 THE ENGINE AGAIN CUT OFF, BUT THIS TIME ON
 AN INCLINE AND ALMOST ROLLED INTO ONCOMING TRAFFIC. WE BROUGHT
 THE VEHICLE BACK TO THE DEALERSHIP AND DISCOVERED THERE WAS NO
 OIL IN THE ENGINE. MY SAFETY CONCERNS WITH THE RENEGADE ARE AS
 FOLLOWS:1) NONE OF THE ENGINE SENSING SYSTEMS REGISTERED THE LOW
 OIL, 2) IF THE LOW OIL LEVEL TRIGGERED THE ENGINE SAFETY CUTOFF WHY
 WAS THIS NOT REGISTERED IN THE VEHICLE’S FAULT LOG, AND 3) AFTER THE
 ENGINE SAFETY CUTOFF WAS TRIGGERED AND THERE WERE NO ERROR OR
 CHECK ENGINE MESSAGES OF ANY KIND. THEY COULD FIND NO RECORD OF
 ANY PROBLEMS.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  RENEGADE                            2015



 October 2, 2019 NHTSA ID NUMBER: 11265592
 Components: ENGINE
 NHTSA ID Number: 11265592
 Incident Date October 1, 2019


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 Consumer Location Unknown
 Vehicle Identification Number ZACCJBBT4GP****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I WAS DRIVING MY 2016 JEEP RENEGADE LATITUDE (2.4 LITER) WHEN THE
 VEHICLE STALLED ON ME. BEFORE IT STALLED I WAS STOPPED IN WHAT IS
 REFERRED TO AS A MICHIGAN LEFT. ONCE TRAFFIC WAS CLEAR I STARTED
 MY TURN AND AS I STARTED TO STRAIGHTEN OUT MY WHEEL, A VEHICLE IN
 FRONT OF ME WAS TURNING RIGHT INTO A BUSINESS. I APPLIED MY BRAKES
 AND THEN STARTED TO PUSH THE ACCELERATOR WHEN I NOTICED NO
 RESPONSE. I PUSHED A LITTLE MORE AND REALIZED THE ENGINE HAD SHUT
 OFF. I APPLIED THE BRAKE AND SHIFTED THE VEHICLE BACK TO PARK AND
 RESTARTED THE ENGINE. THERE WAS A GAS STATION NEAR SO I HEADED
 THERE. AS I WAS TURNING RIGHT INTO THE GAS STATION (SLIGHT INCLINED
 DRIVEWAY) I NOTICED A QUICK FLASH ABOUT OIL. I PARKED AT A PUMP AND
 POPPED THE HOOD TO CHECK THE OIL. TO MY SURPRISE I WAS GETTING
 VERY LITTLE TO NOTHING ON THE DIP STICK. I CHECKED MULTIPLE TIMES AND
 IT WAS THE SAME READING. I JUST HAD AN OIL CHANGE ON JULY 18, 2019. I
 HADN’T EVEN HIT THE NEXT SERVICE DATE (5,000-6,000 MILES) AND THERE
 HAD BEEN NO LEAKS THEY I HAD SEEN UNDER MY VEHICLE OR ANY
 ABNORMAL EXHAUST SMOKE (OIL BURNING) IN ANY OF THE TIME DRIVING THE
 VEHICLE. MY VEHICLE DOESN’T EVEN HAVE 48,000 MILES ON IT. I HAVE ONLY
 OWNED THE VEHICLE SINCE THE END OF JUNE. THIS STRUCK ME AS ODD AS I
 HAVE NEVER HAD ANY VEHICLE CONSUME THIS MUCH OIL WITH OUT SOME
 TYPE OF NOTICEABLE LEAK OR BURNING OF THE OIL. THERE WAS NO
 WARNING LIGHT PRIOR TO THIS EVENT ABOUT OIL DESPITE THERE BEING
 LITTLE TO NO READING OF OIL ON THE DIPSTICK.
 1 Affected Product
 Vehicle

 MAKE                 MODEL                                YEAR




 JEEP                 RENEGADE                             2016




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 May 17, 2019 NHTSA ID NUMBER: 11208335
 Components: ENGINE
 NHTSA ID Number: 11208335
 Incident Date May 14, 2019
 Consumer Location EWA BEACH, HI
 Vehicle Identification Number ZACCJABT9GP****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THE CAR STALLS FREQUENTLY WITH NO WARNING AT SPEED AND ALSO
 WHEN EXECUTING A STOP. IT USES A HUGE AMOUNT OF OIL, 5 QTS BETWEEN
 CHANGES. I TOOK IT TO THE DEALER AND THEY TOLD ME THAT THIS CAR
 STALLS IF THE OIL LEVEL IS LOW. THIS MEANS THEY RECOGNIZE AN ISSUE
 AND HAVE DONE NOTHING ABOUT IT. HOW WOULD I KNOW THIS, AND HOW
 LOW DOES THE OIL HAVE TO BE TO STALL? THIS IS NOT NORMAL AND IF IT IS
 'NORMAL' WHY HAVE THEY NOT TOLD ALL RENEGADE OWNERS? I WILL NEVER
 FEEL SAFE IN THIS CAR BECAUSE IF IT STALLS ON THE FREEWAY AT 60 MPH I
 WILL MOST CERTAINLY HAVE A CRASH.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  RENEGADE                            2016



 January 29, 2019 NHTSA ID NUMBER: 11172751
 Components: ENGINE
 NHTSA ID Number: 11172751
 Incident Date November 3, 2018
 Consumer Location VALLEY CENTER, CA
 Vehicle Identification Number ZACCJABT5GP****



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 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 AROUND 40,000 MILES MY CAR STARTED CONSUMING OIL AT AN ALARMING
 RATE. THE DEALERSHIP SERVICE DEPARTMENT SAID IT WAS NORMAL FOR MY
 CAR TO CONSUME 1 QUART PER 750 MILES! THAT IS INSANE. THAT SAID,
 CHRYSLER GUIDELINE FOR CARS IS 1 QUART PER 2000 MILES FOR CARS
 BELOW 50,000 MILES. THE DEALERSHIP HAS REFUSED TO REPAIR MY ENGINE.
 I CAN'T EVEN GO 2500 MILES ON AN OIL CHANGE WITHOUT MY CAR SEIZING
 UP, STALLING, HAVING ERRORS CODES (LOW OIL PRESSURE, OIL LIGHT
 COMES ON, ELECTRICAL ERROR), WON'T ACCELERATE OVER 35 MILES PER
 HOUR. THIS ALL HAPPENS WHILE I'M DRIVING WITH NO WARNING! VERY
 DANGEROUS ON A FREEWAY! EVEN THE GUIDELINE FOR CARS OVER 50,000
 MILES THE GUIDELINE BEING THE CAR CAN BURN 1 QUART EVERY 750 MILES
 IS RIDICULOUS. I'VE OWNED OLDER MODELS THAT NEVER DID THAT. IS THIS A
 NEW CAR THING? NEW CARS JUST BURN RIDICULOUS AMOUNTS OF OIL? TO
 WHAT END?
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  RENEGADE                            2016




 May 22, 2017 NHTSA ID NUMBER: 10990877
 Components: ENGINE
 NHTSA ID Number: 10990877
 Incident Date May 15, 2017
 Consumer Location HERNDON, VA
 Vehicle Identification Number ZACCJBCT8GP****

 Summary of Complaint
 CRASHNo



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 FIRENo

 INJURIES0

 DEATHS0

 THE VEHICLE WILL DRIVE FINE THEN IT POWERS DOWN AND STALLS WHILE
 MOVING. THE RESTART PROCEDURE IS TO PLACE THE VEHICLE IN PARK,
 PRESS THE BRAKE THE PUSH THE ENGINE RUN BUTTON. THIS HAPPENS
 SEVERAL TIMES A DAY DURING NORMAL OPERATION OF THE VEHICLE AND
 HAS HAPPENED IN INTERSECTIONS. THE MANUFACTURER TOLD ME THE
 ENGINE IS DEFECTIVE DUE TO THE CASTING PROCESS WHICH CAUSES IT TO
 LOSE OIL THAT LEAKS INTO THE ENGINE SOMEWHERE AND CAUSES THE
 ENGINE TO SHUTDOWN EVEN WHILE MOVING. THEY ARE REPLACING THE
 ENGINE BUT AS THIS IS A MANUFACTURING ISSUE I CAN'T BELIEVE MY
 VEHICLE IS THE ONLY ONE WITH THIS ISSUE. THE VEHICLE IS CURRENTLY AT
 THE DEALERSHIP. THIS ISSUE OCCURRED MULTIPLE TIMES AND WITHOUT ANY
 WARNING WHATSOEVER.
 1 Affected Product
 Vehicle

 MAKE                 MODEL                                YEAR




 JEEP                 RENEGADE                             2016




 November 22, 2016 NHTSA ID NUMBER: 10927375
 Components: SERVICE BRAKES, ENGINE, ELECTRONIC
 STABILITY CONTROL
 NHTSA ID Number: 10927375
 Incident Date November 18, 2016
 Consumer Location ROCKPORT, MA
 Vehicle Identification Number ZACCJBBW3GP****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0



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 TL* THE CONTACT OWNS A 2016 JEEP RENEGADE. WHEN THE CONTACT
 STARTED THE VEHICLE AFTER FILLING UP THE FUEL TANK, THE CHECK
 ENGINE AND ELECTRONIC STABILITY CONTROL WARNING INDICATORS
 ILLUMINATED AND THE VEHICLE STALLED. THE VEHICLE WAS ABLE TO
 RESTART ON THE FIRST ATTEMPT; HOWEVER, THE FAILURE RECURRED. IN
 ADDITION, THE VEHICLE MADE AN ABNORMAL SOUND AND THE EMERGENCY
 BRAKE WOULD NOT RELEASE. THE VEHICLE WAS TAKEN TO THE DEALER, BUT
 WAS NOT DIAGNOSED. THE DEALER RECOMMENDED TO HAVE THE OIL
 CHANGED EVERY 3,000 MILES AND TO CHECK THE DIP STICK EVERY TIME THE
 VEHICLE WAS FILLED WITH FUEL. THE VEHICLE WAS NOT REPAIRED. THE
 MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE FAILURE MILEAGE
 WAS APPROXIMATELY 5,870.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                               YEAR




 JEEP                  RENEGADE                            2016



 January 6, 2020 NHTSA ID NUMBER: 11297374
 Components: ENGINE
 NHTSA ID Number: 11297374
 Incident Date January 6, 2020
 Consumer Location CHANDLER, AZ
 Vehicle Identification Number 1C3CDFBB3ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 CAR IS BURNING OIL CAUSING IT TO STALL.
 1 Affected Product
 Vehicle




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 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2014




 June 3, 2019 NHTSA ID NUMBER: 11217665
 Components: ENGINE, UNKNOWN OR OTHER
 NHTSA ID Number: 11217665
 Incident Date June 2, 2019
 Consumer Location CHICAGO, IL
 Vehicle Identification Number 1C3CDFBBXED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MY DODGE DART HAS AN ISSUE WHERE THE BATTERY LIGHT WILL TURN ON
 AND THEN THE CAR WILL TURN OFF WHILE IT IS IN USE. THIS ISSUE BEGAN
 AROUND 1 YEAR AGO AND HAS BEEN SPORADICALLY HAPPENING SINCE
 THEN. MY MECHANIC EXCHANGED MY BATTERY BUT THE ISSUE PERSISTED
 AND HE HAS BEEN UNABLE TO FIND A CAUSE. UPON DOING SOME RESEARCH
 THIS IS A COMMON PROBLEM WITH DODGE DARTS. WHEN THE OIL GETS LOW
 THE CAR WILL SHUT OFF WHEN IN USE WITHOUT AN INDICATOR LIGHT
 SHOWING THE OIL IS LOW AND DESPITE THE OIL LIFE PERCENTAGE NOT
 BEING CRITICALLY LOW (IT WAS 17% THE MOST RECENT TIME IT HAPPENED
 TO ME). THIS IS EXTREMELY DANGEROUS BECAUSE IT HAPPENS ABRUPTLY
 AND THE STEERING LOCKS UP WHILE THE CAR IS SHUTTING OFF.
 1 Affected Product
 Vehicle




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 MAKE                           MODEL                     YEAR




 DODGE                          DART                      2014




 December 5, 2018 NHTSA ID NUMBER: 11156056
 Components: ENGINE
 NHTSA ID Number: 11156056
 Incident Date August 8, 2016
 Consumer Location BOULDER CITY, NV
 Vehicle Identification Number 1C3CDFEB6ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 SUDDEN STALLING AT ANY SPEED, BEEN TO TOWBIN DODGE IN HENDERSON
 NEVADA, THEY SAY THEY ALL DO THAT WHEN IT NEEDS AN OIL CHANGE, SO I
 ASKED THEM, THERE IS ONLY 500 MILES SINCE U GUYS JUST CHANGED IT,
 THEY HOOKED UP A SCANNER AND SAID NO CODES CARS FINE. I SAID IT
 SHUTS OFF FOR NO REASON, THE STEERING GETS SUPER STIFF WHEN THE
 CAR DIES, AND IT'S A PUSH BUTTON START SYSTEM, THEN IT MAKES A FUNNY
 NOISE, AFTER A FEW ATTEMPTS IT WILL START UP AND BE FINE FOR A WEEK
 OR SO, SOMETIMES IT STALKS 2 TO 3 TIMES IN A MILE.

 I'VE BEEN READING ABOUT THE DODGE DART WITH THEV2.4 LTR ENGINE
 STALLS FOR NO REASON, THIS IS A HUGE SAFETY ISSUE. THE DEALER STILL
 INSISTS IT'S AN OIL CHANGE TIMER IN THE COMPUTER THAT GETS YOU TO
 CHANGE THE OIL. I STRONGLY DISAGREE WITH THAT REASONING TO STALL
 THE CAR OUT ON THE FREEWAY OR INTERSECTION BECAUSE IT NEEDS AN
 OIL CHANGE.
 1 Affected Product
 Vehicle




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 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2014




 July 21, 2018 NHTSA ID NUMBER: 11112819
 Components: ENGINE
 NHTSA ID Number: 11112819
 Incident Date July 19, 2018
 Consumer Location BAYVILLE, NJ
 Vehicle Identification Number 1C3CDFBB5ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THE CAR STALLS WHILE DRIVING AND DOES NOT RESTART IMMEDIATELY. THE
 DEALER CHANGES MY OIL EVERY 5,000 MILES. IT APPEARS TO STALL EVERY 3-
 4,000 MILES. THE SOLUTION FOR THE DEALER NOW IS TO BRING MY CAR IN
 EVERY 1,000 MILES. THIS SEEMS EXCESSIVE AND IS NOT A SOLUTION TO THIS
 DANGEROUS PROBLEM? SOMETIMES THE ENGINE TURNS OFF WHEN I'M IN
 TRAFFIC OR TRAVELING ON A BUSY STREET. THIS HAS BEEN HAPPENING
 SINCE I PURCHASED THE CAR NEW IN 2014. IT'S ONLY BEEN SERVICED BY THE
 DEALER.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2014




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 May 18, 2018 NHTSA ID NUMBER: 11096734
 Components: ENGINE
 NHTSA ID Number: 11096734
 Incident Date October 7, 2016
 Consumer Location MAGNOLIA, TX
 Vehicle Identification Number 1C3CDFCB3ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ENGINE OVER-CONSUMES OIL. THE ENGINE WILL BE DRY FROM CONSUMING
 ALL OIL AT 4,000MILES.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2014




 December 28, 2017 NHTSA ID NUMBER: 11057182
 Components: ENGINE
 NHTSA ID Number: 11057182
 Incident Date December 26, 2017
 Consumer Location NEW PORT RICHEY, FL
 Vehicle Identification Number 1C3CDFBB8ED****

 Summary of Complaint
 CRASHNo

 FIRENo



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 INJURIES0

 DEATHS0

 CROSSING A BUSY ROAD TO THE MIDDLE TURN LANE MY 2014 DODGE DART
 STALLED OUT AND HAD A COMPLETE LOSS OF POWER, LEAVING ME IN THE
 MIDDLE OF THE ROAD AND I WAS ALMOST TBONED. I WAS QUICKLY ABLE TO
 START THE VEHICLE AGAIN TO GET INTO THE MIDDLE TURN LANE WHERE THE
 CAR STALLED OUT AGAIN. AFTER SEVERAL ATTEMPTS I WAS ABLE TO START
 THE CAR AND TURN AROUND TO HEAD BACK HOME AND OFF THE ROAD.
 WHILE DRIVING 100FT THE CAR WAS STILL JERKING AS IT WAS ABOUT TO
 STALL YET AGAIN. I GET THE CAR HOME AND LEAVE IT PARKED TO CALL THE
 DEALERSHIP. THE ONLY THING THEY KEPT ASKING ME ABOUT OR WERE
 CONCERNED ABOUT WAS MY OIL AND IF I HAD BEEN DOING MY OIL CHANGES.
 SO, THEY OBVIOUSLY WERE AWARE OF THIS ISSUE WITH THE ENGINE
 FAILURE AND THE OIL. I TOLD THE DEALERSHIP THAT I HAVE COMPLETE
 DOCUMENTATION OF EVERY OIL CHANGE HAVING BEEN DONE ON TIME,
 EVERY TIME AND THAT I WASN’T EVEN DUE FOR MY NEXT OIL CHANGE. THE
 SERVICE DEPARTMENT OF THE DEALERSHIP STILL SUGGESTED I CHECK MY
 OIL LEVEL. I CHECK MY OIL AND IT’S SO LOW THAT NOTHING IS ON THE DIP
 STICK, MY ENGINE WAS DRY OF OIL WITHOUT MY OIL PRESSURE SENSOR
 EVER HAVING GONE OFF AND ZERO OIL IN MY DRIVEWAY. I CALLED
 IMMEDIATELY AND HAD THE CAR TOWED TO THE DEALERSHIP AS IT’S A VERY
 DANGEROUS PROBLEM AND STILL UNDER THE POWERTRAIN WARRANTY. THE
 NEXT DAY THE DEALERSHIP CALLS ME TO INFORM ME THAT THE
 INFORMATION I HAVE THEM WAS CORRECT THAT THERE WAS NO OIL IN MY
 CAR, NO OIL LEAKS AND NO RESIDUE OF OIL TO BE FOUND! THEY THEN
 PROCEEDED TO TELL ME THAT THEY’VE FILLED IT WITH OIL AND I’M REQUIRED
 TO CONTINUE DRIVING THIS DANGEROUS VEHICLE THAT ALREADY ALMOST
 HAD ME TBONED FOR ANOTHER 1,000 MILES TO DO AN OIL CONSUMPTION
 TEST BEFORE CHRYSLER WILL POSSIBLY APPROVE ME FOR A NEW MOTOR
 THAT IS STILL COVERED UNDER THE POWERTRAIN WARRANTY. I WAS ALSO
 TOLD THAT THEY ARE AWARE OF THE ISSUE OF THE MOTOR JUST BURNING
 THE OIL IN THIS CAR AND THAT IT’S DANGEROUS.
 1 Affected Product
 Vehicle

 MAKE                          MODEL                      YEAR




 DODGE                         DART                       2014




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 July 7, 2017 NHTSA ID NUMBER: 11003740
 Components: ELECTRICAL SYSTEM, ENGINE
 NHTSA ID Number: 11003740
 Incident Date July 6, 2017
 Consumer Location LONDON, KY
 Vehicle Identification Number 1C3CDFCB0ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THIS IS THE SECOND TIME THIS HAS HAPPENED. THE ENGINE WILL STALL
 RANDOMLY WHILE DRIVING. THE FIRST TIME IT HAPPENED, WE HAD TO HAVE
 IT TOWED TO THE DEALERSHIP. THEY SAID IT WAS A SENSOR COVERED
 UNDER WARRANTY. OK GOOD. WELL A FEW DAYS AFTER, THE PROBLEM
 HAPPENED AGAIN. THIS TIME THEY SAY IT'S BECAUSE THE OIL NEEDED TO BE
 CHANGED. THE HUD SHOWED OVER 50% OIL LIFE LEFT. THE SAME ISSUE
 HAPPENED AGAIN A FEW DAYS AGO. THE PROBLEM SEEMS TO RESOLVE
 AFTER AN OIL CHANGE. I'VE NOTICED THIS HAS HAPPENED TO A LOT OF
 PEOPLE, BUT STILL NO RECALLS. THIS IS EXTREMELY DANGEROUS. WHEN
 THE ENGINE STALLS, YOU LOOSE POWER STEERING AND BRAKES. THIS CAN
 CAUSE A MAJOR ACCIDENT. LUCKILY, IT'S ONLY HAPPENED ON SURFACE
 STREETS. THIS ISSUE NEEDS TO BE LOOKED INTO AND FIXED.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2014




 May 11, 2017 NHTSA ID NUMBER: 10984890
 Components: ENGINE
 NHTSA ID Number: 10984890



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 Incident Date April 12, 2016
 Consumer Location RINEYVILLE, KY
 Vehicle Identification Number N/A

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 2.4 L ENGINE STALLS AND DIES AT HIGHWAY SPEEDS. THE CAR ALSO USES A
 GREAT DEAL OF OIL, WITH NO EVIDENCE OF A LEAK. HAVE HAD IT IN THE
 SHOP SEVERAL TIMES. MECHANICS DO NOT KNOW WHAT TO DO WITH IT.
 SEEMS LIKE A FAULTY ENGINE.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2014




 March 7, 2017 NHTSA ID NUMBER: 10959080
 Components: ENGINE
 NHTSA ID Number: 10959080
 Incident Date March 3, 2017
 Consumer Location Unknown
 Vehicle Identification Number 1C3CDFBB1ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 TL* THE CONTACT OWNS A 2014 DODGE DART. WHILE DRIVING 15 MPH, THE
 VEHICLE STALLED WITHOUT WARNING. THE VEHICLE WAS DIAGNOSED AS
 BEING LOW ON TWO QUARTS OF OIL. THE VEHICLE WAS TAKEN TO BE
 REPAIRED. THE MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
 FAILURE MILEAGE WAS 24,000.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2014




 February 6, 2017 NHTSA ID NUMBER: 10949840
 Components: ENGINE
 NHTSA ID Number: 10949840
 Incident Date January 13, 2017
 Consumer Location WORTHINGTON, IN
 Vehicle Identification Number 1C3CDFBB3ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 AT 7 AM IN THE DARK, THE VEHICLE WAS APPROACHING A TRAIN TRACKS
 CROSSING AND STOPPED/STALLED ON A TRAIN TRACKS APPROACH. ALL
 ELECTRONICS WERE CHECKED AND VERIFIED AS GOOD. STARTER WOULD
 NOT ENGAGE. WHILE MAKING ARRANGEMENTS FOR A TOW TO THE
 DEALERSHIP, I CHECKED THIS BOARD FOR COMPLAINTS. SURE ENOUGH, THE
 LOW/NO ENGINE OIL ISSUE WAS THE ROOT CAUSE. THE ENGINE BURNS OIL AT
 AN ALARMING RATE AS IF IT WERE EVAPORATIVE. I WENT BACK AND ADDED A
 QUART. THE CAR FIRED RIGHT UP. I TOOK IT TO THE DEALERSHIP JUST TO BE
 SAFE FOR THEM TO CHECK IT OUT. OF COURSE, NO CODES WERE
 PREVALENT SO THEY COULD DO NOTHING BUT CHARGE ME FOR AN
 EXPENSIVE DIAGNOSTIC AND AN OIL CHANGE. THEY HAD IT FOR A WEEK. FCA


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 SENT ME A SURVEY SO I MADE THEM AWARE OF IT. NOW, I (ALONG WITH
 MANY OF MY FELLOW DART OWNERS) HAVE POSTED TO THE US
 GOVERNMENT'S OFFICIAL SITE FOR ACTIONABLE INTELLIGENCE THAT THEY
 MAY DO SOMETHING (ANYTHING!). HOW MANY NEAR MISSES HAVE TO BE
 REPORTED? HOW MANY ACTUAL FAILURES OF THIS SORT HAS CAUSED A
 MORTAL END? DEAD MEN AND WOMEN TELL NO STORIES AND REMEMBER
 THAT THE CAR'S FLASH MEMORY DOES NOT RECORD A CODE. SO
 CONCEIVABLY, THIS ISSUE MAY HAVE ALREADY BEEN THE CAUSE OF MANY
 PREVENTABLE DEATHS. THE INTERNET HAS VIDEO AVAILABLE OF THIS
 FAILURE IF THE NHTSA ARE INTERESTED. IT'S DANGEROUS AND CALLOUS
 THAT THIS ISSUE IS NOT BEING INVESTIGATED.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2014




 January 24, 2017 NHTSA ID NUMBER: 10947283
 Components: ENGINE, POWER TRAIN
 NHTSA ID Number: 10947283
 Incident Date October 21, 2015
 Consumer Location GLEN AUBREY, NY
 Vehicle Identification Number 1C3CDFBB7ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I WOULD LIKE TO VOICE MY OPINION ON A SAFETY ISSUE INVOLVING THESE
 CARS WITH THE 2.4 LITER ENGINE. THESE CARS ARE USING OIL, WAY FASTER
 THAN THEY SHOULD. THE CARS STALL OUT LOSING ALL POWER AND
 STEERING IF THE OIL BECOMES TOO LOW. THERE ISN'T ANY INDICATOR LIGHT
 THAT YOU ARE LOW OR ANY SIGN UNTIL IT HAPPENS. CURRENTLY MY CAR IS


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 USING JUST SHY OF A QUART OF OIL EVERY 1K MILES AND THIS IS
 ACCEPTABLE IN DODGE'S EYES. THEY ADVERTISE THESE CARS TO GO 6-8K
 MILES BETWEEN OIL CHANGES - NO MORE THAN 10K MILES! WELL, AT 5.5 QT
 CAPACITY... YOU WILL ALWAYS RUN OUT PLUS SOME BEFORE A CHANGE IS
 DUE! I HAVE SEEN MANY PEOPLE COMMENTING ABOUT THEIR VEHICLE
 STALLING OUT ON HIGHWAYS, ETC WITHOUT ANY WARNING. MAJORITY OF
 PEOPLE I'M SURE ARE NOT THINKING TO CHECK THEIR OIL ON THEIR NEW
 CAR WITH EVERY GAS FILL UP TO BE SURE THE LEVEL IS OK. THIS IS TOTALLY
 UNACCEPTABLE! THESE CARS USE THE 0W20 SYNTHETIC OIL AND IT
 AVERAGES ABOUT $9 A QT. THIS IS DOUBLING THE COST OF OIL CHANGES
 SINCE YOU NEED TO FILL IT UP SEVERAL TIMES IN BETWEEN. PLUS WHERE IS
 THIS OIL GOING? MINE HAS RECENTLY STARTED SPUTTERING AND WILL BE
 TAKING IT BACK TO THE SHOP .. AGAIN.. HAVE A FEELING THIS OIL IS POOLING
 SOMEWHERE AND NOW CAUSING A CLOG IN SOMETHING! *TR
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2014




 October 10, 2016 NHTSA ID NUMBER: 10915058
 Components: POWER TRAIN, WHEELS, ENGINE
 NHTSA ID Number: 10915058
 Incident Date October 4, 2016
 Consumer Location KYLE, TX
 Vehicle Identification Number 1C3CDFDH9ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TAKATA RECALL




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 THIS 2014 DODGE DART AERO HAS NOW HAD MULTIPLE PROBLEMS WITH THE
 CLUTCH AND AXLES. IT IS CURRENTLY IN THE SHOP TO HAVE THE SLAVE
 CYLINDER FOR THE CLUTCH AS WELL AS THE AXLES FIXED FOR THE SECOND
 TIME IN 2 YEARS. THEY ARE ALSO IN THE PROCESS OF CHECKING IN TO WHY
 THE CHECK ENGINE LIGHT CAME ON FOR THE MASS AIR FLOW SENSOR. THIS
 MAKES 2 TIMES THAT IT HAS GONE TO THE SHOP FOR CLUTCH AND AXLE
 ISSUES. THEY ALSO DON'T KNOW WHAT THE REAL PROBLEM IS FOR THE
 CHECK ENGINE LIGHT. I HAVE ASKED THEM TO BUY THE CAR BACK AND THEY
 WONT. THEY ALSO STATED THAT I MAY BE HAVING TO PAY SOME OUT OF
 POCKET TO GET MY CAR FIXED THIS TIME. THIS CAR IS NOTHING BUT
 PROBLEMS. LIKE I MENTIONED BEFORE; TWICE FOR THE CLUTCH AND AXLES,
 THE ENGINE LIGHT IS ON FOR A REASON THEY DON'T KNOW OTHER THAT
 THEY THINK IT IS THE MASS AIR FLOW SENSOR, THE THIRD TIME I TOOK IT TO
 DODGE FOR AN OIL CHANGE THEY TOLD ME THAT NO OIL CAME OUT OF THE
 ENGINE AND THEN TRIED TO EXPLAIN TO ME THAT MY ENGINE WAS "KNOWN"
 TO DO THAT. NOW I HAVE JUST GOTTEN OFF THE PHONE WITH THE
 MANUFACTURER CUSTOMER SERVICE AND THEY REPLIED WITH THEY WILL
 COVER ALL THE COSTS EXCEPT FOR $100. SEEMS KIND OF ODD TO SETTLE
 ON THAT AMOUNT. PLUS THEY WONT BUY IT BACK. THEREFORE, THIS CAR IS
 KNOWN TO HAVE CLUTCH AND ENGINE PROBLEMS AND DODGE EXPECTS ME
 TO DRIVE AROUND NOT HAVING TO WORRY ABOUT IF MY LIFE IS AT RISK. I
 SHOULD ALSO MENTION THAT THE TIRES THAT CAME ON THE CAR WERE
 FAULTY AS WELL AS I HAD TO REPLACE TWO OF THEM ALREADY. THE BANDS
 ON THE INSIDE OF THE TIRE CAME LOOSE AND CAUSED PROBLEMS WITH THE
 DRIVING AS WELL. THIS IS JUNKER CAR THAT I PURCHASED NEW AND DODGE
 COULD CARE LESS THAT IT IS FALLING APART.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2014




 June 24, 2016 NHTSA ID NUMBER: 10876406
 Components: ENGINE
 NHTSA ID Number: 10876406
 Incident Date March 1, 2016
 Consumer Location MCHENRY, IL


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 Vehicle Identification Number 1C3CDFBB9ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2014 DODGE DART. THE CONTACT STATED THAT
 THE VEHICLE EXPERIENCED EXCESSIVE OIL CONSUMPTION. THE VEHICLE
 USED OVER A QUART OF OIL IN 1,000 MILES. THE VEHICLE WAS TAKEN TO THE
 DEALER WHERE THE CONTACT WAS INFORMED THAT THE INFORMATION
 NEEDED TO BE DOCUMENTED FOR A FEW MONTHS, BUT WAS NOT
 DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
 FAILURE. THE FAILURE MILEAGE WAS APPROXIMATELY 19,000.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2014




 June 23, 2016 NHTSA ID NUMBER: 10876124
 Components: ENGINE
 NHTSA ID Number: 10876124
 Incident Date June 23, 2016
 Consumer Location GOODYEAR, AZ
 Vehicle Identification Number 1CF3CDFBB7E****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 PULLING TO A STOP ON THE MORNING OF TUESDAY, JUNE 21, CAR
 SHUDDERED THEN DIED 1 BLOCK FROM HOME. NO WARNING LIGHTS CAME
 ON, AND NONE HAD FLASHED IN THE 1.5 YEARS I HAVE OWNED THE CAR.
 COULD NOT GET CAR TO START FOR 10 MINUTES. ONCE CAR STARTED, NO
 WARNING LIGHTS APPEARED. DROVE IT TO MY LOCAL SERVICE STATION FOR
 A DIAGNOSTIC. THEY FOUND NO ISSUES. DROVE IT ALL DAY WEDNESDAY
 WITH NO ISSUES. THURSDAY MORNING, IT SHUDDERED AND DIED ABOUT 3
 BLOCKS FROM HOME. AGAIN NO WARNING LIGHTS, AND CAR WOULD NOT
 START. HAD IT TOWED TO LOCAL SERVICE STATION WHERE IT WAS SERVICED
 ON TUESDAY. WHILE WAITING FOR A TOW, SEARCHED THE INTERNET FOR
 COMMON DODGE DART PROBLEMS, AND DISCOVERED THAT THEY BURN
 THROUGH OIL. CHECKED THE OIL AND ZERO OIL WAS REGISTERED ON THE
 DIPSTICK, DESPITE HAVING JUST OVER 3K MILES SINCE LAST OIL CHANGE. NO
 SIGNS OF AN OIL LEAK. NO WARNING LIGHTS OR INDICATORS OF A PROBLEM.
 NO ISSUES WITH OVER HEATING. MECHANIC IS CURRENTLY DIAGNOSING THE
 ISSUE TO DETERMINE A FIX.

 THIS IS A RECURRING PROBLEM WITH DODGE DARTS IF COMPLAINTS ON
 PUBLIC FORUMS ARE ANY INDICATION. REPORTS OF ENGINES SEIZING DUE
 TO BURNING THROUGH OIL AT AN EXCESSIVELY HIGH RATE ARE COMMON
 FOR THIS CAR WHETHER THE CAR HAS 9K MILES, OR 50K MILES. IT IS
 INCREDIBLY DANGEROUS FOR A CAR TO RUN WITHOUT OIL, AND POSSES A
 SERIOUS SAFETY RISK, ESPECIALLY IF THE ELECTRICAL AND DIAGNOSTIC
 INFORMATION IS NOT RECOGNIZING THE ISSUE SO THAT OWNERS CAN
 ADDRESS IT IN ADVANCE OF ENGINE SEIZURE.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2014




 June 17, 2016 NHTSA ID NUMBER: 10874749
 Components: ENGINE, ELECTRICAL SYSTEM, SERVICE
 BRAKES
 NHTSA ID Number: 10874749
 Incident Date June 16, 2016
 Consumer Location KENNEWICK, WA


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 Vehicle Identification Number 1C3CDFBB2ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THIS VEHICLE HAVE HAD TWO OCCASIONS OF MASTER CYLINDER BRAKE
 FLUID LOSS AND UNEXPLAINED TOTALL ENGINE OIL EVAPORATION WITHOUT
 WARNING THAT CAUSED THE LOSS OF POWER WHILE DRIVING. LUCKILY IT
 HAPPENED IN CITY, NOT HIGHWAY.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2014




 April 5, 2016 NHTSA ID NUMBER: 10853581
 Components: ENGINE, FUEL/PROPULSION SYSTEM
 NHTSA ID Number: 10853581
 Incident Date August 15, 2015
 Consumer Location ALEXANDRIA, VA
 Vehicle Identification Number 1C3CFEB0ED8****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I HAVE A 2014 DODGE DART THAT IS BURNING OIL AT WHAT SEEMS TO ME TO
 BE AN ALARMING RATE. I HAVE HAD MY VEHICLE IN THE SHOP OVER 4 TIMES. I
 AM BEING TOLD I HAVE NO LEAKS AND MY CAR IS FINE, AND THAT IT IS


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 CHARACTERISTIC THAT MY CAR NEEDS TO HAVE OIL ADDED EVERY 2K MILES.
 I DRIVE MY CAR TO AND FROM WORK AND I RARELY TRAVEL OUT OF STATE. I
 AM NOT OVER DRIVING OR ROUGH DRIVING MY CAR BY ANY MEANS. I HAVE
 SPENT OVER 1K DOLLARS IN RENTALS AND REPAIRS. I HAVE A 3 YEAR OLD
 SON THAT I DRIVE TO DAYCARE 4 DAYS A WEEK AND I CANNOT MENTALLY BE
 COMFORTABLE DRIVING MY SON IN A CAR THAT STOPS IN THE MIDDLE OF
 THE ROAD BECAUSE ITS OUT OF OIL. DODGE HAS DONE NOTHING TO HELP ME
 AND I AM SEEKING LEGAL ACTION.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2014




 January 21, 2016 NHTSA ID NUMBER: 10821593
 Components: ENGINE
 NHTSA ID Number: 10821593
 Incident Date January 16, 2016
 Consumer Location TACOMA, WA
 Vehicle Identification Number 1C3CDFBB4ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TIGER SHARK MULTI-AIR 2 ENGINE CONSUMES 1QT OIL PER 1000 MILES. I WAS
 UNAWARE OF THIS CONSUMPTION ISSUE AND THE OIL WENT TO LOW AND
 ENGINE IS DESIGNED TO SHUT OFF. THIS STALLING HAS HAPPEN 3 TIMES TO
 AND 1 TO THE DEALERSHIP. NONE OF THE CARS WARNING INDICATORS COME
 ON WHEN PRESSURE IS LOW THE CAR JUST STALLS. DEALERSHIP
 RESOLUTION WATCH OIL LEVEL AND THERE IS FIX FOR THE CONSUMPTION
 OR ANY WAY FOR THE WARNING LIGHTS TO BE TRIGGERED. SO IF I FORGET




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 TO CHECK THE OIL I AM GAMBLING WITH MY LIFE AND OTHERS ON THE ROAD
 IF THE CAR STALLS WHILE ON THE HIGHWAY.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2014




 July 10, 2015 NHTSA ID NUMBER: 10733280
 Components: ENGINE
 NHTSA ID Number: 10733280
 Incident Date October 1, 2014
 Consumer Location PHILADELPHIA, PA
 Vehicle Identification Number 1C3CDFBB0ED****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2014 DODGE DART. THE CONTACT STATED THAT
 THE ENGINE OIL WAS DEPLETING PREMATURELY. THE DEALER STATED THAT
 THE ENGINE MOTOR FAILED. THE DEALER STATED THAT THE MOTOR MAY
 NEED TO BE REBUILT. THE VEHICLE WAS NOT REPAIRED. THE
 MANUFACTURER WAS NOTIFIED. THE APPROXIMATE FAILURE MILEAGE WAS
 7,000.
 1 Affected Product
 Vehicle




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 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2014




 August 6, 2019 NHTSA ID NUMBER: 11242097
 Components: ENGINE
 NHTSA ID Number: 11242097
 Incident Date May 16, 2019
 Consumer Location ORLANDO, FL
 Vehicle Identification Number 1C3CDFBB6FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2015 DODGE DART. WHILE DRIVING 55 MPH, THE
 VEHICLE SEIZED AND LOST POWER WITHOUT WARNING. THE VEHICLE
 VEERED TO THE SHOULDER OF THE ROAD. WHEN THE VEHICLE WAS TURNED
 OFF AND RESTARTED, IT RESUMED NORMAL OPERATION. THE VEHICLE WAS
 TAKEN TO GREENWAY DODGE CHRYSLER JEEP RAM (9051 E COLONIAL DR,
 ORLANDO, FL 32817, (407) 347-4929) WHERE IT WAS DIAGNOSED THAT THE OIL
 CONSUMPTION SEEMED LOW. THE OIL WAS CHANGED, BUT THE FAILURE
 RECURRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE AND
 PROVIDED CASE NUMBER: 59514487. THE CONTACT WAS INFORMED THAT THE
 VEHICLE WOULD NEED TO BE DRIVEN FOR 2,000 MILES IN ORDER TO
 DETERMINE IF THE ENGINE NEEDED TO BE REPLACED. THE FAILURE MILEAGE
 WAS APPROXIMATELY 54,000.
 1 Affected Product
 Vehicle




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 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 January 16, 2019 NHTSA ID NUMBER: 11170385
 Components: ENGINE
 NHTSA ID Number: 11170385
 Incident Date November 30, 2018
 Consumer Location MERCHANTVILLE, NJ
 Vehicle Identification Number N/A

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 WHEN MY OIL IS LOW, THERE IS NO WARNING ON DASH, MY CAR JUST SHUTS
 OFF. WE HAVE TAKEN IT TO A FEW DEALERSHIPS IN SOUTH JERSEY AND THEY
 SAID THIS IS A COMMON ISSUE WITH THE DODGE DARTS. IF MY HUSBAND WAS
 NOT A MECHANIC AND CHANGED OIL EARLY, I WOULD HAVE THIS ISSUE
 EVERY TIME!
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 November 17, 2018 NHTSA ID NUMBER: 11152235


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 Components: ENGINE
 NHTSA ID Number: 11152235
 Incident Date November 17, 2018
 Consumer Location SANDUSKY, OH
 Vehicle Identification Number 1C3CDFEB2FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 VEHICLE STARTED STALLING LAST WINTER AFTER REMOTE START THOUGHT
 IT WAS REMOTE START ACTING UP BUT NOW IT STARTED STALLING
 RANDOMLY AT IDLE AND TURNING NOW IT HAS STALLED DRIVING DOWN THE
 ROAD AND SOMETIMES WILL NOT RESTART RIGHT AWAY, IT IS SCHEDULED TO
 HAVE AN OIL CHANGE IN 4 DAYS SO I STARTED SEARCHING WHY IT WOULD BE
 STALLING AND READ ABOUT EXCESSIVE OIL CONSUMPTION. I JUST CHECKED
 MY OIL AND IT IS BARELY READING ON DIPSTICK. THIS IS BS THERE IS NO WAY
 IT SHOULD BE CONSUMING THIS MUCH OIL BETWEEN OIL CHANGES. I BOUGHT
 IT BRAND NEW AND IT ONLY HAS 33,000 MILES ON IT.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 August 20, 2018 NHTSA ID NUMBER: 11120973
 Components: ENGINE
 NHTSA ID Number: 11120973
 Incident Date July 5, 2015
 Consumer Location TOLEDO, OH
 Vehicle Identification Number 1C3CDFBB3FD****


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 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2015 DODGE DART. WHILE DRIVING VARIOUS
 SPEEDS, THE ENGINE MADE A KNOCKING SOUND AND THE VEHICLE
 OPERATED ROUGHLY, JERKED, HESITATED, AND DID NOT IMMEDIATELY
 RESPOND WHEN THE ACCELERATOR PEDAL WAS DEPRESSED. THE VEHICLE
 WAS TAKEN TO A LOCAL UNKNOWN DEALER WHERE IT WAS DIAGNOSED THAT
 THE VEHICLE WAS LOW ON OIL, ALTHOUGH THE CONTACT STATED THAT THE
 VEHICLE WAS ROUTINELY TAKEN TO IN FOR OIL CHANGES. THE CAUSE OF
 THE FAILURE WAS NOT DETERMINED. THE MANUFACTURER WAS NOTIFIED OF
 THE FAILURE. THE FAILURE MILEAGE WAS 500.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




 July 23, 2018 NHTSA ID NUMBER: 11113117
 Components: ENGINE
 NHTSA ID Number: 11113117
 Incident Date July 23, 2018
 Consumer Location DAVENPORT, FL
 Vehicle Identification Number 1C3CDFBB9FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 I PURCHASED MY 2015 DART NEW FROM THE DEALERSHIP. SINCE 7/2017, THE
 CAR HAS STALLED OUT IN THE MIDDLE OF DRIVING AND LEFT ME STRANDED
 ON 3 SEPARATE INSTANCES. THE BATTERY LIGHT COMES UP ON THE DASH
 AFTER THE CAR STALLS OUT BUT THERE IS NO WARNING BEFORE THAT. THE
 CAR DOES NOT RESTART AND HAS TO BE LEFT FOR 5-10 MINUTES BEFORE IT
 WILL TURN OVER. EVEN THEN YOU CAN ONLY DRIVE IT UNTIL YOU PUSH THE
 BRAKE AGAIN AND IT STALLS OUT. THE DEALERSHIP INSISTS THAT THIS IS
 NORMAL FOR THE DART AND THAT IT BURNS MORE OIL THAN OTHER
 VEHICLES. EVERY TIME THIS OCCURS, THERE IS NOT A DROP OF OIL IN THE
 CAR. WHEN IT HAPPENED TODAY, THERE ARE LESS THAN 5,000 MILES ON THE
 CAR SINCE THE LAST OIL CHANGE AND IT HAS BEEN LESS THAN 3 MONTHS
 SINCE THE LAST OIL CHANGE. THE LAST TWO TIMES THIS HAS HAPPENED, I
 HAVE NEARLY GOTTEN HIT BECAUSE THE ENGINE JUST SHUTS DOWN
 WITHOUT WARNING.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 June 21, 2018 NHTSA ID NUMBER: 11102946
 Components: ENGINE
 NHTSA ID Number: 11102946
 Incident Date August 4, 2017
 Consumer Location LAKEWOOD, WA
 Vehicle Identification Number 1C3CDFFBB2F****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ENGINE IS BURNING OIL AT AN ALARMING RATE. I HAVE TO FILL UP THE
 ENGINE WITH OIL TO KEEP IT FROM STALLING, EVERY 2 WEEKS. WHEN THE


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 ENGINE USES UP THAT OIL, IT STALLS MULTIPLE OF TIMES UNTIL I CAN DRIVE
 IT TO AN AUTOSHOP.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 June 6, 2018 NHTSA ID NUMBER: 11100205
 Components: ENGINE
 NHTSA ID Number: 11100205
 Incident Date October 1, 2016
 Consumer Location CAPITOL HEIGHTS, MD
 Vehicle Identification Number 1C3CDFBB5FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 VEHICLE IS BURNING OIL WAY TO FAST. I GET MY OIL CHANGES FREQUENTLY
 AND HAVE TO KEEP A BIG BOTTLE IN THE CAR AS EXTRA. THE VEHICLE CAN
 BE DRIVING AND JUST COMPLETELY SHUT OFF IN MOTION. WHEN I ADD MORE
 OIL THAT CAR CUTS BACK ON. I DON'T HAVE ANY OIL SPOTS WHEN I PARK MY
 VEHICLE SO I HAVE NO CLUE WHERE THE OIL IS GOING. NO CHECK ENGINE
 LIGHTS ARE ON. I TAKE IT TO THE SHOP AND THEY DON'T KNOW WHAT THE
 ISSUE IS. THIS IS AN ISSUE I HAD SINCE I PURCHASED THE VEHICLE. I'M
 COMPLETELY OVERWHELMED WITH HOW DANGEROUS THIS CAR IS. THIS
 PROBLEM IS STILL CURRENT TIL THIS DAY 6/6/2018.
 1 Affected Product
 Vehicle


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 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 May 15, 2018 NHTSA ID NUMBER: 11093862
 Components: ENGINE
 NHTSA ID Number: 11093862
 Incident Date May 12, 2018
 Consumer Location MEDINAH, IL
 Vehicle Identification Number 1C3CDFEB0FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2015 DODGE DART. WHILE DRIVING AT AN
 UNKNOWN SPEED, THE ENGINE STALLED. THE VEHICLE WAS ABLE TO BE
 RESTARTED. THE VEHICLE WAS TAKEN TO LARRY ROESCH CHRYSLER,
 DODGE, JEEP, RAM (200 WEST GRAND AVENUE, ELMHURST, IL 60126, 630-834-
 8000) WHERE IT WAS DIAGNOSED THAT THE ENGINE OIL WAS LOW. THE
 DEALER STATED THAT THE ENGINE OIL MIGHT BE RELEASING THROUGH THE
 EXHAUST SYSTEM AND THAT THE 2.4 LITER ENGINE WAS KNOWN TO BE
 FAULTY. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE CONTACT
 WAS CONCERNED THAT THE ENGINE MAY STALL IN TRAFFIC ON THE
 HIGHWAY. THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOT
 NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS 43,600.
 1 Affected Product
 Vehicle




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 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




 April 6, 2018 NHTSA ID NUMBER: 11083577
 Components: ENGINE
 NHTSA ID Number: 11083577
 Incident Date April 6, 2018
 Consumer Location ELLETTSVILLE, IN
 Vehicle Identification Number N/A

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ENGINE SHUTDOWN WHILE DRIVING. APPEARS TO BE SENSOR DETECTING
 LOW OIL AND RATHER THAN TRIGGERING THE MIL OR A LOW OIL INDICATOR,
 IT SHUTS THE ENGINE DOWN. HAPPENED TO MY WIFE WHILE SHE WAS
 DRIVING ON A HIGHWAY. ENGINE POWER LOSS, AND ALSO LOSS OF POWER
 STEERING AND BRAKING. ALL DASH LIGHTS CAME ON, RADIO CONTINUED
 PLAYING, AND LIGHTS KEPT WORKING SO IT WASN'T A COMPLETE
 ELECTRICAL POWER LOSS BUT A CONTROLLED ENGINE SHUTDOWN.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




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 February 13, 2018 NHTSA ID NUMBER: 11072734
 Components: ENGINE
 NHTSA ID Number: 11072734
 Incident Date November 13, 2017
 Consumer Location CLEMSON, SC
 Vehicle Identification Number 1C3CDFBB0FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 WHEN DRIVING THE DART, THE VEHICLE WILL SHUT OFF WHILE IN DRIVE. THE
 DEALER IS SAYING THAT IT IS A SAFETY SWITCH FOR LOW OIL. HOWEVER
 THERE IS NO OIL LIGHT TURNING ON ON THE DASH BOARD AND THERE IS OIL
 LIFE REMAINING ON THE DIGITAL DISPLAY. THIS HAS HAPPENED NUMEROUS
 TIMES WITH NO RESOLVE. THE DEALER HAS EVEN WENT AS FAR AS TO SAY
 "WELL, YOU BOUGHT A DODGE DART". WHEN WE PURCHASED THE DART, WE
 BOUGHT THE MAINTENANCE PACKAGE, INCLUDING OIL CHANGES. WE USE
 THIS PACKAGE ALL THE TIME AND THERE WOULD BE NO EXCUSE TO BE LOW
 ON OIL THAT FAST IN A NEWER VEHICLE. THIS HAS HAPPENED A HALF DOZEN
 TIMES, SPEEDS VARYING FROM DRIVING IN A PARKING LOT (5-10MPH) , TO
 DOWN A STREET(35-45MPH) THANKFULLY NEVER ON A HIGHWAY. WE ARE
 FEARFUL FOR THE DAY THIS HAPPENS WITH CHILDREN IN THE CAR. WE HAVE
 BEEN IN CONTACT WITH DAIMLER CHRYSLER AND THEY HAVE NOT HELPED.
 ONE MECHANIC HAS TOLD ME THIS HAPPENS MORE OFTEN THAT YOU WOULD
 THINK. BUT STILL NO RESOLVE.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




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 February 1, 2018 NHTSA ID NUMBER: 11066457
 Components: ENGINE
 NHTSA ID Number: 11066457
 Incident Date June 1, 2017
 Consumer Location ROCKVILLE, MN
 Vehicle Identification Number 1C3CDFBB9FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2015 DODGE DART. THE CONTACT STATED THAT
 THERE WAS NO WARNING INDICATOR TO SPECIFY WHEN THE OIL WAS LOW.
 AS A RESULT, THE VEHICLE STALLED MORE THAN ONCE AND THE FAILURE
 WAS PROGRESSING INTERMITTENTLY. THE OWNER'S MANUAL HAD SPECIFIC
 GUIDELINES THAT WERE IN DIRECT CONFLICT WITH WHAT THE CONTACT WAS
 EXPERIENCING. THE DEALER (MCKAY'S DODGE CHRYSLER JEEP RAM FIAT,
 2020 FRONTAGE RD S, WAITE PARK, MN 56387, (320) 252-7170) PROVIDED AN
 OIL CHANGE, INDICATED THAT AN OIL CONSUMPTION TEST WAS NEEDED, AND
 STATED THAT THEY WOULD NEED TO CHECK THE OIL LEVELS EVERY 500
 MILES. THE CONTACT FELT THAT THIS WAS NOT A PERMANENT SOLUTION
 AND WAS UNABLE TO DETERMINE WHEN THE LEVELS WERE LOW. THE
 MANUFACTURER WAS NOTIFIED OF THE FAILURE AND PROVIDED NO
 SOLUTION. THE FAILURE MILEAGE WAS NOT AVAILABLE. *TT *TR
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 January 30, 2018 NHTSA ID NUMBER: 11065865
 Components: ENGINE
 NHTSA ID Number: 11065865


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 Incident Date January 29, 2018
 Consumer Location ETOWAH, TN
 Vehicle Identification Number 1C3CDFEB3FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 DRIVING CAR AT 25 MPH AND IT STALLED WITHOUT WARNING AND WITHOUT
 ANY CLEAR INDICATION WHAT THE PROBLEM WAS. AFTER 10 MINUTES THE
 CAR STARTED AND WAS DRIVEN HOME. A SIMPLE GOOGLE SEARCH
 REVEALED LOW OIL COULD BE THE PROBLEM. OIL WAS CHECKED AND NOTED
 THAT IT WAS VERY LOW; THERE HAD BEEN NO INDICATION THAT THE CAR
 HAD LOW OIL. WE CALLED THE DEALER TO SET UP AN OIL CHANGE
 APPOINTMENT AND DESCRIBE THE STALLING PROBLEM AND THEY SAID "YOU
 MUST HAVE A DART", LIKE IT IS A COMMON PROBLEM. IT IS A VERY
 DANGEROUS SITUATION TO SHUT OFF THE ENGINE WITHOUT WARNING. CAR
 HAS APPROXIMATELY 40,000 MILES......

 WEREN'T LOW OIL INDICATORS INVENTED IN THE 70'S?
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




 January 10, 2018 NHTSA ID NUMBER: 11061608
 Components: ENGINE
 NHTSA ID Number: 11061608
 Incident Date January 5, 2018
 Consumer Location CENTERTON, AR
 Vehicle Identification Number 1C3CDFBB2FD****


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 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 VEHICLE HAS SCARING ON THE CYLINDER WALLS THAT IS SOAKING UP OIL
 AND CAUSING A EXCESSIVE OIL LOSS, CAUSING THE VEHICLE TO SHUT DOWN
 WHEN TAKING A CORNER AND NOT ABLE TO RESTART THE VEHICLE FOR A
 PERIOD OF TIME. I HAVE BEEN STRANDED IN THE MIDDLE OF THE ROAD A FEW
 TIMES NOT ABLE TO START THE VEHICLE RESULTING IN ME HAVING TO JUMP
 START IT TO BE ABLE TO GET THE VEHICLE TO MOVE. APPARENTLY THIS IS A
 COMMON PROBLEM WITH THE 2.4L TIGERSHARK ENGINES. I AM AFRAID I WILL
 BE STRANDED ON A BUSY STREET AND THE POSSIBILITY TO BE HIT. MY
 VEHICLE IS CURRENTLY AT THE SELLING DEALERSHIP AND IS TELLING ME
 THAT CHRYSLER IS DENYING THE CLAIM FOR A ENGINE REPLACEMENT, THEY
 ARE TELLING THE TECH TO GIVE ME AN OIL CHANGE AND SEND ME ON MY
 WAY.
 1 Affected Product
 Vehicle

 MAKE                           MODEL                     YEAR




 DODGE                          DART                      2015




 September 23, 2017 NHTSA ID NUMBER: 11025143
 Components: ENGINE
 NHTSA ID Number: 11025143
 Incident Date September 20, 2017
 Consumer Location YPSILANTI, MI
 Vehicle Identification Number 1C3CDFBB3FD****

 Summary of Complaint
 CRASHNo

 FIRENo




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 INJURIES0

 DEATHS0

 MY 17 YEAR OLD SON WAS DRIVING HIS 2015 DODGE DART ON THE ROAD AND
 IT COMPLETELY STALLED ALMOST CAUSING AN ACCIDENT. IT THEN STARTED
 UP AGAIN AND DROVE. CAR WOULD NOT START AT SCHOOL UNTIL MANY
 TRIES. CAR 1 DAY LATER, 09202017, STALLED AGAIN WHILE DRIVING ON THE
 ROAD AND AND THANK GOD NO CARS WERE BEHIND HIM FOR A REAR END
 ACCIDENT. THIS IS A VERY DANGEROUS CONDITION ! DEALER INDICATED THE
 CAR WAS LOW ON OIL (ONLY 25% OIL LEFT). NO ENGINE OIL LIGHT HAS COME
 ON TO EVER WARN US. ADDITIONALLY, THE DODGE DART FORM WEBSITE
 INDICATES THIS IS A COMMON PROBLEM WITH THE DART'S 2.4L ENGINE
 CONSUMING 1 QUART OR MORE EVERY 2,000 MILES. THIS IS RIDICULOUS FOR
 A NEW CAR TO BURN THIS MUCH OIL AND CAN CAUSE THE ENGINE SHUT OFF
 PROTECTION WHILE ON A FREEWAY OR BUSY ROAD WHICH CAN CAUSE AN
 ACCIDENT. DEALERS ARE NOT SURE WHAT TO SAY AND DON'T INVESTIGATE
 THIS ENGINE PROBLEM. CAN SOMEONE HELP THIS COMMUNITY OF CAR
 OWNERS BEFORE ACCIDENTS OCCUR AND LOSS OF VEHICLE ENGINES AT
 GREAT EXPENSE TO OWNER. MANY PEOPLE ON THE MENTIONED FORUM
 ALSO INDICATE THEIR OIL LOW LIGHT HAS NEVER COME ON TO WARN THEM
 BEFORE THE CAR AUTOMATICALLY SHUTS OFF "WHILE DRIVING"
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




 June 15, 2017 NHTSA ID NUMBER: 10995335
 Components: ENGINE
 NHTSA ID Number: 10995335
 Incident Date October 14, 2015
 Consumer Location DAYTON, OH
 Vehicle Identification Number 1C3CDFBB5FD****

 Summary of Complaint
 CRASHNo




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 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2015 DODGE DART. WHILE DRIVING VARIOUS
 SPEEDS, A BEEPING NOISE WAS HEARD COMING FROM THE INSTRUMENT
 PANEL. THE BATTERY WARNING INDICATOR ILLUMINATED AND THE VEHICLE
 STALLED WHILE IN TRAFFIC. THE VEHICLE RESTARTED AFTER THE THIRD
 ATTEMPT. THE FAILURE RECURRED EACH TIME THE OIL LIFE REACHED
 BETWEEN 30% OR 40%. THE VEHICLE WAS TAKEN TWICE TO THE DEALER
 (DAVE DENNIS, LOCATED IN BEAVER CREEK, OH) WHERE IT WAS DIAGNOSED
 THAT THE OIL WAS TWO QUARTS LOW. THE VEHICLE WAS BEING TESTED FOR
 OIL CONSUMPTION THE VEHICLE WAS REPAIRED. THE MANUFACTURER WAS
 NOT NOTIFIED OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
 35,000. UPDATED 08/03/17*LJ *JS
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 June 1, 2017 NHTSA ID NUMBER: 10992732
 Components: ENGINE
 NHTSA ID Number: 10992732
 Incident Date April 26, 2017
 Consumer Location ANDOVER, KS
 Vehicle Identification Number 1C3CDFBB3FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 I BOUGHT THIS CAR USED WITH ~ 31,000 MILES. I'VE PUT ~ 10,000 MILES ON
 THE CAR AND THE CAR HAS USED 3 QUARTS OF OIL IN THAT TIME. I ALSO
 HAVE HAD THE OIL CHANGED TWICE. ONCE WHEN I FIRST PURCHASED THE
 CAR AND ONCE TWO WEEKS AGO. INITIALLY THE CAR STALLED 3 TIMES WHILE
 IN MOTION AND TURNING.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




 April 24, 2017 NHTSA ID NUMBER: 10980171
 Components: STRUCTURE, ENGINE, FUEL/PROPULSION
 SYSTEM
 NHTSA ID Number: 10980171
 Incident Date May 16, 2016
 Consumer Location LIVONIA, MI
 Vehicle Identification Number 1C3CDFBB4FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 NO OIL LIGHT ON, NO ENGINE LIGHT, AND IT STALLED. THERE IS A PROBLEM
 WITH OIL CONSUMPTION WITH THE 2.4 ENGINE. MY CAR DIED AFTER BACKING
 OUT OF MY DRIVEWAY AND STARTING A TURN. Y CAR STALLED OUT TWICE IN
 THE MIDDLE OF INTERSECTIONS VERY DANGEROUS. BATTERY LIGHT CAME
 ON, MUSIC CONTINUED, BUT ENGINGE JUST DIED. THE STEERING WHEEL
 FROZE (NO MORE POWER STEERING), AND I COULDN'T PRESS MY BRAKE
 DOWN, IT JUST SAT THERE IN THE ROAD. I CHECKED THE LEVEL OF MY OIL
 AND IT DOESN'T EVEN COVER THE CURVED PART OF THE DIPSTICK, THAT'S
 HOW LOW IT IS.THE CAR STALLED OUT AGAIN, A FEW MONTHS AFTER THE OIL
 CHANGE. THE CAR IS NOT INDICATING WHEN IT NEEDS OIL, AND IS SHUTTING


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 ITSELF OFF SO IT DOESN'T OVER HEAT WHILE DRIVING AT SPEEDS 70MPH+
 AND IN THE MIDDLE OF INTERSECTIONS WHILE TURNING.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




 February 28, 2017 NHTSA ID NUMBER: 10957685
 Components: ENGINE
 NHTSA ID Number: 10957685
 Incident Date December 1, 2015
 Consumer Location CHESAPEAKE, VA
 Vehicle Identification Number 1C3CDFEB8FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 BURNING OIL EVER SINCE WE BOUGHT IT, CONSTANTLY HAVING TO ADD OIL
 BETWEEN OIL CHANGES. DEALERSHIP SAYS ITS WITHIN SPECS. CONTACTED
 CHRYLSER CARE ABOUT ISSUES AS WELL. STILL HAS NOT BEEN CORRECTED.
 VERY DISAPPOINTED, A NEW CAR SHOULD NOT BURN/CONSUME 1 TO 2
 QUARTS OF OIL BETWEEN OIL CHANGES.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




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 January 5, 2017 NHTSA ID NUMBER: 10939899
 Components: ENGINE
 NHTSA ID Number: 10939899
 Incident Date August 10, 2015
 Consumer Location SOUTHPORT, NC
 Vehicle Identification Number 1C3CDFEB2FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 DODGE DART GT 2015 SUDDENLY SHUTS OFF. NO WARNING LIGHTS ONLY A
 DINGING NOISE. ONLY 4200 MILES ON CAR THE FIRST TIME. SHUT OFF 8
 DIFFERENT TIMES SENSE THEN. TOOK IT TO DEALER WAS TOLD OUT OF OIL.
 CAR WOULD SHUT OFF TURNING OR STOPPING FAST. GOT OIL CHANGE FROM
 DEALER. LESS THAN 4000 MILES LATER SAME THING, CAR SHUT OFF AND
 RADIO STILL ON AND DASH LIGHTS WORKING ONE DING NOISE. TURNED ONTO
 BUSY ROAD AND DART SHUT OFF, WAS SCARY FOR A FEW MINUTES FAST
 TRAFFIC COMING FROM BEHIND, HAD TO GET OFF ROAD QUICK. OIL NOT
 LEAKING IN DRIVEWAY. TECH AT DEALER SAID HE SAW THIS PROBLEM
 BEFORE AND TOLD ME TO WATCH MY ENGINE. CAR HAS NEVER MAID TO A
 5000 MILE OIL CHANGE WITHOUT SHUTTING OFF. ONE TIME SHUT OFF AFTER
 ONLY 2540 MILES SENSE LAST OIL CHANGE. DEALER FOUND NO SIGNS OF
 LEAKS OR SIGNS OF OIL BURNING UP. THE 7TH OIL CHANGE THEY
 REPROGRAMMED THE OIL SENSOR. LOSING ALL MY FREE OIL CHANGES TO
 QUICKLY. NOW I'M 750 MILES FROM DUE OIL CHANGE AND SHUT OFF AGAIN. I
 CHECKED OIL STICK - BONE DRY. PUT 2 QUARTS OIL ( O2 20W) IN , THAT GOT
 ME TO THE BOTTOM OF LOW MARK ON STICK. CAR RUNNING OK TO GET TO
 DEALER AGAIN.ALSO CHECKED OIL GAGE IN CAR, SAID:43% OIL LIFE
 REMAINING. THAT WAS A LIE. OIL IS ALWAYS VERY LOW AND ENGINE HOT BUT
 NOT OVERHEATING. OIL SHOULD BE DIRTY AND MAYBE A LITTLE LOW BUT
 NOT VERY VERY LOW. I WANT TO MAKE THE CAR LAST 150 TO 200 THOUSAND
 MILES WITH GOOD CARE. WORRIED ENGINE WILL NOT EVEN GET CLOSE. GOT
 EXTENDED WARRANTY. CAR ENGINE GONNA BLOW UP BEFORE IT'S TIME AND
 BLAME ME. CAR SHUTTING OFF WITH NO WARNING AND NO OIL, CANT GET TO
 5000 MILE OIL CHANGE. HAD A 2013 DART, LOVED IT, TRADED IN FOR 2015
 WITH BETTER WARRANTY. MISS OLD DART.


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 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 January 4, 2017 NHTSA ID NUMBER: 10939710
 Components: ENGINE
 NHTSA ID Number: 10939710
 Incident Date December 19, 2016
 Consumer Location SANDWICH, IL
 Vehicle Identification Number 1C3CDFEB9FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2015 DODGE DART. THE CONTACT STATED THAT
 THE ENGINE STALLED WHEN THE VEHICLE MADE A COMPLETE STOP. THE
 DEALER DIAGNOSED THAT THE VEHICLE NEEDED THE OIL CONSUMPTION
 MODULE RESET. THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER
 WAS NOT NOTIFIED. THE FAILURE MILEAGE WAS 27,000.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




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 November 29, 2016 NHTSA ID NUMBER: 10928530
 Components: ENGINE
 NHTSA ID Number: 10928530
 Incident Date November 8, 2016
 Consumer Location STARKSBORO, VT
 Vehicle Identification Number N/A

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2015 DODGE DART. WHILE DRIVING 15 MPH, THE
 VEHICLE LOST POWER AND SHUT OFF. ALSO, THE CHECK ENGINE INDICATOR
 ILLUMINATED. THE VEHICLE WAS COASTED TO THE SIDE OF THE ROAD AND
 RESTARTED. THE FAILURE RECURRED THREE TIMES. THE VEHICLE WAS
 TAKEN TO A LOCAL DEALER WHERE AN OIL CHANGE WAS PERFORMED. THE
 MANUFACTURER WAS NOT MADE AWARE OF THE FAILURE. THE FAILURE
 MILEAGE WAS 21,000. THE VIN WAS NOT PROVIDED.
 1 Affected Product
 Vehicle

 MAKE                              MODEL                  YEAR




 DODGE                             DART                   2015




 December 8, 2015 NHTSA ID NUMBER: 10808943
 Components: ENGINE, UNKNOWN OR OTHER
 NHTSA ID Number: 10808943
 Incident Date February 26, 2015
 Consumer Location RAYTOWN, MO
 Vehicle Identification Number 1C3CDFBBXFD****


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 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I PURCHASED THE CAR THE LAST WEEK OF FEBRUARY. I BEGAN HAVING CAR
 PROBLEMS IN MID MARCH. I CALLED THE DEALERSHIP AND WAS SCHEDULED
 TO COME IN FOR SERVICE. WAS TOLD THE SOFTWARE NEEDED TO BE
 UPDATED. GOT CAR BACK AND IT STOPPED ON ME TWICE AND HAD TO BE
 TOWED TO THE DEALERSHIP. IN MAY I WAS GIVEN A LOANER CAR AND WAS
 TOLD MY OIL CONSUMPTION WAS BAD. RECEIVED CAR BACK IN JUNE AND
 CAR WAS REPOSED FOR NONPAYMENT. I GOT CAR OUT AND IT STOPPED
 AGAIN. IN JULY THE DEALERSHIP THEN GAVE ANOTHER LOANER AND TOLD
 ME MY CAR WILL BE A CHRYSLER BUYBACK. FROM JULY TO SEPTEMBER
 NEVER HEARD ANYTHING FROM CHRYSLER TILL SEPT 24 ADVISING ME TO GO
 TO THE DEALERSHIP TO CHOOSE ANOTHER VEHICLE. DEALERSHIP DID NOT
 KNOW WHAT I WAS TALKING ABOUT SO WE CONTACTED CHRYSLER TO GET A
 CLEAR UNDERSTANDING OF WHAT NEEDS TO BE DONE. WAS TOLD TO
 CHOOSE A CAR AND THEY WOULD TAKE CARE OF THE REGISTRATION AND
 THE PAPER WORK. DROVE THE 2015 JEEP RENEGADE FOR ALMOST A MONTH
 AND I CHECKED IN WITH THE DEALERSHIP ONCE A WEEK TO FIND OUT IF THE
 PAPERWORK WAS COMPLETE. FIRST WEEK OF NOVEMBER WAS TOLD BY
 DEALERSHIP TO BRING BACK THE JEEP AND MY 2015 DART WAS REPAIRED. I
 WAS TOLD TO REGISTER THE DODGE DART AND THEN I COULD GET THE JEEP
 BACK.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 October 27, 2015 NHTSA ID NUMBER: 10786476
 Components: ENGINE
 NHTSA ID Number: 10786476
 Incident Date October 6, 2015



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 Consumer Location HEMET, CA
 Vehicle Identification Number 1C3CDFBB9FD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2015 DODGE DART. WHILE DRIVING AT VARIOUS
 SPEEDS, THE VEHICLE STALLED WITHOUT WARNING. THE VEHICLE WAS ABLE
 TO RESTART; HOWEVER, THE FAILURE RECURRED. THE VEHICLE WAS TOWED
 TO THE DEALER WHERE IT WAS DIAGNOSED THAT THE VEHICLE REQUIRED AN
 OIL CONSUMPTION TEST. WHILE DRIVING THE VEHICLE FOR THE OIL
 CONSUMPTION TEST, THE VEHICLE BEGAN TO OVERHEAT. THE VEHICLE WAS
 TAKEN BACK TO THE DEALER WHERE IT WAS DIAGNOSED THAT THE COOLING
 FAN FAILED AND NEEDED TO BE REPLACED. THE VEHICLE WAS NOT
 REPAIRED. THE MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
 FAILURE MILEAGE WAS 9,000.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2015




 October 20, 2015 NHTSA ID NUMBER: 10783654
 Components: ENGINE, POWER TRAIN, STEERING
 NHTSA ID Number: 10783654
 Incident Date October 19, 2015
 Consumer Location SOUTHPORT, FL
 Vehicle Identification Number 1C3CDFBB5FD****

 Summary of Complaint
 CRASHNo



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 FIRENo

 INJURIES0

 DEATHS0

 AFTER NUMEROUS TIMES THE CAR HAS STALLED IN TRAFFIC, DODGE PLACED
 VEHICLE ON AN OIL CONSUMPTION STUDY, THE CAR FAILED THE STUDY AND
 A NEW ENGINE WAS PLACED IN THE CAR. THE CAR WENT BACK TO THE
 DEALER THE NEXT DAY DUE TO METAL TO METAL GRINDING IN STEERING AT
 THE SLIGHTEST HINT OF A TURN OR CURVE
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2015




 March 5, 2020 NHTSA ID NUMBER: 11316307
 Components: ENGINE
 NHTSA ID Number: 11316307
 Incident Date September 18, 2019
 Consumer Location LAS VEGAS, NV
 Vehicle Identification Number 1C3CDFBB8GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2016 DODGE DART. THE CONTACT STATED WHILE
 DRIVING AT 30 MPH, THE VEHICLE STALLED WITHOUT WARNING. THE
 CONTACT STATED THAT THERE WAS NO OIL IN THE ENGINE. THE CONTACT’S
 HUSBAND RESTARTED THE VEHICLE AFTER OIL WAS ADDED. THE CONTACT
 MENTIONED ENGINE OIL WAS ADDED EACH TIME PRIOR TO THE VEHICLE
 BEING DRIVEN. THE CONTACT CALLED LOCAL DEALER TOWBIN DODGE LLC
 LOCATED AT (275 AUTO MALL DR, HENDERSON, NV 89014, (702) 558-3800) AND


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 WAS INFORMED THAT THE ENGINE NEEDED TO BE REPLACED. THE VEHICLE
 WAS NOT REPAIRED. THE MANUFACTURER WAS NOT INFORMED OF FAILURE.
 THE FAILURE MILEAGE WAS APPROXIMATELY 88,784.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2016




 October 2, 2019 NHTSA ID NUMBER: 11265660
 Components: ENGINE
 NHTSA ID Number: 11265660
 Incident Date September 19, 2019
 Consumer Location SOUTH GLENS FALLS, NY
 Vehicle Identification Number 1C3CDFBB5GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I HAVE BEEN TAUGHT TO CHECK MY OIL CONSISTENTLY. I BOUGHT MY
 VEHICLE WITH 68,089. CHECKED OIL AND IT WAS FULL. AT 69,089 I CHECKED
 OIL AND WAS 2 QUARTS LOW!! SO I FILLED IT AND CALLED DEALERSHIP. THEY
 SAID THEY COULD DO AN OIL CONSUMPTION TEST BUT THAT IT’S NORMAL
 FOR VEHICLES TO BURN OIL( ABOUT 1 QUART PER 1000 MILES. MY VEHICLE
 BURNED DOUBLE THAT. I DID SOME RESEARCH ONLINE TO FIND THAT MANY
 OTHER CONSUMERS WITH THE SAME VEHICLE HAD THE SAME PROBLEM !
 DODGE SHOULD HAVE A REMEDY FOR A VERY SERIOUS PROBLEM. SINCE
 FILLING I HAVE BURNED 1 QUART IN 700 MILES.
 1 Affected Product
 Vehicle



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 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2016




 July 10, 2019 NHTSA ID NUMBER: 11230764
 Components: ENGINE
 NHTSA ID Number: 11230764
 Incident Date February 7, 2019
 Consumer Location NORTH LAS VEGAS, NV
 Vehicle Identification Number 1C3CDFBB4GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2016 DODGE DART. WHILE DRIVING, THE CONTACT
 HEARD AN ABNORMAL BEEPING NOISE. UPON OPENING THE HOOD, THE
 CONTACT CHECKED THE OIL AND NOTICED THAT THE DIPSTICK WAS BONE
 DRY. THERE WERE NO WARNING INDICATORS ILLUMINATED. THE CONTACT
 STATED THAT THE VEHICLE WAS CONSUMING AN EXCESSIVE AMOUNT OF OIL.
 THE CONTACT TOOK THE VEHICLE TO AN INDEPENDENT MECHANIC WHO
 PERFORMED A LEAK AND COMP TEST AND THE RESULTS WERE NEGATIVE.
 THE VEHICLE WAS TAKEN TO PRESTIGE CHRYSLER JEEP DODGE (6520
 CENTENNIAL CENTER BLVD, LAS VEGAS, NV 89149) WHERE THE PVC VALVE
 WAS REPLACED; HOWEVER, THE FAILURE RECURRED. THE MANUFACTURER
 WAS CONTACTED AND DID NOT ASSIST. THE FAILURE MILEAGE WAS 71,144.
 *AS *TR
 1 Affected Product
 Vehicle




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 MAKE                              MODEL                  YEAR




 DODGE                             DART                   2016




 February 23, 2019 NHTSA ID NUMBER: 11182064
 Components: ENGINE
 NHTSA ID Number: 11182064
 Incident Date February 15, 2019
 Consumer Location EVANSVILLE, IN
 Vehicle Identification Number 1C3CDFBB5GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I HAVE A 2016 DODGE DART SXT THAT I BOUGHT OVER A YEAR AGO WHEN IT
 HAD 20, XXX MILES ON IT, IT NOW HAS 46,XXX MILES ON IT, IT DOES THE
 WEIRDEST THING, I WILL BE DRIVING IT AND IT JUST DIES AND DOESN'T WANT
 TO START BACK UP UNTIL A COUPLE MINUTES LATER, IT IS EMBARRASSING
 AND A TRAFFIC HAZZARD TO BE STALLED IN THE MIDDLE OF AN
 INTERSECTION OR AT A STOP LIGHT, IT HAS BEEN DOING THIS OFF AND ON
 SINCE I BOUGHT THE CAR, IT IS VERY DANGEROUS, IT WASNT UNTIL
 RECENTLY THAT I REALIZED THAT THIS IS HAPPENING EVERY TIME THAT MY
 OIL CHANGE PERCENTAGE IS AT 25% OR BELOW, SO I GOOGLED THE
 PROBLEM I AM HAVING AND IT IS A COMMON ISSUE WITH THESE CARS , THEY
 ARE CONSUMING OIL IN BETWEEN OIL CHANGES TO THE POINT THE ENGINE IS
 1 TO 2 QUARTS LOW AND A SENSOR DETECTS THAT AND IS STALLING THE
 ENGINE TO PROTECT IT, DOES THIS CAR NOT HAVE AN OIL LIGHT TO DETECT
 WHEN THE OIL IS LOW? HOW IS THE WAY THEY HAVE THIS SET UP LEGAL?
 THEY NEED TO RECALL THESE CARS AND FIX THE ENGINE BEFORE SOMEONE
 DIES !
 1 Affected Product
 Vehicle



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 MAKE                              MODEL                  YEAR




 DODGE                             DART                   2016




 February 12, 2019 NHTSA ID NUMBER: 11176480
 Components: ENGINE
 NHTSA ID Number: 11176480
 Incident Date February 11, 2019
 Consumer Location FORT SMITH, AR
 Vehicle Identification Number 1C3CDFBB5GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MY 2016 DODGE DART STALLED AT A STOPLIGHT WHILE IDLING. I CALLED THE
 DODGE DEALERSHIP AND THEY TOLD ME TO CHECK THE OIL LEVEL IN MY
 CAR. IF IT GETS TOO LOW THE CAR WILL STALL. I HAD JUST CHANGED MY OIL
 ABOUT 3 MONTHS BEFOREHAND WITH THE CORRECT WEIGHT AND AMOUNT
 OF OIL ACCORDING TO THE OWNERS MANUAL. BUT WHEN I CHECKED, SURE
 ENOUGH THERE WAS ALMOST NO OIL ON THE DIPSTICK. APPARENTLY THESE
 CARS BURN OIL AND DODGE DOESN'T SEEM TO BE WILLING TO FIX THE
 PROBLEM. THERE ARE OTHER SIMILAR COMPLAINTS ALL OVER THE INTERNET
 THAT I HAVE FOUND. THIS COULD BE VERY DANGEROUS IF PULLING OUT INTO
 TRAFFIC AND YOU GET HIT BECAUSE YOUR CAR DIES. ALSO I WONDER HOW
 LONG THE CAR WILL LAST WHILE BURNING OIL THE WAY IT DOES. AS A
 SINGLE FATHER TAKING CARE OF 3 KIDS BY MYSELF I CANNOT JUST GO OUT
 AND GET A NEW CAR WHENEVER I WANT. THIS IS VERY IRRITATING.
 1 Affected Product
 Vehicle




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 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2016




 January 15, 2019 NHTSA ID NUMBER: 11170247
 Components: ENGINE
 NHTSA ID Number: 11170247
 Incident Date January 15, 2019
 Consumer Location DAYTON, VA
 Vehicle Identification Number 1C3CDFBB0GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I HAVE A 2016 DODGE DART WITH 63K ON IT. MY 16 YEAR OLD DRIVES IT AND
 THREE DAYS AGO SHE IS PULLING OUT SCHOOL AND THE CAR CUTS OFF. SHE
 HAS HAVE IT JUMPED WE TAKE IT TO GET BATTERY CHECKED AND
 ALTERNATOR. IT SHOWS BATTERY IS NO GOOD SO WE REPLACE BATTERY.
 THE NEXT MORNING AND SHE ON WAY TO WORK AND IT CUTS OFF AGAIN SO
 WE GET IT RUNNING AND DRIVE IT AROUND AND CUTS OFF TWICE MORE. I
 CONTACTED DEALER AND THEY TEST IT AND TELL ME IT IS 2 QUARTS LOW ON
 OIL AND IT WILL CUT OFF. WE HAVE HAD NO INDICATOR LIGHT THAT OIL WAS
 LOW THE OIL HAD BEEN CHANGED LESS THEN TWO MONTHS AGAIN. THEY GO
 TO SAY WE CAN REQUEST A OIL CONSUMPTION TEST IN 500 MILES AND
 PROCEED TO GIVE ME SERVICE BULLETIN ON OIL CONSUMPTION. THIS IS A
 SAFETY ISSUE AS WHAT IF WE ARE DRIVING ON FREEWAY AND IT JUST CUTS
 OFF! I ASK WHY IT’S BURNING OIL IF IT’S OIL LEAK AND THEY SAY THERE NO
 LEAK BUT DON’T KNOW WHERE OIL IS GOING AND IT’S A COMMON PROBLEM
 IN DARTS TO CHECK OIL EVERY 500 MILES.
 1 Affected Product
 Vehicle




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 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2016




 April 2, 2018 NHTSA ID NUMBER: 11082559
 Components: ENGINE
 NHTSA ID Number: 11082559
 Incident Date April 2, 2018
 Consumer Location CHICAGO, IL
 Vehicle Identification Number 1C3CDFBB5GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THE VEHICLE KEPT TURNING OFF WHILE DRIVING. IT HAPPENED MORE OFTEN
 WHEN VEHICLE WAS COLD. CHECKED THE BATTERY AND ALTERNATOR AT A
 MECHANIC AND ALL WAS FINE. ITS A PROBLEM WITH ENGINE OIL. THE CAR
 CONSUMES OIL AT A RATE OF APPROXIMATELY 1 QUARTS PER EVERY 500
 MILES. WHEN THE OIL REACHES LOW LEVELS, THE VEHICLE WILL TURN OFF
 WHILE DRIVING CAUSING THE STEERING WHEEL TO GET STIFF AND DIFFICULT
 TO HIT THE BREAKS.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2016




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 December 26, 2017 NHTSA ID NUMBER: 11056386
 Components: ENGINE
 NHTSA ID Number: 11056386
 Incident Date December 23, 2017
 Consumer Location WATERVLIET, NY
 Vehicle Identification Number 1C3CDFBB3GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 VEHICLE HAS HAD ISSUES FROM ABOUT 1300 MILES . THE CAR WILL
 RANDOMLY SHUT OFF WHILE DRIVING WITH NO WARNING SIGNS AND HAS A
 HARD TIME RESTARTING , IF IT WILL RESTART. THE CAR HAS BEEN BACK TO
 THE DEALER SEVERAL TIMES AND DIAGNOSED AND THEY CAN NOT FIND THE
 ANYTHING IN THE COMPUTER SYSTEM OR FIGURE OUT WHATS WRONG . I
 WAS TOLD BE THE DEALER THAT IT IS ACCEPTABLE FOR THE CAR TO
 CONSUME UP TO 1 QUART OF OIL EVERY THOUSAND MILES OR SO . THE ONLY
 INFORMATION I WAS GIVEN IS THAT IT IS A KNOWN OIL PROBLEM AND THAT
 FCA (FIAT CHRYSLER AUTOMOTIVE) IS NOT WILLING TO DO ANYTHING ABOUT
 THE MATTER . THE VEHICLE NOW HAS ABOUT 41 THOUSAND MILES ON IT AND
 IS BACK AT THE DEALERSHIP FOR FURTHER TESTING . THIS HAS NOT ONLY
 COST ME EXTRA MONEY BUT HAS CREATED MAJOR SAFETY CONCERNS , I
 HAD BROKEN DOWN WHILE GETTING ON AND OFF OF THE HIGHWAY WITH MY
 FAMILY IN THE CAR AND HAVE BEEN STUCK ON OR IN THE MIDDLE OF THE
 ROAD SEVERAL TIMES . THESE 2.4L FIAT MOTORS ARE EXTREMELY UNSAFE ! I
 HAVE TOLD DODGE I REFUSE TO DRIVE THE CAR UNTIL THEY FIX THE ISSUE ,
 ALSO I WOULD NOT ACCEPT THE SAME CAR AS A LOANER DUE TO THE FACT
 THAT THE LAST LOANER CAR I HAD SIMILAR TO MINE ALSO HAD THE SAME
 ISSUE AT THE LAST SERVICE .
 1 Affected Product
 Vehicle

 MAKE                           MODEL                     YEAR




 DODGE                          DART                      2016




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 December 12, 2017 NHTSA ID NUMBER: 11054118
 Components: ENGINE
 NHTSA ID Number: 11054118
 Incident Date December 10, 2017
 Consumer Location KISSIMMEE, FL
 Vehicle Identification Number 1C3CDFGBXGD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2016 DODGE DART. IN OCTOBER OF 2016, WHILE
 DRIVING 25 MPH, THE VEHICLE STALLED WITHOUT WARNING. THE VEHICLE
 WAS TAKEN TO A LOCAL DEALER (NAPLETON CHRYSLER JEEP DODGE RAM,
 1460 E OSCEOLA PKWY, KISSIMMEE, FL 34744) WHERE IT WAS DIAGNOSED
 THAT THERE WAS INADEQUATE OIL IN THE VEHICLE DURING PRODUCTION,
 WHICH CAUSED THE SENSOR TO SHUT THE VEHICLE DOWN. THE VEHICLE
 WAS REPAIRED, BUT THE FAILURE RECURRED. WHILE DRIVING 40 MPH, THE
 OIL INDICATOR WAS FLASHING. THE VEHICLE WAS TAKEN BACK TO THE
 DEALER WHERE A COMPRESSION TEST WAS COMPLETED. THE DEALER
 DIAGNOSED THAT THE OIL WAS EVAPORATING AND THE ENGINE NEEDED TO
 BE REPLACED. THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS
 NOTIFIED OF THE FAILURE AND DENIED THE CLAIM. THE MANUFACTURER
 ADVISED THE CONTACT TO ADD OIL AND REFER TO THE OWNER'S MANUAL.
 THE FAILURE MILEAGE WAS 15,638.
 1 Affected Product
 Vehicle

 MAKE                           MODEL                     YEAR




 DODGE                          DART                      2016




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 March 27, 2017 NHTSA ID NUMBER: 10968698
 Components: ENGINE
 NHTSA ID Number: 10968698
 Incident Date January 15, 2017
 Consumer Location LAVEEN, AZ
 Vehicle Identification Number 1C3CDFBB7GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2016 DODGE DART. WHILE DRIVING 45 MPH, THE
 VEHICLE STALLED AND THE BATTERY AND SERVICE ENGINE INDICATORS
 ILLUMINATED. THE FAILURE RECURRED MULTIPLE TIMES. THE VEHICLE WAS
 TOWED TO A DEALER WHERE IT WAS DIAGNOSED THAT THE ENGINE HAD NO
 OIL, WHICH CAUSED THE FAILURE. AFTER ADDING OIL, THE FAILURE
 RECURRED. THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS
 NOT MADE AWARE OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE
 WAS 38,000.
 1 Affected Product
 Vehicle

 MAKE                             MODEL                   YEAR




 DODGE                            DART                    2016




 June 27, 2016 NHTSA ID NUMBER: 10876954
 Components: ELECTRICAL SYSTEM, VEHICLE SPEED
 CONTROL, ENGINE
 NHTSA ID Number: 10876954
 Incident Date June 26, 2016



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 Consumer Location OXON HILL, MD
 Vehicle Identification Number 1C3CDFBB9GD****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MY 2016 DODGE DART OVERHEATS THE RPM GOES UP AND DOWN WHEN THE
 CAR IS IN MOTION. ON JUNE 26 MY CAR CUT OFF ON ME IN THE MIDDLE OF
 THE ROAD AND IT TOOK ME TEN MINS TO START IT UP MY CHECK ENGINE
 LIGHT KEEPS GOING ON AND OFF AND EVERY TIME I TAKE IT IN THEY SAY ITS
 NOTHING WRONG WITH IT. MY OIL PRESSURE LIGHT COMES ON AND I HAVE
 100 PERCENT OIL IN MY CAR. WHEN I PUT ON BRAKES IT ACTS LIKE IT DOESNT
 WANT TO STOP SO IHAVE TO BRAKE FARTHER AWAY FROM PEOPLES CARS.
 1 Affected Product
 Vehicle

 MAKE                            MODEL                    YEAR




 DODGE                           DART                     2016




 June 16, 2019 NHTSA ID NUMBER: 11220386
 Components: ENGINE
 NHTSA ID Number: 11220386
 Incident Date March 23, 2019
 Consumer Location WATERTOWN, TN
 Vehicle Identification Number 1C3CCCAB2FN****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0




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 DEATHS0

 I WAS HAVING ISSUES WITH MY CAR I WOULD GET IN IT TO DRIVE IT AND IT
 WOULD JUST DIE ON ME IN THE MIDDLE OF THE ROAD AND THAT IS VERY
 DANGEROUS IT GOT TO WHERE I DIDNT DRIVE IT WELL THEN FINALLY ON A
 DAY OFF I HAD TO GET MY CHRYSLER 200 TOWED INTO THE NEAREST
 CHRYSLER DEALERSHIP WHICH IS THE DEALERSHIP LOCATED IN MT JULIET
 WELL I HAVE ALWAYS HAD MY OIL CHANGED ON TIME AND I HAVE ALL THE
 DOCUMENTS THAT IT WAS CHANGED WELL WE GOT IT TOWED AND THE
 MECHANIC CHECKED MY OIL AND THERE WAS NO OIL WHAT SO EVER IN MY
 CAR SO I WOULD UP HAVING TO LEAVE MY CAR FOR THERE MANAGER TO
 SUPPOSEDLY CHANGE THE OIL AND DO AN OIL PRESSURE TEST WELL I HAD
 MY CAR PICKED UP BY MY GRANDMA AND THEY DIDNT GIVER HER A RECEIPT
 BECAUSE THE MECHANIC TOLD US IT WOULD BE AN OPEN ACCOUNT UNTIL
 THEY FIGURED OUT IF IT WAS USING OIL WELL I DROVE IT 1 THOUSAND MILES
 AND TOOK IT BACK AND THE MANAGER WITH THE MECHANIC CHECKED MY OIL
 AND THEY SAID IT WAS FULL WELL THEN NEXT THOUSAND MILES WE TOOK IT
 BACK AND THEY DECIDED TO GIVE US ISSUES BECAUSE THE MECHANIC WE
 WHERE WORKING WITH HAD LEFT THE COMPANY AND WE HAVE A RECEIPT
 FROM BOTH TIMES AND IT STATES IN THE FIRST RECEIPT THAT THEY PUT IN
 THEIR SYSTEM THAT THE OIL CONSUMPTION TEST DID BEGIN ON THAT DATE
 WELL THE MANAGER TOLD US THAT THEY ONLY HAD RECORD OF US BEING
 THERE TWICE WHICH BOTH TIMES WAS TO CHECK THE OIL WELL THE
 MANAGER STATED THAT I WOULD HAVE TO BRING IT BACK AND GET AN OIL
 CHANGE AND START THE ENTIRE PROCESS OVER AGAIN AND MY CAR IS ONLY
 IN WARRANTY FOR A FEW MORE MONTHS MY CAR IS USING OIL AND THERE IS
 NO LEAKS THAT ARE HAPPENING I WANT THIS ISSUE FIXED OR YOU CAN BUY
 THIS CAR OUT I AM TIRED OF HAVING TO MISS WORK OR GOING THROUGH
 HECK TO TRY TO GET THIS RESOLVED. I DO HAVE THE PROOF AND I'M NOT
 SCARED TO TAKE THIS INTO LAWFUL ORDERS. THANK YOU VERY MUCH
 WESTLY ASHFORD I ALSO HAVE A VIDEO OF WHAT THE CAR WAS DOING AND I
 AM NOT AFRAID TO SHOW IT
 1 Affected Product
 Vehicle

 MAKE                                  MODEL                YEAR




 CHRYSLER                              200                  2015




 June 12, 2019 NHTSA ID NUMBER: 11219470


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 Components: ENGINE
 NHTSA ID Number: 11219470
 Incident Date June 12, 2019
 Consumer Location GERMANTOWN, MD
 Vehicle Identification Number 1C3CCCAB4FN****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MY OIL WAS RECENTLY CHANGED 2/28/2019, THE OIL IS 3 MONTHS OLD AND
 I'VE ONLY DRIVE 2,133 MILES SINCE. MY CAR TAKES FULL SYNTHETIC OIL AND
 SHOULD LAST FOR 6,000 MILES. I CHECKED IT TODAY 6/12/2019 AND MY CAR
 TELLS ME I HAVE 66% LEFT AND I DO NOT I NEED TO GET A OIL CHANGED
 EVEN BEFORE HITTING 3,000 MILES BECAUSE THERE IS NONE LEFT. I HAVE
 HAD THIS ISSUE HAPPEN 3/4 TIMES WITHIN THE LAST YEAR AND A HALF AND
 I'VE ONLY HAD THE CAR FOR 2 YEARS. A FEW MONTHS BACK I GOT THIS
 CHECKED OUT BY MY MECHANIC AND EVEN A SECOND MECHANIC, HE TOLD
 ME THAT THE PISTONS RINGS ON MY CAR ARE BAD AND IS CAUSING
 EXCESSIVE OIL CONSUMPTION, THERE IS NO LEAK ETC. SO MY CAR
 CONSTANTLY RUNS OUT OF OIL BEFORE ITS TIME TO CHANGE IT AND IS
 CAUSING MY CAR TO CUT OFF IN THE MIDDLE OF DRIVING. MY MECHANIC
 ADVISED ME TO REPORT THIS PROBLEM AND EITHER CHANGE THE OIL EVERY
 3,000 MILES OR GET RID OF THE CAR. IT IS DANGEROUS FOR THE CAR TO
 CONTINUOUSLY CUT OFF WHILE DRIVING IT. SO I AM REPORTING THIS
 PROBLEM I'VE HAD FOR THE PAST YEAR AND A HALF WITH HOPES FOR A
 SOLUTION
 1 Affected Product
 Vehicle

 MAKE                                MODEL                  YEAR




 CHRYSLER                            200                    2015




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 May 24, 2019 NHTSA ID NUMBER: 11209709
 Components: ENGINE
 NHTSA ID Number: 11209709
 Incident Date May 24, 2019
 Consumer Location ORANGE, VA
 Vehicle Identification Number 1C3CCCBBXFN****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TAKATA RECALL: MY VEHICLE, CHRYSLER 2015 200 CONSISTENTLY STALLS
 OUT WHEN OIL GETS TOO LOW. OIL GOES LOW UNEXPECTEDLY AND FAR
 BEFORE ANY SCHEDULED OIL MAINTENANCE. ENGINE IS BURNING OIL MUCH
 TOO QUICKLY. VEHICLE WILL STALL WITH NO WARNING IN THE MIDDLE OF
 TRAFFIC.
 1 Affected Product
 Vehicle

 MAKE                                     MODEL             YEAR




 CHRYSLER                                 200               2015




 December 26, 2017 NHTSA ID NUMBER: 11056581
 Components: ENGINE
 NHTSA ID Number: 11056581
 Incident Date July 17, 2017
 Consumer Location BELLEVUE, OH
 Vehicle Identification Number 1C3CCCAB8FN****

 Summary of Complaint
 CRASHNo


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 FIRENo

 INJURIES0

 DEATHS0

 MY HUSBAND AND I WENT ON A TRIP FROM BELLEVUE, OHIO TO FORT WAYNE,
 INDIANA. AROUND 300 MILES ROUND TRIP, GIVE OR TAKE. MY HUSBAND
 CHECKED THE OIL BEFORE WE LEFT AND IT WAS FINE. NO PROBLEMS ON THE
 RIDE THERE. AFTER THE CAR SAT FOR 3-4 HOURS WE WERE LEAVING THE
 PARK, GOING DOWN A HILL WITH A CURVE AT THE BOTTOM AND THE CAR
 JUST DIES. NO STEERING AND NO BRAKES. ALL THE LIGHTS ON THE DASH
 CAME ON. WE HAD NO IDEA WHAT WAS GOING ON. WE ALMOST HIT A
 CAMPER. THE ONLY THING THAT STILLED WORKED WAS THE RADIO. THE CAR
 FINALLY STOPS ON ITS OWN. MY HUSBAND PUTS IT IN PARKING AND CHECKS
 ON THE OUTSIDE OF THE CAR TO MAKE SURE WE DIDN'T HIT ANYTHING.
 WHEN HE TRUE TO START THE BACK UP, IT STRUGGLES THE FIRST TWO
 TRIES. THE THIRD TIME IT TURNED OVER. NO LIGHTS ON DASH TO EXPLAIN
 THE STALL. WE NERVOUSLY DRIVE THE CAR ALL THE WAY HOME. I CALLED
 THE DEALERSHIP THE NEXT MORNING. WE TOOK THE CAR IN TO BE CHECKED
 OUT. DEALERSHIP HAD THE CAR OVER NIGHT. WE GO IN TO PICK UP OUR CAR
 AND THEY TELL US THAT THEY HAD TO PUT 3 3/4 QUARTS OF OIL IN IT. IT
 BEING LOW ON OIL CAUSED THE SAFETY FEATURE IN THE CAR TO SHUT THE
 ENGINE DOWN. DIDNT KNOW ABOUT THIS FEATURE. WE WERE ALSO
 INFORMED THAT SINCE OUR CAR HAD OVER 50,000 IT WILL BURN THROUGH A
 QUART OF OIL EVERY 750 MILES..SERIOUSLY. AFTER THE DEALERSHIP TRIED
 TO CHARGE US 75 DOLLARS FOR LABOR, WHICH I REFUSED TO PAY. I WENT
 HOME AND RESEARCHED THE OIL CONSUMPTION FOR OUR CAR. ON THE
 CHRYSLER WEBSITE IT DOES STATE THAT OUR CAR WILL CONSUME 1 QUART
 OF OIL FOR EVERY 750 MILES. CHRYSLER SAYS THIS IS ACCEPTABLE. MY DAD
 IS A RETIRED MECHANIC OF 45 YEARS AND HES BEYOND OUTRAGED THAT
 THIS IS ACCEPTABLE. AT 80 AN OIL CHANGE AND FOR SOMEONE THAT
 TRAVELS A LOT, THAT'S RIDICULOUSLY EXPENSIVE. HOW CAN THIS BE
 ACCEPTABLE? MIND BLOWN BY THIS.
 1 Affected Product
 Vehicle

 MAKE                                 MODEL                 YEAR




 CHRYSLER                             200                   2015




 December 1, 2017 NHTSA ID NUMBER: 11051820

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 Components: ENGINE
 NHTSA ID Number: 11051820
 Incident Date November 27, 2017
 Consumer Location LONG BEACH, CA
 Vehicle Identification Number 1C3CCCAB0FN****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MY CAR HAS SHUT OFF 3 TIMES JUST THIS WEEK WHILE DRIVING. EACH TIME I
 WAS IDLING AT A STREET LIGHT. THE DASH SAYS TO PUT CAR BACK IN PARK
 AND THEN IT TAKES A COUPLE OF TRIES TO RESTART IT. TOOK IT TO THE
 DEALER THEY SAID I HAVE NO OIL. BUT I JUST HAD AN OIL CHANGE NOT TOO
 LONG AGO AND I HAVE NO LEAKS. THIS CAR IS CONSUMING WAY TOO MUCH
 OIL. NO WARNING LIGHT CAME ON THAT I WAS LOW ON OIL. I WAS IN A
 YIELDING LEFT HAND TURNING LANE WHEN THE CAR SHUT OFF 2 OF THE 3
 TIMES. IF IT HAD HAPPENED A FEW SECONDS LATER I COULD HAVE BEEN T-
 BONED WITH MY SON IN THE CAR ON THAT SIDE. VERY DANGEROUS!!!!! THIS
 SHOULD BE RECALLED.
 1 Affected Product
 Vehicle

 MAKE                                     MODEL             YEAR




 CHRYSLER                                 200               2015




 May 10, 2017 NHTSA ID NUMBER: 10984771
 Components: ENGINE
 NHTSA ID Number: 10984771
 Incident Date May 8, 2017


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 Consumer Location FRESNO, CA
 Vehicle Identification Number 1C3CCCAB1FN****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 AFTER WORK I GO TO START MY CAR AND THERE WAS A HARD START AND
 THEN MY CAR DIED. THE ENGINE FELT LIKE IT WAS GOING TO POP OUT OF
 THE HOOD. WELL, CHRYSLER WAS INFORMED AND MY CAR WAS TOWED NEXT
 DAY TO THE DEALERSHIP. MY SERVICE MAN CALLED APPROXIMATELY 45 MIN
 AFTER MY CAR WAS DELIVERED TO THEM EXPLAINING TO ME I WAS ABOUT 2
 QUARTS LOW ON OIL. THIS IS IMPOSSIBLE I EXPLAINED TO HIM. ON THE
 DRIVER SIDE THERE IS A STICKER SHOWING I JUST GOT MY OIL CHANGE NOT
 TO LONG AGO. MY SERVICE MAN SAID THIS IS A KNOWN PROBLEM WITH THIS
 ENGINE. THIS TYPE OF ENGINE BURNS OIL AND I RECOMMEND WHEN YOU FILL
 UP YOUR TANK TO CHECK YOUR OIL EVERY TIME. I FILL UP ONCE A WEEK SO I
 HAVE TO CHECK MY OIL ONCE A WEEK!? THIS IS RIDICULOUS MY NEW CAR
 BURNS OIL!? GOOD THING THIS HAPPENED AFTER WORK. WHAT IF MY CAR
 WOULD HAVE STALLED WHILE DRIVING WITH MY KIDS. I DRIVE ACROSS TOWN
 TO TAKE AND PICK UP MY KIDS FROM SCHOOL. NOW I HAVE TO CARRY A
 QUART OF OIL SO MY CAR DOESN'T STALL AND DIE ON ME
 1 Affected Product
 Vehicle

 MAKE                                  MODEL                YEAR




 CHRYSLER                              200                  2015




 January 10, 2017 NHTSA ID NUMBER: 10944184
 Components: ENGINE, UNKNOWN OR OTHER, ELECTRICAL
 SYSTEM
 NHTSA ID Number: 10944184
 Incident Date August 20, 2016



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 Consumer Location MADISON, WV
 Vehicle Identification Number N/A

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THE VEHICLE IS CONSUMING THE OIL AND THEN SHUTS OFF WITH NO
 WARNING HAS LEFT US IN 2 INTERSECTIONS HAD THE CAR LOOKED AT BOTH
 TIMES THE DEALERSHIP IS MONITORING OIL AFTER CRYSELR DONE A RESET
 BUT IT IS STILL CONSUMING OIL I HAVE SPOKE WITH CRYSLER BUT NOTHING
 HAS BEEN DONE TO ENSURE MY FAMILIES SAFTY.
 1 Affected Product
 Vehicle

 MAKE                                MODEL                  YEAR




 CHRYSLER                            200                    2015




 November 29, 2016 NHTSA ID NUMBER: 10928462
 Components: UNKNOWN OR OTHER, ENGINE
 NHTSA ID Number: 10928462
 Incident Date November 26, 2016
 Consumer Location TEMPLE HILLS, MD
 Vehicle Identification Number 1C3CCCAB7FN****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 CAR BURNS ENTIRE SUPPLY OF OIL IN LESS THAN 1500 MILES. ENGINE OIL
 DEPLETES WITHOUT WARNING THEN THE CAR CUTS OFF IN THE MIDDLE OF
 THE ROAD. OIL LIFE READS IMPROPERLY ON THE DASH.
 1 Affected Product
 Vehicle

 MAKE                                 MODEL                 YEAR




 CHRYSLER                             200                   2015




 November 1, 2016 NHTSA ID NUMBER: 10920591
 Components: ENGINE
 NHTSA ID Number: 10920591
 Incident Date July 11, 2016
 Consumer Location NEWBURG, MD
 Vehicle Identification Number 1C3CCCAB8FN****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 CAR WILL STALL WHILE COMING TO A STOP OR SLOWING TO MAKE A TURN.
 TOOK IT IN TO THE DEALERSHIP AND WAS TOLD THAT THE OIL NEEDED TO BE
 CHANGED AND THAT THE ENGINE WOULD AUTOMATICALLY "SHUT OFF" IF AN
 OIL CHANGE IS NEEDED. PROBLEM HAS OCCURRED NUMEROUS TIMES EVEN
 AFTER HAVING THE OIL CHANGED REGULARLY. *TR
 1 Affected Product
 Vehicle




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 MAKE                                     MODEL             YEAR




 CHRYSLER                                 200               2015




 May 31, 2018 NHTSA ID NUMBER: 11098922
 Components: ENGINE
 NHTSA ID Number: 11098922
 Incident Date April 19, 2018
 Consumer Location WEST MELBOURNE, FL
 Vehicle Identification Number 1C3CCCAB0HN****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MY CHRYSLER 200 STARTED SHUTTING ITSELF OFF WHILE DRIVING. THE
 LIGHTS AND RADIO STAY ON BUT THE BRAKES AND STEERING ARE MANUAL.
 THE DEALERSHIP INFORMED ME THAT I WAS LOW ON OIL AND THAT THE CAR
 IS EQUIPPED WITH A SAFETY FEATURE TO SHUT THE CAR OFF WHEN OIL IS
 LOW. THIS CAR IS 10 MTHS OLD AND ONLY 11K MILES. IT CONTINUED AFTER
 THAT VISIT AND AFTER SHAMING CHRYSLER ON TWITTER, THEY OPTED TO
 REPLACE THE MOTOR. THE PROBLEM IS THIS CAR SHUTS OFF WHILE DRIVING.
 THE ENGINES ARE THE SAME AND THIS PROBLEM WILL KILL SOMEONE. THE
 AUTO IS NOT EQUIPPED WITH A LOW OIL LIGHT AND I HAVE BEEN TOLD TO
 CHECK OIL EVERY MONTH!

 I AM PICKING THE CAR UP TODAY WITH AN ENGINE THAT IS NEW TO THIS CAR
 BUT, I AM PETRIFIED TO DRIVE IT. IF IT SHUTS OFF ON THE FREEWAY, HOW AM
 I TO GET OVER BEFORE I GET HIT. CHRYSLER STATES THAT IS NO PROBLEM IF
 THIS ENGINE IS FAULTY BECAUSE THEY WILL COVER UNDER WARRANTY.

 WHAT WILL IT TAKE-SOMEONE DYING? I DO NOT WANT TO BE THAT PERSON.

 SINCE I AM GOING TO GET THIS DEATH TRAP I CALLED TO MAKE SURE THEY
 FIXED THE CRUISE CONTROL. DEALERSHIP STATED THAT THE CAR IS NOT ON


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 RECALL. FROM ALL MY RESEARCH ALL 200'S ARE ON RECALL. SO, NOW I HAVE
 A CAR THAT WILL TURN OFF WHEN THE OIL GETS LOW (WITH NO WARNING
 LIGHT TO TELL YOU OIL IS LOW) AND I CANNOT USE THE CRUISE CONTROL.
 1 Affected Product
 Vehicle

 MAKE                                  MODEL                YEAR




 CHRYSLER                              200                  2017




 March 3, 2020 NHTSA ID NUMBER: 11315836
 Components: ENGINE
 NHTSA ID Number: 11315836
 Incident Date September 24, 2019
 Consumer Location CARLISLE, PA
 Vehicle Identification Number 3C4NJDAB6HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 VEHICLE TRIED TO SHUT OFF - SENT VEHICLE TO GARAGE AND THEY RESET
 SOME CODES. SECOND TIME - VEHICLE SHUT OFF IN THE MIDDLE OF AN
 EIGHT LANE HIGHWAY GOING 55 MPH - NO ACCIDENT. HAD TO HAVE VEHICLE
 TOWED TO DEALERSHIP. REPLACED MODULE IN ENGINE. THIRD TIME -
 VEHICLE SHUT OFF AGAIN ON A TWO LANE HIGHWAY - NO ACCIDENT.
 ACCORDING TO GARAGE THE VEHICLE WAS LOW ON OIL BUT NO OIL LIGHT
 CAME ON. READ QUITE A FEW OF THESE JEEP VEHICLES ARE HAVING THIS
 PROBLEM.



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 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 February 4, 2020 NHTSA ID NUMBER: 11307060
 Components: ELECTRONIC STABILITY CONTROL, ELECTRICAL
 SYSTEM, ENGINE
 NHTSA ID Number: 11307060
 Incident Date October 1, 2017
 Consumer Location FERN PARK, FL
 Vehicle Identification Number 3C4NJDDBXHT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I PURCHASED MY 2017 JEEP COMPASS TRAIL HAWK BRAND NEW, MY
 PRODUCTION DATE IS APRIL 26, 2017. I HAVE HAD ENDLESS ISSUES W/ THIS
 VEHICLE, I HAVE OWNED OTHER JEEPS AND NEVER HAD THESE ISSUES. IT
 STARTED W/ MY RADIO MAKING THIS CRAZY INDESCRIBABLY LOUD SOUND
 ALONG W/ FREEZING THE SCREEN. TURNING OFF THE RADIO WOULD NOT
 STOP THE SOUND, NOT EVEN TURNING OFF THE ENTIRE VEHICLE WOULD
 STOP THE SOUND. SERV DEPT COULD NEVER REPLICATE, I BROUGHT IT IN
 ONE TIME WHEN RADIO WAS ON A NON-EXISTENT PHONE CALL AND ACTING
 UP. THEY TOOK MY CAR AND TURNED IT OFF, NEXT DAY TOLD ME THEY
 COULDN'T REPLICATE. I DEMANDED THAT THE GIRL WHO TOOK MY CAR IN
 AND SAW WHAT WAS GOING ON SPEAK WITH THE TECH TO EXPLAIN WHAT
 SHE SAW. THEY AGREED TO ORDER ME A NEW RADIO. ADDITIONALLY I BEGAN
 HAVING ISSUES W/ JEEP THROWING ON RANDOM DASH INDICATOR LIGHTS
 AND NOT STARTING. TCM PIN WAS SPREADING AND CAUSING INDICATORS B
 BATTERY CONTROLLING STOP/START TESTED BAD. THEY REPLACED. I HAD
 ALREADY REPLACED MY A BATTERY A DAY OR SO BEFORE. DAMAGE WIRES


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 FOUND AT FUSE BOX (THEY BLAMED ME) I HAVE MADE ZERO MODS TO CAR
 OR EVEN LIFTED THE HOOD MYSELF. BCM REPLACED. I HAD ISSUE W/ ENGINE
 CUTTING OFF WHILE DRIVING IN ROAD & PULLING EBRAKE BEFORE I'M DUE
 FOR OIL CHANGE. HAD OIL CONSUMPTION TEST DONE AND THEY SAY IT'S
 FINE, THIS IS BECAUSE CHRYSLER MAKES UP THE CONSUMPTION STANDARD.
 SO YOU WILL ALWAYS BE "FINE." THIS IT TO PREVENT YOU FROM GETTING TO
 COMPRESSION TEST. I GO IN MANY TIMES FOR THIS SAME ISSUE.
 EVENTUALLY, I DEMAND WITH FCA THAT THEY ALLOW COMPRESSION TEST
 AND REPLACE MY ENGINE WHEN THEY DISCOVER IT'S DUE TO OIL CONSUMP.
 TECH REPORTS OIL LOW, SPRK PLUG CYL 3 IS OIL FOULED, COMPRESS. TEST
 DONE AIR IS FELT FROM OIL FILL, BORE SCOPE OF CYL 3 WALLS ARE SCORED
 AND HAVE OIL ON THEM. FCA APPROVES NEW ENGINE FOR ME. AFTER NEW
 ENG. I DRIVE 13 MI ENG IS OVER HEATING. T-STAT CLAMP REPLACED. DO NOT
 GIVE UP & DOCUMENT WELL!
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 January 24, 2020 NHTSA ID NUMBER: 11301719
 Components: ELECTRICAL SYSTEM, ENGINE, SUSPENSION
 NHTSA ID Number: 11301719
 Incident Date November 7, 2017
 Consumer Location CARLISLE, PA
 Vehicle Identification Number 3C4NJDAB8HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ENGINE HAS EXCESSIVE OIL CONSUMPTION WHICH CAUSES THE VEHICLE TO
 JUST STALL OUT. RECOMMENDED 5000 OIL CHANGES BUT DEALERS WILL SAY


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 3000 AND TO CHECK OIL EVERY 2 DAYS BECAUSE IT MAY NEED 4-5 QTS
 BETWEEN OIL CHANGES. THIS STARTED WITHIN 5 MONTHS OF DRIVING IT OFF
 THE SHOWROOM FLOOR. DEALER AND CHRYSLER CORP ARE AWARE OF
 ISSUES BUT NO FIX HAS BEEN DISCOVERED NOT DO THEY CARE. MY
 DAUGHTER AND HER 2 BABIES WERE ALMOST KILLED WHEN IT JUST STALLED
 EXITING A MAJOR FREEWAY AND AN 18 WHEELER RIGHT BEHIND HER...CASE
 MANAGER (3RD CASE SINCE 2017) AT FCA WAS “OH, SO SCARY”. THIS IS A
 SERIOUS, DEADLY ISSUE AND DEALERS OMIT THINGS FROM THE SYSTEM,
 PERFORM THE CONSUMPTION TESTS IMPROPERLY OR DON’T RECORD THEM
 AT ALL SO THEY WILL NOT HAVE TO DO WHAT’S RIGHT.

 THE VEHICLE WILL TOTALLY SHUT DOWN WHILE TURNING, EMERGENCY
 BRAKE WILL APPLY AND IT TAKES A BIT TO GET IT STARTED AGAIN.
 SOMETIMES LIGHTS ON DASH WILL ALL FLASH ON OR SOMETIMES JUST THE
 OIL LIGHT (EVEN WITHIN 2 WEEKS OF AN OIL CHANGE).
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 December 17, 2019 NHTSA ID NUMBER: 11289571
 Components: ENGINE, POWER TRAIN, UNKNOWN OR OTHER
 NHTSA ID Number: 11289571
 Incident Date December 9, 2019
 Consumer Location BURLESON, TX
 Vehicle Identification Number 3C4NJCBBXHT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 2 TIMES THE SAME INCIDENT OCCURRED 6 MONTHS APART, ONCE IN JUNE
 2019 MILEAGE 22046 AND ONCE IN DECEMBER 2019 MILEAGE 28423. BOUGHT
 THE CAR BRAND NEW IN 2017. OIL IS DISSAPPEARING!! THE OIL PRESSURE
 LOW LIGHT WILL FLASH ON - THERE IS A LOSS OF POWER - WHILE DRIVING -
 NO WARNING! THEN THE LIGHT WILL GO OFF. DRIVE TO OIL CHANGE
 BUSINESS TO HAVE THEM CHECK THE OIL LEVEL AND THE JEEP WILL BE 3 TO
 3.5 QUARTS LOW. NO LEAK PRESENT OR OIL SEEN. ENGINE SEEMS TO SLIP
 WHILE DRIVING BEFORE THIS HAPPENS.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 December 16, 2019 NHTSA ID NUMBER: 11289341
 Components: ENGINE
 NHTSA ID Number: 11289341
 Incident Date December 13, 2019
 Consumer Location SALEM, IN
 Vehicle Identification Number 3C4NJDDB8HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ENGINE STALLS AT ANY SPEED DUE TO LOW OIL. 2.4 ENGINE HAS EXCESSIVE
 OIL CONSUMPTION TO THE DEGREE OF SHUTTING DOWN IN BETWEEN 5000
 MILE OIL CHANGES. ENGINE HAS 30,000 MILES AND USES 3 QUARTS BETWEEN
 CHANGES "APPARENTLY". CHRYSLER SAYS 1 QUART PER 2000 MILES!!! ON A
 NEW VEHICLE, THIS IS TOTALLY UNACCEPTABLE!
 1 Affected Product
 Vehicle


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 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 December 3, 2019 NHTSA ID NUMBER: 11286711
 Components: ENGINE
 NHTSA ID Number: 11286711
 Incident Date January 1, 2018
 Consumer Location SOUTH EUCLID, OH
 Vehicle Identification Number 3C4NJCBB0HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2017 JEEP COMPASS. THE CONTACT STATED THAT
 THE OIL IN HIS VEHICLE NEEDED TO BE CHANGED EVERY TWO MONTHS. IN
 ADDITION, THE LOW OIL WARNING INDICATOR ILLUMINATED. THE VEHICLE
 WAS TAKEN TO GANLEY CHRYSLER DODGE JEEP RAM (LOCATED AT 310
 BROADWAY AVE, BEDFORD, OH 44146, (440) 232-2121) WHERE IT WAS
 DIAGNOSED THAT THE ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS
 NOT REPAIRED. THE MANUFACTURER WAS NOT NOTIFIED. THE FAILURE
 MILEAGE WAS 51,000.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




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 November 17, 2019 NHTSA ID NUMBER: 11280586
 Components: ENGINE
 NHTSA ID Number: 11280586
 Incident Date September 19, 2019
 Consumer Location CLARKSTON, MI
 Vehicle Identification Number 3C4NJDBB5HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 PROBLEM STARTED AROUND 43K MILEAGE. WHEN TURNING, THE "LOW OIL
 PRESSURE" LIGHT WOULD COME ON, THEN THE ENGINE WOULD STALL AND
 SOMETIMES THE EMERGENCY BRAKE WOULD ACTIVATE AND STOP THE CAR. I
 WOULD HAVE TO SHUT VEHICLE OFF AND THEN TURN BACK ON TO OPERATE.
 THIS HAPPENED ON SIDE STREETS AND ONCE ON HIGHWAY. TOOK CAR INTO
 GOLLING (DEALER) AND THEY SAID OIL WAS VERY LOW. I HAD JUST HAD OIL
 CHANGED ABOUT 3K MILES PRIOR TO THAT. DEALER TOLD ME THAT "THESE
 ENGINES ARE KNOWN TO BURN OIL". THEY TOLD ME TO BRING IT BACK AT 2K
 MILES TO HAVE THE OIL CHECKED. AT 2K MILES, THE OIL WAS LOW AGAIN AND
 THEY DID AN OIL CHANGE AND TOLD ME TO BRING IT BACK AT 1K MILES. I
 BROUGHT IT BACK AT 1K MILES THEY NEEDED TO "TOP IT OFF" AND TOLD ME
 TO BRING IT BACK AGAIN AT 2K MILES. THE DEALER ALSO MENTIONED THAT IF
 NEXT OIL CHECK IT WAS SHOWING LOW, THEY MAY NEED TO REPLACE
 ENGINE.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 November 5, 2019 NHTSA ID NUMBER: 11278195


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 Components: ENGINE
 NHTSA ID Number: 11278195
 Incident Date November 4, 2019
 Consumer Location CLARENCE CENTER, NY
 Vehicle Identification Number 3C4NJCAB8HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 VEHICLE SHUTS DOWN WHILE OPERATING. TOOK IT TO THE DEALER AND THE
 DEALER SAID IT USES A QUART OF OIL EVERY 500 MILES THEREBY BY
 CAUSING ENGINE TO SHUT DOWN DURING OPERATION. DEALER STATED
 CHRYSLER IS AWARE OF PROBLEM AND NO SOLUTIONS HAVE BEEN
 PROVIDED YET. DEALER ALSO STATED TO GET AN OIL CHANGE EVERY 3000
 MILES. THIS VEHICLE HAS 33,720 MILES AND WAS PURCHASED JUN 2017.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 October 18, 2019 NHTSA ID NUMBER: 11269297
 Components: ENGINE
 NHTSA ID Number: 11269297
 Incident Date October 17, 2019
 Consumer Location DUNDEE, OR
 Vehicle Identification Number 3C4NJCAB8HT****

 Summary of Complaint
 CRASHNo



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 FIRENo

 INJURIES0

 DEATHS0

 MY VEHICLE HAS 15562 MILES ON IT AND IS 400 MILES FROM IT'S OIL CHANGE.
 WHEN DRIVING VEHICLE ON NEIGHBORHOOD STREETS IT WOULD RANDOMLY
 STALL AND SHUT OFF CAUSING A LOSS OF POWER STEERING AND VEHICLE
 ACCELERATION. WHEN WE ARRIVED HOME WE DID A ONCE OVER ON THE
 ENGINE AND THE OIL DIP STICK WAS BONE DRY. WE CALLED OUR LOCAL
 DEALERSHIP AND THEY MENTIONED THAT THEY HAD SEEN SEVERAL JEEP
 COMPASSES WITH THE SAME ISSUE.*DT

 CONSUMER STATED OUR VEHICLE WAS ABOUT 300 MILES SHY OF THE 5000
 MILE SUGGESTED OIL CHANGE FROM JIFFY LUBE (PER MFG'S SPEC). SO 4700
 MILES SINCE PREVIOUS OIL CHANGE.*JB
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 October 7, 2019 NHTSA ID NUMBER: 11266724
 Components: ENGINE
 NHTSA ID Number: 11266724
 Incident Date October 5, 2019
 Consumer Location MASSAPEQUA, NY
 Vehicle Identification Number 3C4NJDCB7HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 ON SATURDAY, 10/5/19 WHILE DRIVING VEHICLE FOR ONLY A MINUTE AND
 MAKING A RIGHT TURN, THE OIL LIGHT CAME ON (OIL PRESSURE LOW) AND
 THEN TURNED OFF. I THEN STOPPED MY VEHICLE AND WAITED ABOUT AN
 HOUR BEFORE CHECKING THE OIL AND IT WAS DOWN ALMOST 2 1/2 QUARTS.
 THIS IS ONLY AFTER APPROXIMATELY 3,200 MILES SINCE THE LAST OIL
 CHANGE. I WENT T TO JEEP SERVICE IN GARDEN CITY, NY FIRST THING
 MONDAY MORNING AND WAS TOLD BY 2 DIFFERENT SERVICE WORKERS THAT
 IT IS NORMAL TO BURN THROUGH A QUART OF OIL EVERY 1500 MILES. * THIS
 IS NOT NORMAL*
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 October 2, 2019 NHTSA ID NUMBER: 11265624
 Components: ENGINE
 NHTSA ID Number: 11265624
 Incident Date August 19, 2019
 Consumer Location CROWN POINT, IN
 Vehicle Identification Number 3C4NJDAB4HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2017 JEEP COMPASS. THE CONTACT STATED THAT
 THE VEHICLE BURNED EXCESSIVE OIL. THE VEHICLE WAS TAKEN TO JAMES
 CHRYSLER DODGE JEEP RAM (13007 WICKER AVE, CEDAR LAKE, IN 46303,
 (219) 267-1226) WHERE THE VEHICLE WAS TESTED FOR OIL CONSUMPTION
 EVERY 500 MILES. THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
 MANUFACTURER WAS NOT MADE AWARE OF THE FAILURE. THE FAILURE
 MILEAGE WAS 21,008. *BF*JB


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 1 Affected Product
 Vehicle

 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2017




 April 2, 2019 NHTSA ID NUMBER: 11193286
 Components: ENGINE
 NHTSA ID Number: 11193286
 Incident Date April 1, 2019
 Consumer Location MILWAUKEE, WI
 Vehicle Identification Number 3C4NJDDB6HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THE VEHICAL (2017 JEEP COMPASS TRAILHAWK) AUTOMATICALLY SHUT DOWN
 AND INHALED THE PARKING BREAK WHILE THE CAR WAS IN MOTION ON A
 BUSY STREET WITHOUT ANY INDICATION OF AN ISSUE BY THE DASHBOARD.
 THE VEHICAL TOOK SEVERAL ATTEMPTS TO TURN BACK ON. ONCE IT WAS
 BACK ON, I WAS ABLE TO GET THE VEHICAL TO THE DEALERSHIP AND THEY
 INDICATED THAT THE OIL LEVEL WAS AT THE BOTTOM OF THE DIP STICK. THE
 VEHICAL WASN’T AT ITS REQUIRED OIL CHANGE YET AND NO INDICATION OF
 LOW OIL OR LOW OIL PRESSURE WAS INDICATED TO ME THROUGH ITS
 SAFETY SYSTEM.
 1 Affected Product
 Vehicle




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 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2017




 April 1, 2019 NHTSA ID NUMBER: 11193188
 Components: ENGINE
 NHTSA ID Number: 11193188
 Incident Date May 1, 2018
 Consumer Location SAGINAW, MI
 Vehicle Identification Number 3C4NJDBB4HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ENGINE USES OIL. HAVE TO ADD OIL SEVERAL TIMES BEFORE NEXT OIL
 CHANGE IS DUE.
 1 Affected Product
 Vehicle

 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2017




 November 22, 2018 NHTSA ID NUMBER: 11153251
 Components: ENGINE
 NHTSA ID Number: 11153251



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 Incident Date November 22, 2018
 Consumer Location ROBERT LEE, TX
 Vehicle Identification Number 3C4NJDDB5HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MY 2017 JEEP COMPASS HAS ONLY 14,000 MILES ON IT. I MADE A TURN TODAY
 AND NOTICED THE LOW OIL INDICATOR CAME ON. I IMMEDIATELY TOLD MY
 HUSBAND AND HE CHECKED THE OIL AND IT WASN'T EVEN SHOWING UP ON
 THE DIP STICK. IT CAUSED MY ENGINE TO TURN OFF IN AN INTERSECTION
 AND I HAD TO HOPE THAT I COULD GET OUT OF THE INTERSECTION WITHOUT
 GETTING HIT. I MANAGED TO GET IT TURNED BACK ON AND THE EMERGENCY
 BRAKE WAS AUTOMATICALLY ENGAGED WHEN THE ENGINE TURNED OFF. I
 DISENGAGED THE EMERGENCY BRAKE AND STARTED MY ENGINE AND MADE
 IT HOME. WE DID ADD 3 QUARTS OF OIL. SO, I RESEARCHED THIS "PROBLEM"
 ONLINE AND FOUND MANY PEOPLE HAVING THE SAME PROBLEM WITH THIS
 ENGINE BURNING OIL LIKE CRAZY. I'M NOT SURE IF MY ENGINE IS DAMAGED
 OR NOT (DUE TO THE OIL BEING BASICALLY DRY). I AM PLANNING ON TAKING
 IT IN TO THE DEALERSHIP. WE ADDED OIL TO GET IT BACK TO THE NORMAL
 LEVEL, BUT TO ME WE JUST COVERED UP THE PROBLEM. A NEW MOTOR
 SHOULD NOT BURN THROUGH 4 1/2 QUARTS OF OIL IN 5,000 MILES.
 SOMETHING NEEDS TO BE DONE. I FEEL LIKE MY $30,0000.00 VEHICLE IS A
 LEMON.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 October 15, 2018 NHTSA ID NUMBER: 11140516
 Components: ENGINE
 NHTSA ID Number: 11140516


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 Incident Date October 4, 2018
 Consumer Location TEMPE, AZ
 Vehicle Identification Number 3C4NJDBB5HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 AROUND 8:50AM OCTOBER 4TH, 2018 MY WIFE AND BABY WERE AT A CITY
 STREET RED LIGHT STOPPED AND UPON ACCELERATING THE CAR
 COMPLETELY SHUT OFF AND THE STEERING-WHEEL LOCKED UP. AFTER
 ABOUT 5 MINUTES SHE WAS ABLE TO START IT UP AGAIN. WE LIVE IN THE CITY
 SO THIS COULD HAVE BEEN MUCH WORSE AT ANY DIFFERENT LIGHT AT ANY
 TIME OF DAY.

 I BROUGHT IT IN FIRST THING THE NEXT MORNING TO THE DEALERSHIP AND
 WAS TOLD THAT LOW OIL CAN CAUSE AIRPOCKETS IN THE ENGINE SHUTTING
 THE WHOLE VEHICLE OFF. THE JEEP TECH SAID "THIS HAS BEEN SEEN A LOT
 ON NEWER JEEPS IN THESE MULTI-AIR ENGINES. PEOPLE COME IN FOR THE
 SAME REASON AND HAVE NO INDICATION OF WHAT CAUSED IT. WHEN THEY
 FIRST CAME OUT WE HAD TO DIAGNOSE A LOT AND 99.9% OF THE TIME THAT
 IS THE CAUSE."

 MY CAR WAS AT ~11,200 MILES, AND MY OIL CHANGE STICKER SUGGESTED
 ~11,600 TO GET IT CHANGED AGAIN. I HAD NO OIL LIGHT, LET ALONE WASN'T
 EVEN CLOSE TO THE CERTIFIED TECH'S OIL CHANGE STICKER THAT IS
 PLACED ON THE CAR. THIS IS COMPLETELY UNSAFE AND NOT ACCEPTABLE.
 THE TECH SUGGESTED KEEPING A QUART OF OIL IN MY CAR AND CHECKING
 THE OIL EVERY 1-2K MILES (IN A BRAND NEW VEHICLE!).

 THE DEALERSHIP GM CALLED ME AND ASKED IF I WANTED TO TRADE IN MY
 VEHICLE FOR ITS WORTH TO GET ME IN SOMETHING ELSE SINCE I WASN'T
 SATISFIED, BASICALLY BRUSHING OFF THE MAJOR ISSUE AT HAND. I
 EXPLAINED I WANT THIS VEHICLE GONE AND REFUNDED COMPLETELY. HE
 MENTIONED I COULD TRY MY LUCK WITH THE FCA. I PUT IN A COMPLAINT
 THROUGH JEEP, AND A REP BY THE NAME OF STEVE STANDER CALLED 4
 TIMES THROUGHOUT THE FOLLOWING WEEK AND LEFT NO VOICEMAIL. I
 LOOKED UP HIS # TO VERIFY HE WAS CALLING FROM CHRYSLER. STARTING
 FROM THE FIRST MISSED CALL I LEFT HIM A VOICEMAIL TELLING HIM THE
 BEST TIME WAS ANY TIME AFTER 12:30PM PST. THE NEXT 3 ATTEMPTS HE
 MADE WERE STILL IN THE EARLY MORNING, IGNORING MY VM'S.



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 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2017




 September 4, 2018 NHTSA ID NUMBER: 11124329
 Components: ENGINE
 NHTSA ID Number: 11124329
 Incident Date August 14, 2018
 Consumer Location GLEN BURNIE, MD
 Vehicle Identification Number 3C4NJDDB2HT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ENGINE OIL AND STALLING. I WENT FOR MY 2ND OIL CHANGE 8/27/2018. THE
 SERVICE TECH AND A MECHANIC LISTENED WHEN I SAID THE OIL WAS
 BASICALLY GONE AND MY HUSBAND HAD TO ADD 2 QUARTS. I EVEN CHECKED
 ALL THE SYSTEM WARNINGS AND THERE IS NONE FOR LOW OIL. WHEN
 PULLING OUT INTO AN INTERSECTION THE CAR TOTALLY SHUT OFF AT 4
 DIFFERENT TIMES. SO THE MECHANIC SAID YES THOSE 2.4 ENGINES BURN 1
 QUART EACH 1000 MILES AND WHEN THE OIL IS LOW THE ENGINE WILL JUST
 STOP. I ASKED ABOUT WHY THERE ARE NO WARNING LIGHTS, THE MECHANIC
 AGAIN SAID YES THERE IS NOT ONE. HAVING A CAR JUST SHUT OFF IS SO
 DANGEROUS. IT COULD HAVE BEEN A TERRIBLE ACCIDENT IF ANOTHER CAR
 WAS COMING ANY OF THOSE 4 SHUT OFFS. ALSO MY CAR JERKS WHEN
 SHIFTING GEARS. THE SERVICE TECH COMMENTED I NEEDED A COMPUTER
 UPGRADE. WHILE THERE FOR THE OIL CHANGE SUPPOSEDLY THE UPGRADE
 WAS DONE. IT JUST JERK AGAIN THE OTHER DAY WHEN THE TRANSMISSION
 WAS SHIFTING. THIS CAR IS JUST A YEAR OLD - ALL OF THESE ISSUES ARE
 TERRIBLE AND DANGEROUS.



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 1 Affected Product
 Vehicle

 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2017



 April 11, 2020 NHTSA ID NUMBER: 11320854
 Components: ENGINE
 NHTSA ID Number: 11320854
 Incident Date February 26, 2020
 Consumer Location POWELL, OH
 Vehicle Identification Number 3C4NJDCB2JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 FOUR DIFFERENT TIMES THE CAR HAS SUDDENLY SHUT DOWN WHILE
 DRIVING IN TRAFFIC EVERYTHING SHUT DOWN AND PARKING BRAKE CAME
 ON.HARD TO RESTART AND GET PARKING BRAKE OFF TO GET OUT OF THE
 MIDDLE OF THE ROAD AND TRAFFIC. FIRST TIME AT 11,900 MILES.. NO
 WARNING. OIL HAS BEEN LOW TWO OF THE TIMES WHEN TAKEN TO SERVICE
 CEMTER BUT NO WARNING LIGHTS

 CAME ON. HAPPENED AGAIN AT 18,000 & 22,000 MILES CURRENTLY HAVE
 23,000 MILES
 1 Affected Product
 Vehicle

 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2018




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 April 7, 2020 NHTSA ID NUMBER: 11320394
 Components: ENGINE
 NHTSA ID Number: 11320394
 Incident Date February 27, 2020
 Consumer Location TUSTIN, CA
 Vehicle Identification Number 3C4NJCCB7JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I PURCHASED THE CAR BRAND NEW. SINCE THE BEGINNING IT WAS
 BURNING/LEAKING OIL AS I WAS OFTEN TOLD, BUT CAR SHOULDN?T DO THAT.
 YET DEALERSHIP NEITHER OTHER OIL CHANGE PLACES NEVER CHECKED MY
 VEHICLE FOR ADDITIONAL ISSUES. RECENTLY IT GOT VERY BAD AND I WENT
 TO A DIFFERENT DEALERSHIP AND THOUGHT MAYBE THERE THEY WILL
 CHECK. THEY DID SOME SPECIAL PROCEDURE AND FOUND THERE IS CRACKS
 IN THE ENGINE THAT ARE CAUSING THE OIL ISSUE AND MAY CAUSE VEHICLE
 SHUT DOWN AND CRASH. THEY SAID IT IS MANUFACTURER ISSUE AND IT WAS
 FAULTY ENGINE PUT IN. MY CAR IS JUST LITTLE OVER 1.5 YEAR OLD BUT
 BECAUSE I DRIVE A LOT UNFORTUNATELY WARRANTY DOESN?T COVER IT
 AND THERE IS SOMEHOW NO RECALL ON IT. HOW IS IT POSSIBLE THERE IS NO
 RECALL FOR SUCH A MAJOR ISSUE? EHHH... PLEASE FEEL FREE TO REACH
 OUT TO ME OR DEALERSHIP WITH ANY ADDITIONAL QUESTIONS. OR I CAN
 SEND DIAGNOSIS DOCUMENTS.
 1 Affected Product
 Vehicle

 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2018




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 March 12, 2020 NHTSA ID NUMBER: 11317807
 Components: ENGINE
 NHTSA ID Number: 11317807
 Incident Date February 10, 2019
 Consumer Location FLORENCE, KY
 Vehicle Identification Number 3C4NJDDBXJT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ENGINE IS FAILING MULTIPLE OIL CONSUMPTION TESTS AT DEALERSHIP.
 WHEN ASKED WHAT THE NEXT STEP IS FOR A RESOLUTION WE ARE TOLD IT IS
 ONLY DOCUMENTED. THE VEHICLE IS BURNING 1 QUART OF OIL EVERY 1000
 MILES.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 March 7, 2020 NHTSA ID NUMBER: 11316728
 Components: ENGINE, POWER TRAIN
 NHTSA ID Number: 11316728
 Incident Date February 20, 2020
 Consumer Location WESTERLY, RI
 Vehicle Identification Number 3C4NJDAB4JT****

 Summary of Complaint



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 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 AT THE END OF FEBRUARY 2020 MY 2018 JEEP COMPASS ENGINE WOULD
 SEIZE, WHILE I WAS DRIVING. IT WOULD SHUT OFF, AND AUTOMATICALLY PUT
 ON THE PARKING BRAKE. I WOULD NO LONGER BE ABLE TO ACCELERATE, I'D
 LOSE POWER STEERING, AND THEN IT WOULD STRUGGLE TO RESTART. THIS
 OBVIOUSLY PUT ME AT HIGH RISK FOR CAUSING AN ACCIDENT OR BEING
 INVOLVED IN A COLLISION. BEFORE THE ENGINE SHUT DOWN, I WOULD SEE
 "CANNOT SHIFT WHILE VEHICLE IS IN DRIVE" ON MY DASHBOARD SCREEN. I
 HAD IT TOWED TO DEALERSHIP, AS I WAS RIGHTLY TERRIFIED TO DRIVE IT,
 AND THEY SAID IT WAS A LOOSE ELECTRICAL SHIFTING WIRE. THEY STATED
 THAT THEY SECURED IT AND THAT IT SHOULD BE FINE. IT HAPPENED AGAIN
 TWO DAYS LATER, THIS TIME WITH NO DASHBOARD SCREEN INDICATION,
 ONLY THE D ON MY GEAR STICK FLASHED, AND I BROUGHT IT BACK. UPON
 INSPECTION THE DEALERSHIP SAID THAT I WAS OUT OF OIL AND THIS WAS
 TRIGGERING THE ENGINE SHUT OFF. I WAS 800 MILES OVER FOR AN OIL
 CHANGE (THAT I HAD SCHEDULED BUT WAS UNABLE TO DRIVE TO BECAUSE
 OF THE CAR MALFUNCTIONING) HOWEVER MY CAR HAD GIVEN ME NO
 INDICATION WHATSOEVER THAT IT NEEDED OIL. I NOW MUST GO BACK TO
 THE DEALER IN 1000 MILES FOR AN OIL CONSUMPTION TEST. DEALERSHIP
 PREDICTS I MAY POSSIBLY NEED A NEW ENGINE. MY CAR ALSO JERKS WHEN I
 SWITCH GEARS AND AT TIMES IT STRUGGLES TO START. EVEN IF THE ENGINE
 IS REPLACED THERE IS NO GUARANTEE THAT THE CAR ENGINE WON'T SEIZE
 AGAIN IF IT IS LOW ON OIL, OR THINKS IT IS, AND I SHOULDN'T HAVE TO
 MANUALLY CHECK THE OIL OF A 2018 VEHICLE THAT I PURCHASED WITH THE
 EXPECTATION THAT IT WAS SAFE AND RELIABLE. REALLY DISAPPOINTED WITH
 CHRYSLER. I'VE OWNED JEEPS IN THE PAST THAT WERE GREAT AND LASTED
 FOREVER. THIS IS REALLY SOMETHING THAT CHRYSLER SHOULD CONSIDER
 RECALLING THE WHOLE MAKE/MODEL FOR. I'M AFRAID TO DRIVE ANYWHERE
 OR HAVE OTHER PEOPLE IN MY CAR. MY CAR IS A LIABILITY NOT A SAFE
 PASSENGER VEHICLE.
 1 Affected Product
 Vehicle

 MAKE                  MODEL                              YEAR




 JEEP                  COMPASS                            2018




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 February 27, 2020 NHTSA ID NUMBER: 11311841
 Components: ENGINE
 NHTSA ID Number: 11311841
 Incident Date January 27, 2020
 Consumer Location WADING RIVER, NY
 Vehicle Identification Number 3C4NJDDB5JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 A COUPLE OF DAYS DURING A WEEK'S TIME THE ENGINE WILL SHUT DOWN
 WHILE TAKING MY DAUGHTER TO SCHOOL IN THE MORNING AS I WAS
 TURNING ONTO THE MAIN ROAD OUT OF MY NEIGHBORHOOD. THE ENGINE
 SHUT OFF, THE STEERING BECAME DIFFICULT, AND THE PARKING BRAKE
 ENGAGED. A COUPLE DAYS AFTER THE SECOND TIME THE OIL PRESSURE
 LIGHT CAME ON FOR A SECOND. I CHECK THE OIL AND IT WAS 3 QUARTS LOW.
 NO OTHER WARNING LIGHTS CAME ON. AFTER LOOKING FOR INFORMATION
 ON THE WEB I LEARNED THE ENGINE WAS LOW OR OUT OF OIL AND SHUTTING
 DOWN IS A SAFETY FEATURE AS IS ENGAGING THE EMERGENCY BRAKE IN
 TRAFFIC. I WASN'T DUE FOR AN OIL CHANGE FOR QUITE SOME TIME BASED
 ON JEEP'S RECOMMENDED SCHEDULE, BUT I WAS FORCED TO DO ONE SO
 THEY COULD VERIFY THE ISSUE. I AM CONCERNED FOR MY SAFETY, MY
 FAMILY'S, AS WELL AS OTHER DRIVERS AS I DO NOT KNOW WHEN THE CAR
 WILL SHUT IF I DON'T ACT LIKE I HAVE MY FIRST CAR FROM THE 1960'S AND
 HAD TO CHECK THE OIL WEEKLY.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




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 February 26, 2020 NHTSA ID NUMBER: 11311759
 Components: UNKNOWN OR OTHER
 NHTSA ID Number: 11311759
 Incident Date February 19, 2020
 Consumer Location UNIVERSITY PLACE, WA
 Vehicle Identification Number 3C4NJDDB8JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THE FIRST TIME THIS HAPPENED I WAS ON A CITY STREET IN SEATTLE
 MAKING A RIGHT HAND TURN AND MY JEEP STALLED OUT. I WAS UNABLE TO
 MOVE IT, NO LIGHTS CAME ON WITH ANY WARNING BEFORE IT HAPPENED. ON
 THE SECOND TRY THE JEEP STARTED AND I WAS ABLE TO DRIVE THE 2
 HOURS HOME SAFELY. THE SECOND TIME I WAS ON A SIDE ROAD HAD JUST
 LEFT HOME HEADING TO WORK. AGAIN, NO WARNINGS IT JUST STALLED OUT.I
 STARTED IT AND CONTINUED ON. TONIGHT THE LOW OIL PRESSURE LIGHT
 FLASHED QUICK AS I WAS GOING UP A HILL. I DECIDED TO GOOGLE WHAT
 WAS HAPPENING AND FOUND TONS OF POSTS WITH THE SAME ISSUE BEING
 CAUSED BY NO OIL. I CHECKED THE OIL AND IT WAS BONE DRY. I PURCHASED
 THE VEHICLE BRAND NEW 6 MONTHS AGO AND HAVE 3100 MILES ON IT. THIS
 IS A SAFETY ISSUE.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 February 26, 2020 NHTSA ID NUMBER: 11311557
 Components: ENGINE, POWER TRAIN
 NHTSA ID Number: 11311557



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 Incident Date February 25, 2020
 Consumer Location Unknown
 Vehicle Identification Number 3C4NJDBB9JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MULTIPLE TIMES THE LOW OIL PRESSURE LIGHT FLASHES. IN A FEW
 INSTANCES THE CAR STALLS AND DOESN’T WANT TO START BACK UP
 LEAVING YOU STUCK. LUCKILY WE’VE NEVER BEEN HIT WHEN THIS HAPPENS.
 USUALLY HAPPENS GOING UP A HILL OR AROUND A BEND. OIL LEVEL IN CAR
 IS GOOD AND CHANGED EVERY 3-5000 MILES. IT DOESN’T MATTER IF THE CAR
 IS FULLY WARMED UP OR COLD ENGINE. DOESN’T MATTER IF GAS LEVEL IS AT
 A 1/4 OR 3/4 TANK. I CHECKED FOR RECALLS AND THERE WAS A RECALL FOR
 THIS PROBLEM IN THE PREVIOUS MODEL YEAR BUT IT SAYS IT’S NOT FOR MY
 VEHICLE EVEN THOUGH IT’S THE EXACT SAME PROBLEM. THIS HAS
 HAPPENED MULTIPLE TIMES WITH THE STALLING AND PROBABLY 25 TIMES
 THE LOW OIL PRESSURE LIGHT HAS FLICKERED ON.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 February 25, 2020 NHTSA ID NUMBER: 11311420
 Components: ENGINE
 NHTSA ID Number: 11311420
 Incident Date February 24, 2020
 Consumer Location SOUTH HAVEN, MI
 Vehicle Identification Number 3C4NJDDBXJT****



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 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I GOT MY OIL CHANGED 2/24/2020. I HAVE HAD THE JEEP LESS THEN THREE
 MONTHS. THERE WAS ABSOLUTELY NO OIL ON THE DIPSTICK. THIS CAR
 BURNED THROUGH 5 QUARTS OF OILS IN 6,000 MILES.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 February 11, 2020 NHTSA ID NUMBER: 11308436
 Components: UNKNOWN OR OTHER
 NHTSA ID Number: 11308436
 Incident Date January 3, 2020
 Consumer Location BELL GARDENS, CA
 Vehicle Identification Number 3C4NJDAB1JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I HAVE A 2018 JEEP COMPASS WHEN I DID MY OIL CHANGE ON 1/4/2020 I TOLD
 THEM MY CAR HAD STOPPED ON ME WHILE I WAS GOING 25MPH ON THE
 ROAD AND SUDDENLY STOPPED. PER PERSON THAT SERVICE MY CAR IT WAS
 DUE TO AN OIL CHANGE, I ASKED IF THEY CAN STILL CHECK THE CAR OUT.
 AFTER A WEEK OF DOING AN OIL CHANGE THE CAR HAD THE SAME PROBLEM
 WHEN I TAKE IT TO THE DEALER THEY BLAME IT ON THE CAR NEEDING AN OIL


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 CHANGE, KEEP IN MIND THAT MY NEXT OIL CHANGE IS DUE UNTIL 10,000 I
 CURRENTLY HAVE 8,238 MILES ON THE CAR. CHAMPION DEALER IN THE CITY
 OF DOWNEY CA AND CHRYSLER SEEM LIKE THEY DO NOT WANT TO HELP ME
 FIND OUT WHAT’S WRONG ON MY CAR. I WILL PROVIDE SCREENSHOTS OF AN
 EMAIL I HAVE WITH CHRYSLER. PLEASE ADVICE ME ON THIS PROBLEM AND
 WHAT DO YOU RECOMMEND FOR ME TO DO. THANK YOU.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 January 26, 2020 NHTSA ID NUMBER: 11302070
 Components: ENGINE
 NHTSA ID Number: 11302070
 Incident Date January 15, 2020
 Consumer Location PORTER CORNERS, NY
 Vehicle Identification Number 3C4NJDBB7JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TWO DAYS IN A ROW THE ENGINE SHUT DOWN LESS THEN ONE MILE INTO MY
 MORNING COMMUTE AS I WAS TURNING ONTO THE MAIN ROAD OUT OF MY
 DEVELOPMENT. THE ENGINE SHUT OFF, THE STEERING BECAME DIFFICULT,
 AND THE PARKING BRAKE ENGAGED. NO WARNING LIGHTS CAME ON, AND
 NOTHING INDICATED WHY THE CAR WAS SHUTTING DOWN.

 WHEN TAKEN INTO THE DEALER AFTER THE SECOND INCIDENT IN AS MANY
 DAYS, I WAS TOLD THE ENGINE WAS LOW OR OUT OF OIL AND SHUTTING
 DOWN IS A SAFETY FEATURE AS IS ENGAGING THE EMERGENCY BRAKE IN
 TRAFFIC. I WASN'T DUE FOR AN OIL CHANGE FOR ANOTHER MONTH BASED ON


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 JEEP'S RECOMMENDED SCHEDULE, BUT I WAS FORCED TO DO ONE SO THEY
 COULD VERIFY THE ISSUE. I WAS ALSO TOLD THE COMPASS HAS A NEW
 HIGHLY EFFICIENT ENGINE AND THESE NEW ENGINES ARE SO EFFICIENT
 THEY BURN/LEAK OIL, AND I AM TO CHECK MY OIL EVERY 500-1000 MILES AND
 ALWAYS HAVE A QUART IN THE CAR TO TOP IT OFF. WHEN I ASKED WHY
 THERE WASN'T A DASHBOARD INDICATOR THE OIL WAS LOW I WAS TOLD THE
 COMPASS DOES NOT HAVE SUCH AN INDICATOR. I AM CONCERNED FOR MY
 SAFETY, MY FAMILY'S, AS WELL AS OTHER DRIVERS AS I DO NOT KNOW WHEN
 THE CAR WILL SHUT DOWN AGAIN.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 January 19, 2020 NHTSA ID NUMBER: 11300260
 Components: ENGINE
 NHTSA ID Number: 11300260
 Incident Date November 21, 2018
 Consumer Location RED OAK, TX
 Vehicle Identification Number 3C4NJCAB8JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 5/2018, WE BOUGHT A 2018 JEEP COMPASS SPORT WITH EXTENDED
 WARRANTY AND GAP INSURANCE. WE WERE DILIGENT ON GETTING OIL
 CHANGED PER RECOMMENDATIONS. 8/2018, PULLING OUT IN INTERSECTION,
 VEHICLE DIED, SPONTANEOUSLY ENGAGED THE EMERGENCY BRAKE. THIS
 HAPPEND A FEW MORE TIMES WE TOOK IN FOR SERVICE. 11/2018, (WELL


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 WITHIN THE LEMON LAW GUIDELINES)WE TOOK TO THE WAXAHACHIE. THEY
 INSPECTED IT/CHANGED OIL, THEY TOLD US IT WAS LOW ON OIL, THAT THE
 DYING OF THE CAR WAS A SAFETY MECHANISM AND WE JUST NEEDED TO
 CHANGE THE OIL MORE OFTEN. KEEP IN MIND, THE OIL HAD BEEN CHANGED
 PER VEHICLE RECOMMENDATIONS. WE BEGAN CHANGING THE OIL EVERY
 3000 MILES. THE VEHICLE STILL DIED MULTIPLE TIMES OVER NEXT SEVERAL
 MONTHS, GOING DOWN THE TOLLWAY, PULLING OUT ON THE SERVICE ROAD
 TO GET ON THE HIGHWAY, MIDDLE OF BUSY INTERSECTIONS WITH CHILDREN
 IN VEHICLE. 10/1/2019, FRUSTRATED/CONCERNED ABOUT SAFETY, TOOK THE
 VEHICLE BACK IN FOR SERVICE. AT THIS TIME IT HAD ONLY BEEN 2000 MILES
 SINCE THE WAS OIL CHANGED, WAS LOW ON OIL. THIS IS WHEN WE WERE
 TOLD THAT CHRYSLER IS AWARE OF THIS ISSUE AND WE NEVER GOT A
 RECALL. HAD US BRING THE VEHICLE BACK IN EVERY 1000 MILES FOR OIL
 CONSUMPTION TEST. 10/15/2019, 2 QTS LOW AFTER 1000 MILES. THEY
 ORDERED NEW ENGINE. THEY WERE BACKED UP SO ON11/12/19 THEY CALLED
 TO BRING CAR IN FOR NEW ENGINE 11/22, WE PICKED UP CAR, DROVE
 APPROXIMATELY 10 MILES, OVERHEATED. WE RETURNED TO SERVICE
 DEPARTMENT. THEY KEPT IT/WE PICKED UP 11/26, DROVE TWO MILES/DIED
 GOING DOWN SERVICE ROAD. WE TOOK BACK. 12/2, PICKED UP/ WARNING
 LIGHT CAME ON DURING TEST DRIVE. LEFT THERE. PICKED UP 12/4/19.
 1/4/20,VEHICLE OVERHEATED WHILE DRIVING. TOOK TO WAXAHACHIE.10 DAYS
 LATER, THEY SAID NEEDS NEW ENGINE. 3RD ENGINE/LESS THAN 2 YEAR OLD
 CAR. GOAL IS GET THEM TO BUY BACK FOR WHAT WE OWE, REFUND DOWN
 PAYMENT, TRADE IN, REMAINDER OF WARRANTY/GAP INSURANCE. NEVER
 RECEIVED ANY RECALL ON THIS VEHICLE!
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 January 16, 2020 NHTSA ID NUMBER: 11299976
 Components: ENGINE
 NHTSA ID Number: 11299976
 Incident Date January 16, 2020
 Consumer Location BADEN, PA
 Vehicle Identification Number 3C4NJDDB5JT****


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 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MY CAR IS NOT EVEN 2 YEARS OLD AND IT HAS COMPLETELY SHUT DOWN
 TWICE WHILE DRIVING. VERY QUICKLY A “LOW OIL PRESSURE WARNING” SIGN
 WILL FLASH ON THE DASHBOARD, AND SOON AFTER THE CAR BECOMES LIMP
 AND COMPLETELY SHUTS DOWN. IT WILL NOT MOVE AND DOESN’T ALLOW
 FURTHER DRIVING. THE DEALERSHIP FOUND MY OIL IS LOW, EVEN THOUGH I
 HAVEN’T EVEN HIT 2500 MILES SINCE MY LAST OIL CHANGE. THEY ARE HAVING
 ME COME BACK AFTER 500 MILES TO MONITOR OIL CONSUMPTION AND
 INVESTIGATE FURTHER. THIS IS EXTREMELY FRUSTRATING AND DANGEROUS,
 AS IT HAS SHUT OFF WHEN I’M ON MAIN ROADS WITH CARS ALL AROUND ME.
 I’M VERY DISAPPOINTED, AS I HAVE NEVER HAD ANY ISSUES WITH PREVIOUS
 JEEPS I’VE OWNED.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 January 16, 2020 NHTSA ID NUMBER: 11299937
 Components: ENGINE
 NHTSA ID Number: 11299937
 Incident Date January 16, 2020
 Consumer Location BRENTWOOD, CA
 Vehicle Identification Number 3C4NJCBB5JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0




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 DEATHS0

 2.4L MULTIAIR MOTOR BURNS OIL AT EXCESSIVE RATE. NEW CAR BURNS 1QT
 OF OIL PER 850 MILES. NO "LOW OIL" INDICATOR LIGHT. WHEN LOW ON OIL,
 CAR STALLS, JOLTS, OR SHUTS OFF. STALL GENERALLY OCCURS WHEN
 TURNING AT LOW SPEEDS (LESS THAN 30 MPH). SIGNIFICANT SAFETY HAZARD
 IF TURNING IN FRONT OF ONCOMING TRAFFIC. CAR WILL STALL IF DOWN 2
 QUARTS. THEREFORE, IF YOU DO NOT REFILL OIL EVERY 1500 MILES, YOU
 RISK STALLING ON ROADWAYS. CURRENT VEHICLE HAS 26,000 MILES.
 NORMALLY ADD 5 QUARTS OF OIL BETWEEN SCHEDULED OIL CHANGES.
 STALLING HAS OCCURRED APPROXIMATELY 10 TIMES. TWO TIMES STALL
 OCCURRED IN INTERSECTION, ALMOST RESULTING IN HIGH SPEED COLLISION
 FROM OPPOSING TRAFFIC.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 January 16, 2020 NHTSA ID NUMBER: 11299787
 Components: ENGINE
 NHTSA ID Number: 11299787
 Incident Date January 15, 2020
 Consumer Location HASTINGS, MN
 Vehicle Identification Number 3C4NJDBB4JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 OIL BURNING UP WAY BEFORE OIL CHANGE IS DUE. CAUSED MY CAR TO
 STALL IN THE MIDDLE OF THE ROAD.

 THE STALL OCCURRED WHILE MAKING A RIGHT TURN AT AN INTERSECTION


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 SPEED OF APPROXIMATELY 10-15 MPH.

 MILEAGE WAS ABOUT 39000 WHILE MAKING THE TURN A QUICK CHIME AND OIL
 PRESSURE LOW CAME ON AND DISAPPEARED AND THE CAR IMMEDIATELY
 STALLED.

 COME TO FIND OUT THAT WAS WAS OIL ON DIPSTICK. NO WARNINGS
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 December 30, 2019 NHTSA ID NUMBER: 11291974
 Components: ENGINE
 NHTSA ID Number: 11291974
 Incident Date December 15, 2019
 Consumer Location STATEN ISLAND, NY
 Vehicle Identification Number 3C4NJDCB7JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2018 JEEP COMPASS. WHILE DRIVING VARIOUS
 SPEEDS, THE VEHICLE RANDOMLY SHUT OFF ON MULTIPLE OCCASIONS. THE
 ENGINE WAS RESTARTED AND THE VEHICLE OPERATED NORMALLY. THE
 VEHICLE WAS TAKEN TO ISLAND CHRYSLER (1239 HYLAN BLVD, STATEN
 ISLAND, NY) WHERE IT WAS DIAGNOSED THAT THE ENGINE OIL WAS VERY
 LOW. THE CONTACT WAS INFORMED THAT THE ENGINE SHUT OFF DUE TO
 VERY LOW OIL AND OPERATED AS INTENDED. THE MANUFACTURER
 PROVIDED CASE NUMBER: CAS-71699220. THE FAILURE MILEAGE WAS 13,200.
 1 Affected Product


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 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 December 28, 2019 NHTSA ID NUMBER: 11291788
 Components: ENGINE
 NHTSA ID Number: 11291788
 Incident Date September 12, 2019
 Consumer Location PUTNAM VALLEY, NY
 Vehicle Identification Number 3C4NJDBB3JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ON THREE DIFFERENT OCCASIONS MY ENGINE HAS SHUT OFF AND GONE
 INTO A ‘LIMP MODE’ WHILE I AM DRIVING WITHOUT ANY WARNING OR
 INDICATOR LIGHT ACTIVATION. THIS HAS OCCURRED WHILE DRIVING AT HIGH
 SPEEDS AND HAS NEARLY RESULTED IN MORE THAN ONE MULTI-VEHICLE
 ACCIDENTS. THE PARKING BRAKE ENGAGES AND I AM UNABLE TO RESTART
 THE VEHICLE FOR SEVERAL MINUTES THEREAFTER. I WAS NEARLY REAR
 ENDED ON BOTH OCCASIONS AND HAD NO IDES WHAT WAS WRONG. COME
 TO FIND OUT, THERE WAS MINIMAL OIL IN THE ENGINE DESPITE BEING
 DEALER MAINTAINED IN A TIMELY FASHION AND WELL BEFORE THE NEXT OIL
 CHANGE WAS DUE. I IMMEDIATELY TOOK MY 2018 JEEP COMPASS IN FOR
 SERVICING WHERE THEY EXPLAINED THEY HAVE BEEN SEEING THIS ISSUE IN
 THIS PARTICULAR MODEL WITH THE 2.4 LITER MULTI-AIR 4 CYLINDER ENGINE.
 THE PCV VALVE WAS REPLACED AND THEY STARTED TO MONITOR OIL USAGE
 VIA AN OIL CONSUMPTION TEST EVERY 500 MILES. UNFORTUNATELY THE PCV
 VALVE REPLACEMENT DID NOT PROVE TO BE THE FIX AS THE ENGINE
 MALFUNCTIONED ONCE AGAIN SOMETIME AROUND 2500 MILES INTO THE OIL
 CHANGE. I AM EXTREMELY CONCERNED FOR MY SAFETY AND RELY ON THIS
 VEHICLE TO GET ME TO WORK AS I AM A HEALTHCARE PROFESSIONAL. I AM


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 SHOCKED THAT A RECALL HAS NOT BEEN ISSUED AFTER READING ONLINE
 JUST HOW MANY CASES HAVE BEEN REPORTED WITH THE SAME
 MAKE/MODEL ENGINE. I AM LUCKY THAT I WAS NOT SERIOUSLY INJURED AND
 IT IS JUST A MATTER OF TIME BEFORE SOMEONE IS, IF ACTION IS NOT TAKEN.
 I WAS MERGING ONTO A 4 LANE HIGHWAY DURING RUSH HOUR TRAFFIC WITH
 NO SHOULDER THE FIRST TIME THIS OCCURRED. TRAFFIC WAS MOVING AT 65
 MILES PER HOUR. IT WAS ABSOLUTELY FRIGHTENING. THIS IS UNACCEPTABLE
 AND IS A DETRIMENT TO HIGHWAY AND PERSONAL SAFETY. MY SALES
 ASSOCIATE AT THE DEALERSHIP IS ALSO ALARMED AT JUST HOW MANY 2018
 JEEP COMPASS’ WITH THE 2.4 LITER ENGINE ARE HAVING THIS UNEQUIVOCAL
 HAZARDOUS ISSUE. SOMETHING MUST BE DONE ASAP.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 December 27, 2019 NHTSA ID NUMBER: 11291542
 Components: ENGINE, FUEL/PROPULSION SYSTEM
 NHTSA ID Number: 11291542
 Incident Date November 7, 2019
 Consumer Location CORDOVA, TN
 Vehicle Identification Number 3C4NJDBB6JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 THIS JEEP CANNOT GO 3,000 MILES BETWEEN OIL CHANGES. EVEN WHEN
 USING A FULLY SYNTHETIC OIL THAT HAS A LIFE SPAN OF 5,000 MILES, THE
 "LOW OIL PRESSURE" WARNING COMES ON. IF NOT SERVICED, THE VEHICLE
 STALLS (USUALLY WHILE TURNING THE STEERING WHEEL, USUALLY IN THE
 MIDDLE OF AN INTERSECTION!). UPON TOWING IT TO A SERVICE STATION,


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 THEY STATE THAT THEY CAN'T FIX IT, ONLY THE DEALERSHIP CAN FIX IT. THE
 DEALERSHIP STATES THAT IT JUST NEEDS AN OIL CHANGE. SO, INSTEAD OF
 USING THE "MILEAGE TO NEXT OIL CHANGE" STICKER, I HAVE TO HAVE THE
 OIL LEVEL CHECKED TO ESTIMATE WHEN IT WILL STALL AGAIN. I DO NOT FEEL
 SAFE IN THIS CAR.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 November 28, 2019 NHTSA ID NUMBER: 11282766
 Components: ENGINE
 NHTSA ID Number: 11282766
 Incident Date November 1, 2019
 Consumer Location PLYMOUTH, MA
 Vehicle Identification Number 3C4NJDCB2JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 PURCHASED NEW COMPASS FROM BEST JEEP IN PLYMOUTH MA. AFTER FIRST
 OIL CHANGE, JUST BEFORE SECOND 13,000 MILES (STICKER SAYS TO GO
 EVERY 7,000 MILES) LOW OIL PRESSURE LIGHT CAME ON, HAD TO GET OFF
 THE ROAD. TOOK 2 QUARTS OF OIL TO GET TO SAFE ZONE, OIL DRIPPING WAS
 NOTICEABLE UNDER CAR AND I BROUGHT BACK TO DEALER. GOT CAR BACK
 AND THEY NOTED NO OIL LEAK FOUND AND SAW SPILLED OIL AT FILLER SPOT.
 I PUT OIL IN THE CAR, THERE WAS NO OIL SPILLED AROUND THE FILLER.
 WHEN I LOOKED, DEALERSHIP HAD TAKEN, WHAT SEEMED TO BE AN OILY
 RAG, AND WIPED ALL AROUND THAT AREA. THEN TRIED TO BLAME ME. GOT
 CAR HOME, OIL WAS STILL DRIPPING. CALLED, MADE ANOTHER
 APPOINTMENT. THEY THEN WROTE ON THE WORK ORDER "VERIFIED, SERVICE


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 MANAGER DOCUMENTED OIL UNDER VEHICLE. THEY PUT DIE IN OIL, CLEANED
 UP PRESENT OIL ON OUTSIDE OF ENGINE. WENT BACK TO DEALER AFTER 300
 MILES, OIL WAS DOWN HALF A QUART, BUT DEALER SAID NO LEAKS FOUND.
 WAS TOLD THAT THIS IS WITHIN THE NORMAL RANGE FOR A NEW ENGINE TO
 BURN UP TO 1 QUART OF OIL PER 1000 MILES. THIS MEANS THE ENGINE IS
 ALREADY SHOWING 1 QUART OF OIL APROX EVERY 600 MILES. NOW I HAVE TO
 DO AN "OIL CONSUMPTION TEST" EVERY 1000 MILES. AFTER READING WHAT
 CAN HAPPEN WHEN LOW OIL PRESSURE HAPPENS, CAR SHUTTING DOWN
 AND LOCKING UP SO CANT BE DRIVEN, HAS HAPPENED. ONCE AT A STOP
 LIGHT, THEN TRYING TO LEAVE A PARKING SPOT. I THOUGHT IT WAS
 OPERATOR ERROR AND I MUST HAVE DONE SOMETHING WRONG BECAUSE
 NO WARNING LIGHTS CAME ON AND I WAS ABLE TO RESTART THE CAR AND
 CONTINUE. MY FAULT FOR NOT FOLLOWING UP WITH DEALER, HOWEVER IF
 HAPPENS AGAIN, CAR WILL BE JUST TOWED FROM SPOT. TO ME, THIS IS AN
 ISSUE JEEP KNOWS ABOUT AND IS PUTTING PROFITS OVER LIVES. THE COST
 OF A LIFE IF THE CAR SHUTS DOWN ON THE HIGHWAY OR INTERSECTION
 WITH NO WARNING, IF FAR LESS THAN WHAT IT WILL COST THEM TO STEP UP
 AND ACKNOWLEDGE AND CORRECT. I JUST PRAY IT DOESN'T HAPPEN TO MY
 FAMILY.*DT*JB
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 November 21, 2019 NHTSA ID NUMBER: 11281517
 Components: ENGINE, POWER TRAIN, UNKNOWN OR OTHER
 NHTSA ID Number: 11281517
 Incident Date November 16, 2019
 Consumer Location INDIANAPOLIS, IN
 Vehicle Identification Number 3C4NJCAB0JT****

 Summary of Complaint
 CRASHNo

 FIRENo




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 INJURIES0

 DEATHS0

 I PURCHASED MY JEEP COMPASS NEW. SINCE I HAVE HAD IT, I HAVE TAKEN
 MY 2018 JEEP COMPASS IN FOR REPAIR DUE TO LOSS OF OIL SEVERAL TIMES.
 THE LOSS OF OIL WAS FIRST NOTICED BEFORE THE FIRST 2,000 MILES ON THE
 CAR BECAUSE OF A TICKING NOISE COMING FROM THE ENGINE. THIS CAR
 HAS EVEN STOPPED ON ME ON WHILE TRAVELING OUT OF TOWN AND THE
 ENGINE LIGHT COMES ON ALONG WITH OTHER LIGHTS. IN THIS PARTICULAR
 INSTANCE IT DID START BACK UP EVENTUALLY. WHEN IT DID, THE ENGINE
 LIGHT STAYED ON THE WHOLE TIME. RECENTLY, (11/16/19), WHILE DRIVING
 THE WHOLE CAR SHUTS DOWN IN THE MIDDLE OF THE STREET AND THE
 EMERGENCY BRAKES LOCK UP. THE CAR WILL NOT BUDGE. IN THIS INSTANCE
 THE CAR HAD TO BE TOWED TO THE DEALERSHIP. THERE HAVE BEEN SO
 MANY ISSUES WITH THIS CAR THAT I DO NOT FEEL SAFE DRIVING IT. THESE
 ISSUES SEEM TO BE COMPLETELY RANDOM AND WITHOUT WARNING.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 November 21, 2019 NHTSA ID NUMBER: 11281490
 Components: ENGINE
 NHTSA ID Number: 11281490
 Incident Date November 21, 2019
 Consumer Location OKEMOS, MI
 Vehicle Identification Number 3C4NJCBB2JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0




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 ENGINE OIL CHECKED LOW 3,000 MILES AFTER LAST OIL CHANGE. THIS IS
 CONSISTENT WITH MULTIPLE ONLINE REPORTS OF THESE VEHICLES BURNING
 OIL RAPIDLY. OTHER REPORTS STATE VEHICLE SHUTS DOWN WHILE
 TRAVELING WITH NO WARNING INDICATIONS AND THE DIPSTICK REGISTERS
 NO ENGINE OIL.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 November 18, 2019 NHTSA ID NUMBER: 11280735
 Components: ENGINE, POWER TRAIN, UNKNOWN OR OTHER
 NHTSA ID Number: 11280735
 Incident Date November 16, 2019
 Consumer Location NEWNAN, GA
 Vehicle Identification Number 3C4NJCAB3JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 PURCHASED AT THE DEALERSHIP @ 5K..ENGINE STALLED @ 18K MILES AS I
 WAS BACKING OUT OF MY DRIVEWAY.. CHECKED AND THERE WAS NO OIL ON
 STICK.. HAD TO BUY OIL TWICE JUST TO TAKE MY JEEP TO BE SERVICED AND
 HAVE AN “OIL CONSUMPTION TEST” PERFORMED MULTIPLE TIMES, WAS TOLD
 EVERYTHING WAS FINE.. 11K MILES LATER..”SERVICE ENGINE,” “SERVICE
 TRANSMISSION,” FLASHES ON DASH. NO OIL ON STICK WITHIN 400 MILES OF
 NEEDING AN OIL CHANGE.. ENGINE WON’T TURNOVER/START. STRANDED
 WITH <30K MILES & HAVEN’T HAD THE VEHICLE A YEAR.
 1 Affected Product
 Vehicle


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 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2018




 November 13, 2019 NHTSA ID NUMBER: 11279790
 Components: ENGINE
 NHTSA ID Number: 11279790
 Incident Date July 17, 2019
 Consumer Location BONNEY LAKE, WA
 Vehicle Identification Number 3C4NJCAB2JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I BOUGHT MY 2018 JEEP COMPASS IN FEBRUARY 2019. IN JULY 2019 WHILE
 DRIVING THE CAR ON THE FREEWAY WITH MY 2 DAUGHTERS THE OIL LIGHT
 CAME ON AND THE CAR TURNED OFF IN THE MIDDLE OF TRAFFIC. THANK GOD
 I WAS IN TRAFFIC AND I WAS ABLE TO RESTART THE CAR. THE OIL LIGHT DID
 NOT COME BACK ON AND I WAS ABLE TO DRIVE THE CAR. A FEW DAYS LATER
 THIS HAPPENED AGAIN WHILE TAKING MY DAUGHTERS TO VISIT FAMILY ON
 THE ROAD. I WAS ABLE TO START THE CAR AGAIN. THE OIL LIGHT DID NOT
 COME BACK ON AGAIN. THE NEXT DAY I TOOK MY CAR TO LARSON DODGE
 AND JEEP DEALER IN PUYALLUP, WA. I TOLD THEM WHAT WAS HAPPENING
 AND I WAS TOLD THAT IT IS A KNOWN PROBLEM THAT THE JEEP COMPASS
 HAS A PROBLEM WITH OIL EVAPORATING AND THEY WOULD CHANGE THE OIL.
 THE SERVICE PERSON I TALKED TO SAID HIS WIFE ALSO HAS A JEEP
 COMPASS AND HE IS TRYING TO CONVINCE HIS WIFE TO TRADE IT IN
 BECAUSE TO THIS PROBLEM. I AM NOT SURE HOW OIL CAN JUST EVAPORATE.
 AT THE TIME OF THE OIL CHANGE I HAD DRIVEN ABOUT 3000 TO 3500 MILES
 SINCE I BOUGHT THE CAR. I HAVE HAD TO HAVE MY OIL CHANGED ONE OTHER
 TIME AROUND 3000 MILES AND WILL HAVE TO HAVE IT CHANGED AGAIN SOON.
 THE LAST TIME THE OIL WAS VERY LOW AGAIN AND IT GETTING LOW AGAIN. I
 HAVE TO CONTINUOUSLY CHECK MY OIL ON A WEEKLY BASIS ON AN ALMOST
 NEW CAR. DRIVING THIS CAR, THAT CAN JUST TURN OFF AT ANYTIME DUE TO


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 A KNOWN OIL CONSUMPTION ISSUE WITH THE 2018 JEEP COMPASS NOT ONLY
 PUTS ME IN DANGER BUT IT PUTS MY CHILDREN IN DANGER EACH TIME THE
 CAR IS DRIVEN. I DO NOT HAVE ANOTHER MODE OF TRANSPORTATION.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 November 9, 2019 NHTSA ID NUMBER: 11279198
 Components: ENGINE
 NHTSA ID Number: 11279198
 Incident Date November 9, 2019
 Consumer Location SHELTON, CT
 Vehicle Identification Number 3C4NJDCB6JT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 I LEFT MY HOUSE AND DROVE ABOUT A MILE DOWN THE ROAD. I STOPPED AT
 A STOP SIGN AND AS I WENT TO PROCEED ONTO AN EXTREMELY BUSY ROAD
 MY 2018 JEEP COMPASS COMPLETELY SHUT DOWN. IT WOULDNT MOVE AND
 TOLD ME TO SHIFT GEARS THEN PRESS THE BRAKE AND START BOTTON.
 MULTIPLE ATTEMPTS WOULD NOT RESTART THE CAR. IT TOOK BETWEEN 5-7
 MINUTES TO FINALLY START RUNNING, BUT GAVE NO INDICATION OF WHAT
 THE ISSUE WAS. I WAS ABLE TO DRIVE A MILE TO MY DESTINATION WITHOUT
 ANY ISSUE, BUT WAS MOMENTARILY IN FEAR FOR MY LIFE AS THE ENGINE
 SHUT DOWN WITH NO NOTICE. UPON FURTHER INVESTIGATION, I FOUND A
 WEBSITE CONTAINING OF HUNDREDS OF RECENT COMPLAINTS DESCRIBING
 THE EXACT SAME SCENARIO. JEEPS SOLUTION HAS BEEN THAT THE CARS
 ARE IN NEED OF OIL CHANGES, BUT YET FOR MYSELF AND MANY OTHERS, NO
 OIL WARNING LIGHT IS EVEN COMING ON. MY HUSBAND CHECKED MY OIL AND


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 THERE BASICALLY IS NONE. I CALLED THE DEALERSHIP SERVICE CENTER
 WHO INFORMED ME THAT MANY PEOPLE HAVE BEEN HAVING THIS ISSUE AND
 IT NEEDS AN OIL CHANGE. I FIND THIS INCREDIBLY UNACCEPTABLE AND FEEL
 THAT JEEP IS IN OVER THEIR HEADS WITH HOW TO RESOLVE THIS FAULTY
 SYSTEM THAT NOTHING IS BEING DONE ABOUT IT AND WONT UNTIL
 FATALITIES ARE UNFORTUNATELY REPORTED. I CONTACTED CHRYSLER WHO
 SAID IT MAY NEED AN OIL CONSUMPTION TEST DONE, WHICH IS OBVIOUSLY
 GOING TO REQUIRE ME TO DRIVE THE VEHICLE IN UNSAFE CONDITIONS TO
 RUN A “TEST”. I HAVE ALSO READ THAT THE ENGINE WAS DESIGNED TO SHUT
 OFF WHEN OIL IS LOW AND CHRYSLER CONFIRMED THAT. HOW DOES THIS
 PASS TESTING? THERE IS NO WARNING LIGHT AT ALL AND CHANCES ARE
 THAT YOU WILL DIE OR BE SERIOUSLY INJURED IF YOUR CAR JUST SHUTS
 OFF IN TRAFFIC. I AM GENUINELY CONCERNED FOR MY LIFE AND THE LIVES
 AND SAFETY OF OTHERS WHILE HAVING THESE FAULTY VEHICLES ON THE
 ROAD. THERE NEEDS TO BE A RECALL ASAP AND ENGINES NEED TO BE
 REPLACED WITH ONE THAT DONT BURN THROUGH FUEL LIKE THIS COMPASS
 WAS “DESIGNED” TO.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2018




 January 7, 2020 NHTSA ID NUMBER: 11297761
 Components: ENGINE
 NHTSA ID Number: 11297761
 Incident Date May 15, 2018
 Consumer Location PLEASANTVILLE, NY
 Vehicle Identification Number N/A

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0



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 TL* THE CONTACTS WIFE OWNS A 2018 JEEP COMPASS. THE CONTACT
 STATED THAT WHILE DRIVING 30 MPH, THE EMERGENCY BRAKE WARNING
 INDICATOR ILLUMINATED AND THE VEHICLE STALLED. THE CONTACT STATED
 THAT THE FAILURE RECURRED 6 TIMES. THE VEHICLE WAS TAKEN TO
 CROTON AUTO PARK (1 MUNICIPAL PL, CROTON ON HUDSON, NY 10520, (914)
 271-5100) ON TWO OCCASIONS TO BE DIAGNOSED AND REPAIRED. THE
 CONTACT WAS INFORMED THAT THE PCV VALVE NEEDED TO BE REPLACED
 AND SECONDARILY, AN OIL CONSUMPTION TEST NEEDED TO BE PERFORMED
 AT 500 MILE INTERVALS UP TO 1,500 MILES. THE PCV VALVE WAS REPLACED
 HOWEVER, A DETERMINATION WAS NOT MADE REGARDING THE OIL
 CONSUMPTION TEST. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE.
 THE APPROXIMATE FAILURE MILEAGE WAS 18,000. THE VIN WAS
 UNAVAILABLE.
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2019




 November 29, 2019 NHTSA ID NUMBER: 11282843
 Components: ENGINE
 NHTSA ID Number: 11282843
 Incident Date November 28, 2019
 Consumer Location VICTOR, NY
 Vehicle Identification Number 3C4NJDBB3KT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 ON THREE SEPARATE OCCASIONS OUR NEWLY LEASED 2019 JEEP COMPASS
 STALLED WHILE AT HIGH SPEED. WE ALL HAD TO PULL OVER WITH OUT
 POWER STEERING. THIS HAPPENED SHORTLY AFTER WE PULLED OUT ON TO


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 A MAIN ROAD FROM OUR NEIGHBORHOOD.*DT

 CONSUMER STATED YES, I TOOK IT TO VICTOR DODGE JEEP DEALERSHIP
 WHERE I LIVE AND GOT THE CAR. THEY SAID IN WAS DOWN A QUART OF OIL.
 FILLED IT AND SAID TO RETURN AT 7,500 MILES SO THEY COULD CHECK THE
 LEVEL AGAIN. I WOULD SAY THE VEHICLE WAS AT 45 MPH.

 THERE WAS AN OIL PRESSURE LIGHT THAT CAME ON WHEN THE CAR WAS
 STARTED UP. BUT IT WENT OFF RIGHT AWAY. *JB
 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2019




 October 31, 2019 NHTSA ID NUMBER: 11277318
 Components: ENGINE
 NHTSA ID Number: 11277318
 Incident Date October 15, 2019
 Consumer Location POMPANO BEACH, FL
 Vehicle Identification Number 3C4NJCCB2KT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2019 JEEP COMPASS. WHILE DRIVING 40 MPH, THE
 VEHICLE STALLED. ONCE IT WAS RESTARTED, THE VEHICLE FUNCTIONED
 NORMALLY. THE VEHICLE WAS CURRENTLY AT JOEY ACCARDI CHRYSLER,
 DODGE, JEEP, RAM (909 FEDERAL HWY, POMPANO BEACH, FL 33062, (954) 943-
 6700) WAITING TO BE DIAGNOSED. THE VEHICLE WAS NOT REPAIRED. THE
 MANUFACTURER WAS NOT MADE AWARE OF THE FAILURE. THE FAILURE
 MILEAGE WAS APPROXIMATELY 1,200.


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 1 Affected Product
 Vehicle

 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2019




 October 25, 2019 NHTSA ID NUMBER: 11270970
 Components: ENGINE
 NHTSA ID Number: 11270970
 Incident Date October 21, 2019
 Consumer Location SEBRING, OH
 Vehicle Identification Number N/A

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 TL* THE CONTACT OWNS A 2019 JEEP COMPASS. WHILE DRIVING
 APPROXIMATELY 35 MPH, THE VEHICLE STALLED WITHOUT WARNING. THE
 CONTACT PULLED OVER TO THE SIDE OF THE ROAD AND WAS ABLE TO
 RESTART THE VEHICLE. THE VEHICLE WAS TAKEN TO WALLY ARMOUR
 CHRYSLER DODGE JEEP RAM (1950 W STATE ST, ALLIANCE, OH 44601) WHERE
 IT WAS DETERMINED THAT THE OIL LEVEL WAS LOW, WHICH CAUSED THE
 VEHICLE TO STALL. THE DEALER INSTRUCTED THE CONTACT TO BRING THE
 VEHICLE BACK TO THEM AFTER 500 MILES FROM THE LAST OIL CHANGE FOR
 MONITORING AND AN OIL CONSUMPTION TEST. THE VEHICLE WAS NOT
 REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE
 APPROXIMATE FAILURE MILEAGE WAS 4,000. THE VIN WAS UNAVAILABLE.
 1 Affected Product
 Vehicle




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 MAKE                   MODEL                             YEAR




 JEEP                   COMPASS                           2019




 October 14, 2019 NHTSA ID NUMBER: 11268293
 Components: ENGINE
 NHTSA ID Number: 11268293
 Incident Date October 11, 2019
 Consumer Location CAPE CORAL, FL
 Vehicle Identification Number 3C4NJCBB1KT****

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 MAJOR ISSUE! THIS IS APPARENTLY KNOWN BY JEEP AS THEY HAVE ISSUED A
 RECALL. YET IT IS HAPPENING TO ADDITIONAL MODELS OUTSIDE THE SCOPE
 OF THE ISSUED RECALL.

 2019 JEEP COMPASS 2.4L. THE ENGINE SHUT OFF WITHOUT ANY WARNING
 WHILE DRIVING AT APPROXIMATELY 25 MPH. THE VEHICLE IS BRAND NEW
 WITH ONLY 200 MILES. I PURCHASED THE VEHICLE ONLY 10 DAYS AGO. I TOOK
 THE VEHICLE BACK AND RETURNED IT, WHICH WAS QUITE THE HEADACHE TO
 GET THE DEALER TO DO. I BASICALLY TRADED IT IN FOR A JEEP GRAND
 CHEROKEE SO TO AVOID THE 2.4L ENGINE. I AM OUT QUITE A BIT OF MONEY
 IN PAYING TAXES, FEES, REGISTRATION, TILE,ETC TWICE DUE TO THIS ISSUE.
 IN DOING SOME RESEARCH, THIS SEEMS TO BE A FAIRLY COMMON PROBLEM
 IN BOTH THE JEEP COMPASS AND THE JEEP CHEROKEE IN REGARDS TO THE
 2.4L 4 CYLINDER ENGINE. JEEP HAS ISSUED A RECALL ON THE CHEROKEE.
 THEY NEED TO DO THE SAME ON THE COMPASS.

 STAY AWAY FROM THE 2.4L 4 CYLINDER ENGINE AT ALL COSTS.
 1 Affected Product
 Vehicle


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 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2019




 August 28, 2019 NHTSA ID NUMBER: 11245744
 Components: ENGINE
 NHTSA ID Number: 11245744
 Incident Date July 1, 2019
 Consumer Location BEACHWOOD, NJ
 Vehicle Identification Number N/A

 Summary of Complaint
 CRASHNo

 FIRENo

 INJURIES0

 DEATHS0

 2019 JEEP COMPASS. CONSUMER WRITES IN REGARDS TO VEHICLE
 STOPPING SUDDENLY WHILE DRIVING ON THE HIGHWAY. *LD

 THE CONSUMER STATED THE DEALER ADVISED THAT THE VEHICLE RAN LOW
 ON OIL WHICH CAUSED THE ENGINE TO SHUT OFF WITHOUT WARNING. WHEN
 THE VEHICLE RESTARTED THE ENGINE LIGHT ILLUMINATED. *JS
 1 Affected Product
 Vehicle

 MAKE                    MODEL                            YEAR




 JEEP                    COMPASS                          2019




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            67.     FCA routinely monitors the internet for complaints similar in

      substance to those quoted below. Its customer relations department routinely

      monitors the internet for customer complaints, and it retains the services of third

      parties to do the same. Further, FCA’s customer relations division regularly

      receives and responds to customer calls concerning, inter alia, product defects.

            68.     The following table summarizes the report dates, incident date, and

      make, model, and model year of the 203 complaints submitted to NHTSA, as set

      forth above

                          Incident    NHTSA                                                 Model
        Report Date         Date   Complaint No.        Manufacturer        Model           Year
 1       3/8/2014        3/5/2014    10567955              JEEP           CHEROKEE          2014
 2       10/4/2014       8/28/2014   10641463              JEEP           CHEROKEE          2014
 3       1/13/2015       1/4/2015    10672201              JEEP           CHEROKEE          2015
 4       2/4/2015        10/7/2014   10662826              JEEP           CHEROKEE          2014
 5       5/11/2015       2/14/2015   10715700              JEEP           CHEROKEE          2014
 6       6/15/2015      12/19/2014   10725408              JEEP           CHEROKEE          2014
 7       7/10/2015       10/1/2014   10733280            DODGE              DART            2014
 8       7/16/2015       3/1/2015    10734584              JEEP           CHEROKEE          2015
 9      10/20/2015      10/19/2015   10783654            DODGE              DART            2015
10      10/21/2015       10/2/2015   10784943              JEEP           RENEGADE          2015
11      10/27/2015       10/6/2015   10786476            DODGE              DART            2015
12      11/17/2015       2/12/2015   10793237              JEEP           CHEROKEE          2014
13       12/8/2015       2/26/2015   10808943            DODGE              DART            2015
14       1/18/2016       1/18/2016   10820799              JEEP           CHEROKEE          2014
15       1/21/2016       1/16/2016   10821593            DODGE              DART            2014
16       4/5/2016        8/15/2015   10853581            DODGE              DART            2014
17       6/17/2016       6/16/2016   10874749            DODGE              DART            2014
18       6/23/2016       6/23/2016   10876124            DODGE              DART            2014
19       6/24/2016       3/1/2016    10876406            DODGE              DART            2014

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20       6/27/2016     6/26/2016    10876954         DODGE           DART            2016
21       7/1/2016      6/27/2016    10881967          JEEP         CHEROKEE          2014
22       8/22/2016     8/20/2016    10897516          JEEP         CHEROKEE          2014
23       8/27/2016     8/5/2016     10901992          JEEP         CHEROKEE          2016
24       9/7/2016      7/4/2016     10904504          JEEP         CHEROKEE          2014
25       9/30/2016     8/29/2016    10910872          JEEP         RENEGADE          2015
26      10/10/2016     10/4/2016    10915058         DODGE           DART            2014
27       11/1/2016     7/11/2016    10920591        CHRYSLER          200            2015
28      11/10/2016     11/9/2016    10925430          JEEP         CHEROKEE          2014
29      11/10/2016     11/9/2016    10925430          JEEP         CHEROKEE          2014
30      11/22/2016    11/18/2016    10927375          JEEP         RENEGADE          2016
31      11/29/2016     11/8/2016    10928530         DODGE           DART            2015
32      11/29/2016    11/26/2016    10928462        CHRYSLER          200            2015
33       12/9/2016     12/9/2016    10934287          JEEP         CHEROKEE          2014
34      12/30/2016    12/16/2016    10938766          JEEP         CHEROKEE          2014
35      12/30/2016    12/16/2016    10938766          JEEP         CHEROKEE          2014
36       1/4/2017     12/19/2016    10939710         DODGE           DART            2015
37       1/5/2017     12/20/2016    10939926          JEEP         CHEROKEE          2015
38       1/5/2017      12/5/2016    10939823          JEEP         CHEROKEE          2016
39       1/5/2017      8/10/2015    10939899         DODGE           DART            2015
40       1/10/2017     8/20/2016    10944184        CHRYSLER          200            2015
41       1/17/2017     5/5/2016     10945731          JEEP         CHEROKEE          2016
42       1/24/2017    10/21/2015    10947283         DODGE           DART            2014
43       2/4/2017      2/1/2017     10949601          JEEP         CHEROKEE          2014
44       2/6/2017      1/13/2017    10949840         DODGE           DART            2014
45       2/19/2017     2/18/2017    10955466          JEEP         CHEROKEE          2014
46       2/28/2017     4/28/2016    10957545          JEEP         CHEROKEE          2015
47       2/28/2017     12/1/2015    10957685         DODGE           DART            2015
48       3/5/2017      1/6/2017     10958649          JEEP         CHEROKEE          2014
49       3/7/2017      3/3/2017     10959080         DODGE           DART            2014
50       3/12/2017     10/1/2016    10960174          JEEP         CHEROKEE          2014
51       3/27/2017     1/15/2017    10968698         DODGE           DART            2016
52       4/12/2017     4/4/2017     10972132          JEEP         CHEROKEE          2016
53       4/24/2017     5/16/2016    10980171         DODGE           DART            2015
54       4/26/2017     4/25/2017    10980871          JEEP         CHEROKEE          2014

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55       5/6/2017      5/3/2017     10983793          JEEP         CHEROKEE          2014
56       5/10/2017     5/8/2017     10984771        CHRYSLER          200            2015
57       5/11/2017     4/12/2016    10984890         DODGE           DART            2014
58       5/22/2017     5/15/2017    10990877          JEEP         RENEGADE          2016
59       5/30/2017     4/14/2017    10992277          JEEP         CHEROKEE          2014
60       5/30/2017     5/27/2017    10992363          JEEP         CHEROKEE          2016
61       6/1/2017      4/26/2017    10992732         DODGE           DART            2015
62       6/7/2017      7/6/2017     11003740         DODGE           DART            2014
63       6/15/2017     6/10/2017    10995324          JEEP         CHEROKEE          2014
64       6/15/2017    10/14/2015    10995335         DODGE           DART            2015
65       6/16/2017     6/10/2017    10995627          JEEP         CHEROKEE          2014
66       6/25/2017     6/14/2017    11001288          JEEP         CHEROKEE          2014
67       9/23/2017     9/20/2017    11025142         DODGE           DART            2015
68       12/1/2017    11/27/2017    11051820        CHRYSLER          200            2015
69      12/12/2017     2/10/2017    11054118         DODGE           DART            2016
70      12/26/2017     7/17/2017    11056581        CHRYSLER          200            2015
71      12/26/2017    12/23/2017    11056386         DODGE           DART            2016
72      12/28/2017    12/26/2020    11057182         DODGE           DART            2014
73       1/10/2018     1/10/2018    11061608         DODGE           DART            2015
74       1/22/2018     1/1/2015     10851584          JEEP         CHEROKEE          2015
75       1/30/2018     1/29/2018    11065865         DODGE           DART            2015
76       2/1/2018      1/1/2017     11066457         DODGE           DART            2015
77       2/13/2018    11/13/2017    11072734         DODGE           DART            2015
78       2/23/2018     8/28/2017    11014574          JEEP         CHEROKEE          2015
79       4/6/2018      4/6/2018     11083577         DODGE           DART            2015
80       5/15/2018     5/12/2018    11093862         DODGE           DART            2015
81       5/18/2018     10/7/2016    11096734         DODGE           DART            2014
82       5/31/2018     4/19/2018    11098922        CHRYSLER          200            2015
83       6/6/2018      10/1/2016    11100205         DODGE           DART            2015
84       6/21/2018     8/4/2017     11102946         DODGE           DART            2015
85       7/21/2018     7/19/2018    11112819         DODGE           DART            2014
86       7/23/2018     7/23/2018    11113117         DODGE           DART            2015
87       8/20/2018     7/5/2015     11120973         DODGE           DART            2015
88       9/4/2018      8/14/2018    11124329          JEEP          COMPASS          2017
89       10/1/2018     10/1/2018    11132750          JEEP         RENEGADE          2015

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90    10/15/2018    10/4/2018    11140516        CHRYLERS          200            2018
91     1/15/2019    1/15/2019    11170247         DODGE           DART            2016
92     1/29/2019    11/3/208     11172751          JEEP         RENEGADE          2016
93     2/12/2019    2/11/2019    11176480         DODGE           DART            2016
94     10/2/2019    10/1/2019    11265592          JEEP         RENEGADE          2016
95    10/15/2018    10/4/2018    11140516          JEEP          COMPASS          2017
96    11/17/2018   11/17/2018    11152235         DODGE           DART            2015
97    11/22/2018   11/22/2018    11153251          JEEP          COMPASS          2017
98     12/5/2018    8/8/2016     111156056        DODGE           DART            2014
99     1/16/2019   11/30/2018    11170385         DODGE           DART            2015
100    2/23/2019    2/15/2016    11265660         DODGE           DART            2016
101    4/1/2019     5/1/2018     11193188          JEEP          COMPASS          2017
102    4/2/2019     4/1/2019     11193286          JEEP          COMPASS          2017
103    5/17/2019    5/14/2019    11208335          JEEP         RENEGADE          2016
104    2/19/2019    2/19/2019     1181050          JEEP         CHEROKEE          2015
105    4/2/2020     4/1/2020     11320034          JEEP         CHEROKEE          2019
106    5/24/2019    5/24/2019     1120907        CHRYSLER          200            2015
107    6/6/2019     6/12/2019    11219470        CHRYSLER          200            2015
108    6/7/2019     5/6/2019     11229659          JEEP         CHEROKEE          2016
109    6/12/2019    6/12/2019    11219470        CHRYSLER          200            2015
110    6/16/2019    3/23/2019    11220386        CHRYSLER          200            2015
111    7/10/2019    2/7/2019     11230764         DODGE           DART            2016
112    8/6/2019     11242097     11242097         DODGE           DART            2015
113    8/7/2019     8/6/2019     11242327          JEEP         CHEROKEE          2016
114    8/28/2019    7/1/2019     11245744          JEEP          COMPASS          2019
115    8/29/2019    8/1/2019     11252239          JEEP         RENEGADE          2015
116    9/24/2019    9/11/2019    11257881          JEEP         CHEEROKEE         2019
117    10/2/2019    8/19/2019    11265624          JEEP          COMPASS          2017
118    10/2/2019    9/9/2019     112565660        DODGE           DART            2016
119    10/7/2019    10/5/2019    11266724          JEEP          COMPASS          2017
120   10/14/2019   10/11/2019    11268293          JEEP          COMPASS          2019
121   10/18/2019   10/10/2019    11269382          JEEP         CHEROKEE          2017
122   10/18/2019   10/17/2019    11269297          JEEP          COMPASS          2017
123   10/24/2019   10/24/2019    11270685          JEEP         CHEROKEE          2016
124   10/25/2019   10/21/2019    11270970          JEEP          COMPASS          2019

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125   10/29/2019    12/9/2018    11276989          JEEP         CHEROKEE          2019
126   10/31/2019    2/28/2018    11277367          JEEP         CHEROKEE          2017
127   10/31/2019   10/15/2019    11277318          JEEP         COMPASS           2019
128    11/4/2019    1/1/2019     11278049          JEEP         CHEROKEE          2016
129    11/5/2019    11/4/2019    11278195          JEEP         COMPASS           2017
130    11/7/2019    11/4/2019    11278867          JEEP         CHEROKEE          2015
131    11/9/2019    11/9/2019    11279198          JEEP         COMPASS           2018
132   11/13/2019    7/17/2019    11279790          JEEP         COMPASS           2018
133   11/17/2019    9/19/2019    11280586          JEEP         COMPASS           2017
134   11/18/2019   11/15/2019    11280871          JEEP         CHEROKEE          2018
135   11/18/2019   11/16/2019    11280735          JEEP         COMPASS           2018
136   11/19/2019   11/19/2019    11281066          JEEP         CHEROKEE          2019
137   11/21/2019   11/16/2019    11281517          JEEP         COMPASS           2018
138   11/21/2019   11/21/2019    11281490          JEEP         COMPASS           2018
139   11/21/2019    11/2/2019    11281527          JEEP         CHEROKEE          2016
140   11/22/2019   11/21/2019    11281783          JEEP         CHEROKEE          2017
141   11/25/2019   11/16/2018    11282329          JEEP         CHEROKEE          2018
142   11/25/2020   11/24/2020    11282251          JEEP         CHEROKEE          2019
143   11/27/2019   11/25/2019    11282625          JEEP         CHEROKEE          2017
144   11/28/2019    11/1/2019    11282766          JEEP         COMPASS           2018
145   11/29/2019   11/28/2019    11282843          JEEP         COMPASS           2019
146    12/3/2019    1/1/2018     11286711          JEEP         COMPASS           2017
147    12/9/2019    12/9/2019    11287916          JEEP         CHEROKEE          2018
148   12/10/2019    12/1/2019    11288141          JEEP         CHEROKEE          2017
149   12/11/2019   12/10/2019    11288450          JEEP         CHEROKEE          2017
150   12/16/2019   12/13/2019    11289341          JEEP         COMPASS           2017
151   12/16/2019   11/14/2019    11289244          JEEP         CHEROKEE          2016
152   12/17/2019    12/9/2019    11289571          JEEP         COMPASS           2017
153   12/20/2019    10/4/2019    11290266          JEEP         CHEROKEE          2018
154   12/21/2019    12/8/2019    11290486          JEEP         CHEROKEE          2017
155   12/24/2019    1/12/2019    11291083          JEEP         CHEROKEE          2017
156   12/27/2019    11/7/2019    11291542          JEEP         COMPASS           2018
157   12/28/2019    9/12/2019    11291788          JEEP         COMPASS           2018
158   12/30/2019   12/15/2019    11291974          JEEP         COMPASS           2018
159    3/29/2019    3/14/2019    11192370          JEEP         CHEROKEE          2015

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160   5/7/2019      5/1/2019     11205958          JEEP         CHEROKEE          2015
161   6/3/2019      6/2/2019     11217665         DODGE           DART            2014
162   6/19/2019     4/13/2019    11221247          JEEP         CHEROKEE          2015
163   1/2/2020      1/2/2020     11292590          JEEP         CHEROKEE          2016
164   1/6/2020      11/1/2019    11297300          JEEP         CHEROKEE          2018
165   1/6/2020     12/19/2019    11297282          JEEP         CHEROKEE          2019
166   1/6/2020      1/6/2020     11297374         DODGE           DART            2014
167   1/7/2020     11/15/2020    11297676          JEEP         CHEROKEE          2016
168   1/7/2020      5/15/2018    11297761          JEEP         COMPASS           2019
169   1/16/2020     1/16/2020    11299976          JEEP         COMPASS           2018
170   1/16/2020     1/16/2020    11299937          JEEP         COMPASS           2018
171   1/16/2020     1/15/2020    11299787          JEEP         COMPASS           2018
172   1/17/2020     1/2/2020     11300163          JEEP         CHEROKEE          2016
173   1/19/2020     1/18/2020    11300273          JEEP         CHEROKEE          2017
174   1/19/2020    11/21/2018    11300260          JEEP         COMPASS           2018
175   1/22/2020     6/1/2019     11301066          JEEP         CHEROKEE          2017
176   1/24/2020     1/13/2020    11301739          JEEP         CHEROKEE          2017
177   1/24/2020     11/7/2017    11301719          JEEP         COMPASS           2017
178   1/26/2020     1/15/2020    11302070          JEEP         COMPASS           2018
179   1/27/2020     1/23/2020    11302169          JEEP         CHEROKEE          2019
180   1/30/2020     1/2/2020     11306190          JEEP         CHEROKEE          2017
181   2/3/2020     11/19/2020    11306656          JEEP         CHEROKEE          2019
182   2/4/2020      10/1/2017    11307060          JEEP         COMPASS           2017
183   2/11/2020     1/3/2020     11308436          JEEP         COMPASS           2018
184   2/17/2020     12/9/2019    11309608          JEEP         CHEROKEE          2018
185   2/17/2020     2/15/2020    11309750          JEEP         CHEROKEE          2019
186   2/24/2020     2/4/2020     11311135          JEEP         CHEROKEE          2018
187   2/25/2020     2/24/2020    11311420          JEEP         COMPASS           2018
189   2/26/2020     2/26/2020    11311670          JEEP         CHEROKEE          2017
190   2/26/2020     2/19/2020    11311759          JEEP         COMPASS           2018
191   2/26/2020     2/25/2020    11311557          JEEP         COMPASS           2018
192   2/27/2020     1/27/2020    11311841          JEEP         COMPASS           2018
193   3/3/2020      9/24/2019    11315836          JEEP         COMPASS           2017
194   3/5/2020      9/18/2019    11316307         DODGE           DART            2016
195   3/7/2020      2/20/2020    11316728          JEEP         COMPASS           2018

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196     3/9/2020        1/1/2020       11317167            JEEP          CHEROKEE           2016
197     3/12/2020       2/1/2019       11317753            JEEP          CHEROKEE           2018
198     3/12/2020       2/10/2019      11317807            JEEP          COMPASS            2018
199     3/29/2020       3/3/2020       11319663            JEEP          CHEROKEE           2016
200     4/3/2020         4/3/202       11315836            JEEP          COMPASS            2017
201     4/7/2020        7/1/2019       11320401            JEEP          CHEROKEE           2018
202     4/7/2020        2/27/2020      11320394            JEEP          COMPASS            2018
203     4/11/2020       2/26/2020      11320854            JEEP          COMPASS            2018

            69.     Through these sources, FCA knew about the defect. The NHTSA

      complaints also indicate FCA’s knowledge of the defect and the potential danger it

      poses to passengers and the general public.

            3.      FCA’s Warranty-Related Practices

            70.     FCA issued a Basic Limited Warranty and Limited Powertrain

      Warranty with each of the Class Vehicles.

            71.     Under the Basic Limited Warranty, FCA agreed to repair reported

      defects within the earlier of 36,000 miles or 3-years following the in-service date

      of the vehicle. The warranty manual provides that:

                    The Basic Limited Warranty covers the cost of all parts and
                    labor needed to repair any item on your vehicle when it left
                    the manufacturing plant that is defective in material, workmanship
                    or factory preparation. There is no list of covered
                    parts since the only exception are tires and Unwired
                    headphones. You pay nothing for these repairs. These
                    warranty repairs or adjustments — including all parts and
                    labor connected with them — will be made by your dealer
                    at no charge, using new or remanufactured parts.




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       72.    FCA instructs vehicle owners and lessees to bring their vehicles to a

 certified dealership for the warranty repairs. Many owners and lessees have

 presented Class Vehicles to FCA-certified dealerships with complaints related to

 the defects alleged herein.

       73.    FCA’s warranty department similarly reviews and analyzes warranty

 data submitted by its dealerships and authorized technicians in order to identify

 defect trends in its vehicles. FCA dictates that when a repair is made under

 warranty (or warranty coverage is requested), service centers must provide FCA

 with detailed documentation. FCA also requires service centers to save the broken

 parts in case FCA audits the dealership, or otherwise acts to verify the warranty

 repair. For their part, service centers are meticulous about providing this detailed

 information about in-warranty repairs because FCA withholds payment for the

 repair if the complaint, cause, and correction are not sufficiently described. FCA is

 well-aware of the scope of the problem, which Plaintiff alleges is why it has

 refused to commence the necessary safety recall as it did in other, similar

 circumstances.

       74.    FCA has evaded its warranty obligations by (1) failing to tell

 consumers that the Class Vehicles are defective and (2) refusing to perform repairs

 to correct the defects.




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       FCA Misrepresented, Concealed, and Omitted the Nature and Existence
       of the Defects

       75.    Despite having longstanding knowledge of the alleged defects, FCA

 denied their existence and omitted material information from disclosures made to

 Plaintiff and the Class members prior to purchase of their Class Vehicles. As

 demonstrated through its knowledge of the dangers stated above, FCA had a duty

 to disclose the nature of the defects to Plaintiff and the Class members, as the

 defects alleged herein were material to their purchases and involved a safety issue.

       76.    Additionally, FCA—by and through the statements it made in the

 Owner’s Manuals prepared for distribution with the Class Vehicles—has also

 misrepresented Oil Consumption Defect by recommending oil changes at much

 higher mileage than warranted by the true oil life cycle of the Class Vehicles and

 by telling Plaintiff and Class members that the excessive oil consumption of their

 vehicles is “normal.”

       77.    According to FCA’s representations in the Owner’s Manual: “Severe

 Operating Conditions can cause the change oil message to illuminate as early as

 3,500 miles since last reset.” But FCA made far different representations in the Oil

 Consumption Guidelines issued to its dealers in 2015.

       78.    In the 2015 Oil Consumption Guidelines, FCA told dealer service

 departments that the accepted rate of oil consumption for engines used in its

 vehicles is one quart/per 2,000 miles driven for the first 50,000 miles. And for

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 vehicles with more than 50,000 miles, the acceptable oil consumption is one quart

 for every 750 miles.

       79.    FCA entirely omits the information contained in its 2015 Oil

 Consumption Guidelines from the Owner’s Manual it distributes with the Class

 Vehicles. Moreover, FCA fails to disclose to consumers the information in its 2015

 Oil Consumption Guidelines when they purchase the Class Vehicles. Plaintiff and

 the Class Members thus only learn that FCA considers the excessive oil

 consumption of the 2.4L Tigershark engine “normal” when they are told that is the

 case by FCA’s service departments. Conveniently for FCA, this occurs far after the

 sale of the Class Vehicles and after experiencing the consequences of the Defects.

       80.    To the extent that FCA believed that the Oil Consumption Defect is

 “normal,” it had a duty to disclose that information to consumers because of the

 partial representations made in the Owner’s Manuals of the Class Vehicles.

              V      TOLLING OF STATUTES OF LIMITATIONS

       81.    FCA’s knowing and misrepresentation, active concealment and

 omission of the facts alleged herein act to toll any applicable statute(s) of

 limitations. Plaintiff and the other Class members could not have reasonably

 discovered the true, latent nature of the Oil Consumption Defect and Oil Indicator

 System Defects until shortly before commencing this class-action litigation.




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       82.    In addition, even after Plaintiff and other Class members contacted

 FCA and/or its authorized dealers to repair the Oil Consumption Defect, FCA

 and/or its dealers repeatedly and consistently told them the Class Vehicles were not

 defective and that oil consumption in her vehicle was “normal.”

       83.    FCA has had, and continues to have, a duty to disclose to Plaintiff and

 the other Class members the true character, quality, and nature of the Class

 Vehicles, including the facts that the Class Vehicles require costly repairs, pose

 safety concerns, and have a diminished resale value. As a result of FCA’s active

 concealment, any and all applicable statutes of limitations otherwise applicable to

 the allegations herein have been tolled.

                          VI     CLASS ALLEGATIONS

       84.    Plaintiff brings this action on her own behalf, and on behalf of a

 nationwide class pursuant to Federal Rules of Civil Procedure, Rules 23(a),

 23(b)(2), and/or 23(b)(3).

              Nationwide Class:

              All persons or entities in the United States who are
              current or former owners and/or lessees of a Class
              Vehicle.

       85.    In the alternative to the Nationwide Class, and pursuant to Federal

 Rules of Civil Procedure, Rule 23(c)(5), Plaintiff seek to represent the following

 class of Ohio consumers:


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                Ohio Class:

                All persons or entities in the state of Ohio who are
                current or former owners and/or lessees of a Class
                Vehicle.

       86.      Together, the Nationwide Class and the Ohio Class shall be

 collectively referred to herein as the “Class.” Excluded from the Class are FCA, its

 affiliates, employees, officers and directors, persons or entities that purchased the

 Class Vehicles for resale, and the Judge(s) assigned to this case. Plaintiff reserves

 the right to modify, change, or expand the Class definitions based on discovery and

 further investigation.

       87.      Numerosity: Upon information and belief, the Class is so numerous

 that joinder of all members is impracticable. While the exact number and identities

 of individual Class members are unknown at this time, such information being in

 FCA’s sole possession and obtainable by Plaintiff only through the discovery

 process, Plaintiff believes, and on that basis alleges that hundreds of thousands of

 Class Vehicles have been sold and leased in states that are the subject of the Class.

       88.      Existence and Predominance of Common Questions of Fact and

 Law: Common questions of law and fact exist as to all members of the Class.

 These questions predominate over the questions affecting individual Class

 members. These common legal and factual questions include, but are not limited

 to, whether:


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                a) The Class Vehicles were sold with defects;

                b) FCA knew about the Oil Consumption Defect but failed to
                   disclose it and its consequences to its customers;

                c) A reasonable consumer would consider the Oil Consumption
                   Defect or its consequences to be material;

                d) FCA should be required to disclose the Oil Consumption
                   Defect’s existence and its consequences; and

                e) FCA’s conduct violates the Ohio Deceptive Trade Practices
                   Act, the Ohio Consumer Sales Practices Act, and the other
                   statutes asserted herein.

          89.      Typicality: All of Plaintiff’s claims are typical of the claims of the

 Class because Plaintiff purchased her vehicle with the same defects as other Class

 members. Furthermore, Plaintiff and all members of the Class sustained monetary

 and economic injuries including, but not limited to, ascertainable losses arising out

 of FCA’s wrongful conduct. Plaintiff advances the same claims and legal theories

 on behalf of herself and all absent Class members.

          90.      Adequacy: Plaintiff adequately represents the Class because her

 interests do not conflict with the interests of the Class she seeks to represent, she

 has retained counsel that is competent and highly experienced in complex class

 action litigation, and Plaintiff intends to prosecute this action vigorously. Plaintiff

 and her counsel are well-suited to fairly and adequately protect the interests of the

 Class.




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       91.    Superiority: A class action is superior to all other available means of

 fairly and efficiently adjudicating the claims brought by Plaintiff and the Class.

 The injury suffered by each individual Class member is relatively small in

 comparison to the burden and expense of individual prosecution of the complex

 and extensive litigation necessitated by FCA’s conduct. It would be virtually

 impossible for Class members on an individual basis to effectively redress the

 wrongs done to them. Even if Class members could afford such individual

 litigation, the courts cannot. Individualized litigation presents a potential for

 inconsistent or contradictory judgments. Individualized litigation increases the

 delay and expense to all parties and to the court system, particularly where the

 subject matter of the case may be technically complex. By contrast, the class action

 device presents far fewer management difficulties, and provides the benefits of

 single adjudication, an economy of scale, and comprehensive supervision by a

 single court. Upon information and belief, individual Class members can be readily

 identified and notified based on, inter alia, FCA’s vehicle identification numbers,

 warranty claims, registration records, and database of complaints.

       92.    FCA has acted, and/or refused to act, on grounds generally applicable

 to the Class, thereby making appropriate final equitable relief with respect to the

 Class as a whole.




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                           VII    CAUSES OF ACTION

       Claims Brought on Behalf of the Nationwide Class

                                      COUNT I:

       VIOLATIONS OF THE MAGNUSON-MOSS WARRANTY ACT

                              (15 U.S.C. § 2301, et seq.)

                        (On behalf of the Nationwide Class)

       93.    Plaintiff and the Class incorporate by reference each preceding and

 succeeding paragraph as though fully set forth at length herein.

       94.    Plaintiff brings this claim on behalf of herself and on behalf of the

 Nationwide Class.

       95.    Plaintiff and the Class members are “consumers” within the meaning

 of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

       96.    FCA is a supplier and warrantor within the meaning of 15 U.S.C.

 §§ 2301(4)-(5).

       97.    The Class Vehicles, including Plaintiff’s vehicle, are “consumer

 products” within the meaning of 15 U.S.C. § 2301(1).

       98.    FCA’s 3 year/36,000-mile limited warranty is a “warranty” within the

 meaning of 15 U.S.C. § 2301(6).

       99.    FCA breached its express warranty by:




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             a) Selling and leasing Class Vehicles with an oil pump that was
                defective in materials and/or workmanship, requiring repair or
                replacement within the warranty period; and

             b) Refusing and/or failing to honor the express warranties by
                repairing or replacing, free of charge, the oil pump and/or other
                parts causing failure in the Class Vehicles.
       100. Plaintiff and the other Class members relied on the existence and

 length of the express warranties in deciding whether to purchase or lease the Class

 Vehicles.

       101. FCA’s breach of express warranties has deprived Plaintiff and the

 other Class Members of the benefit of their bargain.

       102. The amount in controversy of Plaintiff’s individual claim meets or

 exceeds the sum or value of $25.00. In addition, the amount in controversy meets

 or exceeds the sum or value of $50,000 (exclusive of interests and costs) computed

 on the basis of all claims to be determined in this suit.

       103. FCA has been given reasonable opportunity to cure its breach of the

 written warranties. Alternatively, Plaintiff and the other Class members are not

 required to do so because affording FCA a reasonable opportunity to cure its

 breach of written warranties was, and is, futile. FCA has long been on notice of the

 alleged defect from the complaints and service requests it received from Class

 members, as well as from their own warranty claims, customer complaint data,




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 and/or parts sales data, and has made clear from its actions it has no intention of

 resolving the defect.

       104. As a direct and proximate cause of FCA’s breach of the written

 warranties, Plaintiff and the other Class members sustained damages and other

 losses in an amount to be determined at trial. FCA’s conduct damaged Plaintiff and

 the other Class members, who are entitled to recover actual damages,

 consequential damages, specific performance, diminution in value, costs, including

 statutory attorney fees and/or other relief as deemed appropriate.

       Claims Brought on Behalf of the Ohio Class

                                     COUNT II:

       VIOLATION OF OHIO CONSUMER SALES PRACTICES ACT

                       (Ohio Rev. Code Ann. § 1345.01, et seq.)

       105. Plaintiff and the Class members realleges and incorporates by

 reference all paragraphs as though fully set forth herein.

       106. The Ohio Consumer Protection Act, Ohio Rev. Code § 1345.02,

 prohibits unfair or deceptive acts or practices in connection with a consumer

 transaction. Specifically, the Act prohibits suppliers from representing that goods

 have characteristics or uses or benefits which they do not have. The Act also

 prohibits suppliers from representing that their goods are of a particular quality or

 grade they are not.



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       107. FCA is a “supplier” as that term is defined in the Ohio Consumer

 Protection Act, Ohio Rev. Code § 1345.01(C).

       108. Plaintiff and the Class members are “consumers” as that term is

 defined in the Ohio Consumer Protection Act, Ohio Rev. Code § 1345.01(D).

       109. FCA’s conduct as alleged above constitutes unfair and/or deceptive

 consumer sales practices in violation of Ohio Rev. Code § 1345.02 because FCA

 represented through advertising and other marketing communications that the

 vehicles were new and free from defects and could be driven safely in normal

 operation. Instead, the vehicles were not of the standard, quality, or grade of new

 vehicles.

       110. FCA’s conduct caused the damages of Plaintiff and Class members, as

 alleged.

       111. As a result of Defendants’ wrongful conduct, Plaintiff and the Class

 have been damaged in an amount to be proven at trial, including, but not limited to,

 actual and statutory damages, treble damages, court costs and reasonable attorneys’

 fees, pursuant to Ohio Rev. Code § 1345.09, et seq.




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                                      COUNT III:

       VIOLATION OF OHIO DECEPTIVE TRADE PRACTICES ACT

                      (Ohio Rev. Code Ann. § 4165.01, et seq.)

       112. Plaintiff and the Class members reallege and incorporate by reference

 all paragraphs as though fully set forth herein.

       113. Section 4165.02(A) of the Ohio Revised Code provides that a “person

 engages in a deceptive trade practice when, in the course of the person’s business,

 vocation, or occupation,” the person does any of the following: “(2) Causes

 likelihood of confusion or misunderstanding as to the source, sponsorship,

 approval, or certification of goods or services; . . . (7) Represents that goods or

 services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

 quantities that they do not have or that a person has a sponsorship, approval, status,

 affiliation, or connection that the person does not have; . . . (9) Represents that

 goods or services are of a particular standard, quality, or grade, or that goods are of

 a particular style or model, if they are of another; . . . [and] (11) Advertises goods

 or services with intent not to sell them as advertised.”

       114. FCA are “persons” within the meaning of Ohio Rev. Code

 § 4165.01(D).




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        115. The vehicles sold to Plaintiff and the Class were not of the particular

 sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities FCA

 represented to Plaintiff.

        116. The vehicles sold to Plaintiff and the Class were not of the particular

 standard, quality, and/or grade FCA represented to Plaintiff.

        117. FCA made false or misleading statements of fact concerning the Class

 Vehicles—i.e., that the Class Vehicles were suitable for ordinary use—when FCA,

 in fact, knew that the Class Vehicles were defective and not suitable for ordinary

 use.

        118. Moreover, FCA made false or misleading statements of fact

 concerning: (1) the rate at which the Class Vehicles consumed oil; (2) the rate at

 which Plaintiff and the Class members would need to replenish the oil in their

 Class Vehicles; and (3) the capabilities of the Oil Indicator System to detect low

 oil volume in the Class Vehicles.

        119. These statements materially influenced the decisions by Plaintiff and

 the Class to purchase the Class Vehicles, in that FCA’s statements caused Plaintiff

 and the Class to purchase vehicles that they otherwise would not have purchased

 had they known about the defects.

        120. FCA’s deceptive trade practices caused the damages of Plaintiff and

 the Class members, as alleged.


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       121. FCA’s conduct was knowing, and/or intentional, and/or with malice,

 and/or demonstrated a complete lack of care, and/or was reckless, and/or was in

 conscious disregard for the rights of Plaintiff and the Class members.

       122. As a result of FCA’s wrongful conduct, Plaintiff and the Class have

 been damaged in an amount to be proven at trial, including, but not limited to,

 actual and punitive damages, equitable relief and reasonable attorneys’ fees.

                                    COUNT IV:

                      BREACH OF EXPRESS WARRANTY

            (Ohio Rev. Code Ann. § 1302.26, et seq. (U.C.C. § 2-313))

       123. Plaintiff and the Class reallege and incorporate by reference all

 paragraphs as though fully set forth herein.

       124. FCA expressly warranted—through the statements and advertisements

 described above—that the vehicles were of high quality, and, at a minimum, would

 work properly and safely.

       125. FCA breached the warranty by knowingly selling to Plaintiff and

 Class members vehicles with dangerous defects, and which were not of high

 quality.

       126. Plaintiff and the Class have been damaged as a direct and proximate

 result of FCA’s breaches in that Plaintiff and the Class purchased the Class




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 Vehicles for less than they would have paid had they known about the defects

 alleged herein.

                                      COUNT V:

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

                   (Ohio Rev. Code Ann. § 1302.27 (U.C.C. § 2-314))

       127. Plaintiff and the Class reallege and incorporate by reference all

 paragraphs as though fully set forth herein.

       128. FCA impliedly warranted that the Class Vehicles were of good and

 merchantable quality and fit, and safe for their ordinary intended use—transporting

 the driver and passengers in reasonable safety during normal operation, and

 without unduly endangering them or members of the public.

       129. Contrary to these implications, there were dangerous defects in the

 vehicles manufactured, distributed, and/or sold by FCA, which Plaintiff purchased,

 including, but not limited to, the defects alleged in this complaint.

       130. These dangerous defects existed at the time the vehicles left FCA’s

 manufacturing facilities and at the time they were sold to Plaintiff and the Class

 members.

       131. These dangerous defects were the direct and proximate cause of the

 damages suffered by Plaintiff and the Class members.




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                                     COUNT VI:

     OHIO NEGLIGENT DESIGN, ENGINEERING & MANUFACTURE

                                  (Based on Ohio Law)

       132. Plaintiff realleges and incorporates by reference all paragraphs as

 though fully set forth herein.

       133. FCA is a manufacturer and supplier of automobiles.

       134. FCA owed Plaintiff a non-delegable duty to exercise ordinary and

 reasonable care to properly design, engineer, and manufacture the vehicles against

 foreseeable hazards and malfunctions, including stalling or shutting down during

 operation.

       135. FCA owed Plaintiff a non-delegable duty to exercise ordinary and

 reasonable care in designing, engineering and manufacturing the vehicles so that

 they would function normally, without undue risks of stalling or shutting down

 during operation.

       136. FCA also owed—and owes—a continuing duty to notify Plaintiff and

 the Class members of any known material and dangerous defects and to repair any

 such material and dangerous defects.

       137. FCA breached these duties of reasonable care by designing,

 engineering, and manufacturing vehicles that can stall or shut down while they are




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 being operated, and breached their continuing duty to disclose these defects to

 Plaintiff.

        138. The foreseeable hazards and malfunctions include potential

 mechanical failure while the vehicle is in motion, and at normal driving speeds.

        139. Plaintiff did not and could not know of the intricacies of these defects

 and their latent and dangerous manifestations, or the likelihood of harm therefrom

 arising in the normal use of the Class Vehicles.

        140. At all relevant times, there existed alternative designs and engineering

 which were both technically and economically feasible. Further, any alleged

 benefits associated with the defective designs are vastly outweighed by the real

 risks associated with potential vehicular failure.

        141. The Class Vehicles were defective as herein alleged at the time they

 left FCA’s factories, and they reached Plaintiff without substantial change in the

 condition in which they were sold.

        142. As a direct and proximate result of FCA’s breaches, Plaintiff and the

 Class members have suffered damages, as alleged.

        143. Accordingly, Plaintiff and the Class members are entitled to recover

 appropriate damages including, but not limited to, diminution of value, return of

 lease payments and penalties, and injunctive relief related to future lease payments

 or penalties.


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                                    COUNT VII:

                  FRAUD & FRAUDULENT CONCEALMENT

                                (Based on Ohio Law)

       144. Plaintiff and the Class members realleges and incorporates by

 reference all paragraphs as though fully set forth herein.

       145. FCA intentionally misrepresented and concealed the above-described

 material safety information, or acted with reckless disregard for the truth, and

 denied Plaintiff and the Class members information that is highly relevant to their

 purchasing decision.

       146. The vehicles Plaintiff and the Class members purchased or leased

 were, in fact, defective, unsafe and unreliable, because they were subject to stalling

 or shutting down even while the vehicle was in operation, at normal driving

 speeds.

       147. FCA had a duty to disclose this material safety information to Plaintiff

 and members of the Class because of the safety hazards posed by the alleged

 defects.

       148. FCA’s concealment was material because if it had been disclosed,

 Plaintiff and the Class members would not have bought or leased the Class

 Vehicles.




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       149. The aforementioned representations were material because they were

 facts that would typically be relied on by a person purchasing or leasing a new

 motor vehicle. FCA intentionally made the false statements in order to sell the

 Class Vehicles.

       150. Plaintiff and the Class members relied on FCA’s reputation as an

 automaker—long with FCA’s failure to disclose the alleged vehicles and FCA’s

 affirmative assurance that its vehicles were safe and reliable and other similar false

 statements—when they purchased or leased the Class Vehicles.

       151. As a result of their reliance, Plaintiff and the Class members have

 been injured in an amount to be proven at trial, including, but not limited to, their

 lost benefit of the bargain and overpayment at the time of purchase and/or the

 diminished value of the Class Vehicles.

       152. FCA’s conduct was knowing, intentional, with malice, demonstrated a

 complete lack of care, and was in reckless disregard for the rights of Plaintiff and

 the Class members. Plaintiff is therefore entitled to an award of punitive damages.




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                                     COUNT VIII:

                               UNJUST ENRICHMENT

                                 (Based on Ohio Law)

       153. Plaintiff and the Class members reallege and incorporate by reference

 all paragraphs as though fully set forth herein.

       154. Plaintiff and the Class members paid FCA the value of vehicles that

 are non-defective, and in exchange, FCA provided Plaintiff and the Class members

 with vehicles that are, in fact, defective.

       155. Further, Plaintiff and the Class members paid FCA the value for

 vehicles that would not be compromised by substantial, invasive repairs, and in

 return received the Class Vehicles, which did in fact require such repairs.

       156. Further, Plaintiff and the Class paid FCA for vehicles that could be

 normally and safely operated, and in exchange, FCA provided Plaintiff and the

 Ohio Class with vehicles that could not be normally and safely operated because

 their defects posed the possibility of life-threatening injuries, or even death.

       157. As such, Plaintiff conferred a windfall upon FCA, which knows of the

 windfall and has retained such benefits, which would be unjust for FCA to retain.

       158. As a direct and proximate result of FCA’s unjust enrichment, Plaintiff

 and the Class have suffered and continue to suffer various damages, including, but




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 not limited to, restitution of all amounts by which FCA was enriched through its

 misconduct.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the members of the Class,

 respectfully request that this Court:

       a.      determine that the claims alleged herein may be maintained as a class

               action under Rule 23 of the Federal Rules of Civil Procedure, and

               issue an order certifying the Class as defined above;

       b.      appoint Plaintiff as the representative of the Class and her counsel as

               Class counsel;

       c.      award all actual, general, special, incidental, consequential damages

               and restitution to which Plaintiff and members of the Class are

               entitled;

       d.      award pre-judgment and post-judgment interest on any monetary

               relief;

       e.      grant appropriate injunctive relief, including, without limitation, an

               order requiring Defendant to repair the Class Vehicle pursuant to its

               obligations under the terms and/or promises of the Lifetime Warranty;

       f.      award reasonable attorneys’ fees and costs; and

       g.      grant such further relief that this Court deems appropriate.


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 Dated: April 27, 2020               Respectfully submitted,


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                                           **Pro Hac Vice Applications to be
                                           Submitted




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                                   JURY DEMAND

        Plaintiff, individually, and on behalf of the putative Class, demands a trial by

 jury on all issues so triable.

 Dated: April 27, 2020                   Respectfully submitted,


                                         By:     /s/ Richard D. McCune
                                               Richard D. McCune*
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                                               Submitted




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